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   EXHIBIT 27
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

Sonos, Inc.,                                    §
                                                §
                      Plaintiff,                §             No. 6:20-cv-881-ADA
v.                                              §
                                                §
Google LLC,                                     §
                                                §
                      Defendant.                §

                    REPLY DECLARATION OF DOUGLAS C. SCHMIDT

I, Douglas C. Schmidt, hereby declare as follows:

       1.      I previously submitted a declaration dated April 27, 2021 (referred to herein as

my “Opening Declaration”) that contained certain opinions as to how a person of ordinary skill

in the art (“POSITA”) at the time of the inventions of U.S. Patent Nos. 9,967,615 (“’615 Patent”)

and 10,779,033 (“’033 Patent”) would have understood certain claim terms. The contents of my

Opening Declaration are herein incorporated by reference in their entirety.

I.     SCOPE OF ASSIGNMENT

       2.      I understand that, on June 1, 2021, Google served its responsive claim

construction brief (“Google’s brief”) along with a declaration of Dr. Christos Kyriakakis dated

June 1, 2021 (“Dr. Kyriakakis’ Declaration”) that addressed certain claim terms found in the

’615 and/or ’033 Patents. Sonos has asked me to evaluate Google’s brief and Dr. Kyriakakis’

Declaration in connection with the ’615 and/or ’033 Patents and to provide my opinions in

response thereto.

       3.      In particular, Sonos has asked me to evaluate and respond to Dr. Kyriakakis’

opinions regarding the following claim terms:



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                       Patent                               Term
                 ’033 Patent            “data network”
                 ’615 Patent            “local area network”
                 ’615 Patent            “a media particular playback system”
                 ’033 Patent            “wherein the instruction comprises an
                                        instruction”

        4.      This Reply Declaration explains my analysis of, and responsive opinions to, Dr.

Kyriakakis’ opinions regarding the above-identified claim terms that are used in the ’615 or ’033

Patent. In forming my opinions, I have read and understand the claims of the ’615 and ’033

Patents, the specification that is common to both the ’615 and ’033 Patents, and each of the

patents’ respective file histories. I have also reviewed Google’s brief, Dr. Kyriakakis’

Declaration, and the materials cited therein.

        5.      I reserve the right to supplement or clarify the opinions set forth herein, and if I

am requested to do so, to provide additional opinions regarding the ’615 and/or ’033 Patents.

        6.      I am being compensated at my normal hourly consulting rate of $550/hour for this

matter. My compensation does not depend in any way on the nature of my opinions or the

outcome of this case.

II.     SUMMARY OF OPINIONS

        7.      As explained in detail herein, I disagree with Dr. Kyriakakis’ analyses and

opinions regarding the aforementioned claim terms of the ’615 and ’033 Patents. For the reasons

explained in detail below and in my Opening Declaration, it is my opinion that a POSITA at the

time of the inventions of the ’615 and ’033 Patents would have understood the above-identified

claim terms as follows:

    Patent                  Term                            POSITA’s Understanding
  ’033 Patent    “data network”                    Plain and ordinary meaning

                                                   “a medium that interconnects devices,
                                                   enabling them to send digital data packets to


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                                                    and receive digital data packets from each
                                                    other”

  ’615 Patent    “local area network”               Plain and ordinary meaning

                                                    “data network that interconnects devices
                                                    within a limited area, such as a home or
                                                    office”

  ’615 Patent    “a media particular playback       “a media playback system” (Not indefinite)
                 system”
  ’033 Patent    “wherein the instruction           Not indefinite
                 comprises an instruction”

         8.     I understand that Sonos and/or Google may seek construction of claim terms in

the ’615 and/or ’033 Patents other than those expressly addressed herein. I have not analyzed,

and express no opinions on, the proper construction of any other claim term in the ’615 or ’033

Patents at this time.

III.     BACKGROUND & QUALIFICATIONS

         9.     My background and qualifications are set forth in my Opening Declaration.

IV.      LEGAL STANDARDS

         10.    I set forth my understanding of certain legal standards that counsel had informed

me about in my Opening Declaration.

         11.    I have been informed by counsel about legal standards relevant to indefiniteness

because Dr. Kyriakakis opined that the terms “a media particular playback system” found in

certain claims of the ’615 Patent and “wherein the instruction comprises an instruction” found in

certain claims of the ’033 Patent are indefinite.

         12.    In this regard, for starters, I understand that an issued U.S. patent is presumed to

be valid, which includes a presumption that the claims are not indefinite, and that the burden is

on the party challenging validity to prove by clear and convincing evidence that a claim is




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invalid. Thus, I understand that Google must prove by clear and convincing evidence that the

term “wherein the instruction comprises an instruction” is indefinite.

       13.      I further understand that a claim is invalid for indefiniteness if the claim, read in

light of the specification and the prosecution history, fails to inform a POSITA about the scope

of the claimed invention with reasonable certainty. In contrast, I understand that a claim is not

invalid for indefiniteness if the patent is precise enough to afford clear notice of what is claimed

and apprise the public of what is still open to them. Moreover, I understand that the claims,

when read in light of the specification and the prosecution history, must provide objective

boundaries for a POSITA to understand the scope of the invention.

       14.      Lastly, while I understand that reasonable certainty is the applicable standard for

definiteness, I also understand that a modicum of uncertainty may be tolerated and that absolute

precision is not required.

       15.      In connection with Dr. Kyriakakis’ opinions regarding the term “wherein the

instruction comprises an instruction,” I have also been informed by counsel about legal standards

relevant to the transitional claim term “comprising”/“comprises.”

       16.      Specifically, I understand that a transitional claim term such as “comprising” or

“comprises” is synonymous with “including,” “containing,” or “characterized by,” and such a

transitional term is open-ended in that it does not exclude additional, unrecited elements or

method steps.

V.     LEVEL OF ORDINARY SKILL IN THE ART

       17.      I set forth my opinion regarding the level of ordinary skill in the art for the ’615

and ’033 Patents in my Opening Declaration. For convenience, I have reproduced my

articulation of the proper level of ordinary skill in the art below:




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       [A] person of ordinary skill in the art for purposes of the ’615 and ’033 Patents is a
       person having the equivalent of a four-year degree from an accredited institution
       (typically denoted as a B.S. degree) in computer science, computer engineering,
       electrical engineering, or an equivalent thereof, and approximately 2-4 years of
       professional experience in the fields of networking and network-based systems or
       applications, such as consumer audio systems, or an equivalent level of skill,
       knowledge, and experience.

       18.     Dr. Kyriakakis reached a different conclusion, opining that:

       [A] person of ordinary skill in the art at this time would have had a bachelor’s of
       science in electrical engineering, computer science or engineering, or a related
       field, and two to four years of work or research experience in the field of
       information networks, data communications, or multimedia systems, or a Master’s
       degree and one to two years of experience in the same field.

Kyriakakis Dec. at ¶ 31.

       19.     As is evident, Dr. Kyriakakis’ articulation of the level of ordinary skill in the art is

much broader than my own. For instance, Dr. Kyriakakis contends that “two to four years of

work or research experience in the field of information networks, data communications, or

multimedia systems” is sufficient. Id. I disagree for several reasons.

       20.     First, the ’615 and ’033 Patents are directed to networked media systems that

operate on local and wide area data networks. Dr. Kyriakakis expresses extremely broad views

of what is encompassed by the terms “data” and “network” in the abstract, and thus, Dr.

Kyriakakis’ implied meanings of “information networks” and “data communications” ostensibly

cover many kinds of “networks” and forms of communication not relevant to the inventions of

the ’615 and ’033 Patents, such as a traditional analog radio broadcast and individuals talking via

two cups attached by a string. See, e.g., id. at ¶ 62; Kyriakakis Dep. Tr. at 60:18-61:2, 152:20-

155:11. In my opinion, having 2-4 years of general experience with these kinds of “networks”

and/or forms of communication would not make an individual a POSITA for the ’615 and ’033

Patents.




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        21.    Second, Dr. Kyriakakis contends that 2-4 years of experience in the field of

“multimedia systems” is sufficient, which seems to be broad enough to encompass conventional

multimedia systems comprised of an A/V receiver (or the like) connected to passive speakers via

traditional speaker wires. But as noted above, the ’615 and ’033 Patents are specifically directed

to networked media systems that operate on local and wide area data networks, which are

distinctly different from conventional multimedia systems. In my opinion, having 2-4 years of

experience with conventional multimedia systems alone would not make an individual a

POSITA for the ’615 and ’033 Patents.

        22.    For these reasons, it is my opinion that Dr. Kyriakakis’ articulation of the level of

ordinary skill in the art is overly broad, and thus incorrect. Moreover, in my opinion, Dr.

Kyriakakis’ use of this overly-broad level of ordinary skill in the art when interpreting the ’615

and ’033 Patents underlies many of the flaws in Dr. Kyriakakis’ analyses and opinions set forth

in his declaration. For example, as I discuss in further detail below, it is my opinion that a

POSITA having the proper level of ordinary skill in the art that I articulated, reproduced above (a

“proper POSITA”), would not reach the conclusions that Dr. Kyriakakis reaches with respect to

“data network,” nor would such a POSITA confuse an “instruction” transmitted over a data

network with “program instructions” stored on a computing device’s memory, as Dr. Kyriakakis

did. See, e.g., id. at ¶¶ 60, 75. In fact, given how Dr. Kyriakakis approached his evaluation of

these terms, not only has Dr. Kyriakakis used too broad of a POSITA but it also almost seems as

though Dr. Kyriakakis is interpreting the claim terms through the lens of a layperson that does

not even meet his own POSITA articulation.

VI.     OVERVIEW OF THE ’615 & ’033 PATENTS

        23.    I provided an overview of the ’615 and ’033 Patents in my Opening Declaration.




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VII.     “DATA NETWORK”

        Sonos’s Proposed Construction                       Google’s Proposed Construction
 Plain and ordinary meaning                           Plain and ordinary meaning; no construction
                                                      necessary at this time
 “a medium that interconnects devices,
 enabling them to send digital data packets to
 and receive digital data packets from each
 other”

         24.   As I explained in my Opening Declaration, it is my opinion that Sonos’s proposed

construction is consistent with how a POSITA would have interpreted the term “data network” in

the context of the ’033 Patent (and ’615 Patent) because it appropriately specifies that a “data

network” (i) is a medium that interconnects devices, enabling the devices to both send and

receive information (i.e., it enables two-way communication) (Schmidt Op. Dec. at ¶¶ 67-71)

and (ii) transfers information in the form of digital data packets (Schmidt Op. Dec. at ¶¶ 79-83),

which are fundamental characteristics of a “data network” in the field of networking.

         25.   However, in Dr. Kyriakakis’ declaration, he disagrees with Sonos’s proposed

construction and opines that “[i]n the context of these patents, a person of ordinary skill in the art

would have understood that the general understanding of the term ‘data network’ does not

restrict the type of data (digital or analog), the manner of transmission (packet or non-packet

form), or the nature of the communication (bi-directional or unidirectional).” Kyriakakis Dec. at

¶ 60. I disagree with Dr. Kyriakakis’ opinions for various reasons, as explained in further detail

below.

         A.    Dr. Kyriakakis’ Approach Is Flawed

         26.   As an initial matter, it is my opinion that Dr. Kyriakakis’ approach for

interpreting the term “data network” is flawed. This flaw arises because, instead of considering

how a POSITA would have interpreted this term of art at the time of the invention, Dr.




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Kyriakakis approaches the interpretation of the term “data network” as a layperson might, which

I understand is an improper approach for construing patent claims.

       27.     In particular, Dr. Kyriakakis’ approach involves breaking the term “data network”

into its individual parts (i.e., “data” and “network”) and then seeking out individual definitions of

each of those parts in isolation. See, e.g., Kyriakakis Dec. at ¶¶ 50, 62. In my opinion, this is not

how a POSITA with the appropriate level of skill would interpret the term “data network”

because such a POSITA would come to the ’033 Patent with the education and experience to

know that “data network” is a well-understood term of art in the field of networking. In other

words, a proper POSITA would understand that “data network” is a compound term having a

well-understood meaning in the field and would therefore know to interpret the term “data

network” as a whole consistent with that well-understood meaning in the field, as opposed to

breaking “data network” up into its constituent parts.

       28.     Because Dr. Kyriakakis utilizes a flawed approach to interpret the term “data

network,” he incorrectly concludes that the term simply refers to any “network” that can carry

data in any form. See, e.g., Kyriakakis Dec. at ¶¶ 50, 62. In my opinion, no proper POSITA

would reach such a simplistic conclusion given that the term “data network” was (and still is) a

term of art in the field of networking that has a well-understood meaning. See, e.g., Kyriakakis

Dep. Tr., Ex. 2 at slide 6 (Jan. 24, 2004 presentation for Cornell University “Computer

Networks” class explaining a “data network . . . is NOT ‘a network that carries data’”) (copy

attached as App’x O) (original available at http://www.cs.cornell.edu/courses/cs419/2005sp/419-

sp05-01-intro-v2.pdf).

       29.     Dr. Kyriakakis’ deposition testimony confirms that his approach for interpreting

the term “data network” is flawed, as demonstrated by Dr. Kyriakakis broadly asserting that a




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POSITA would consider each of the following a “data network” (and/or a “local area network,”

which Dr. Kyriakakis concedes is a type of a “data network”1):

          •     devices interconnected via any “copper” wire, including “audio cables,” “speaker
                cables,” “coaxial cables” (see, e.g., Kyriakakis Dep. Tr. at 28:17-29:11);
          •     an analog “voice network,” including a “public switch[ed] telephone network,”
                analog “cellular networks,” a “walkie-talkie network” (see, e.g., id. at 36:3-25, 37:7-
                9, 38:6-23, 49:10-16);
          •     an “infrared remote that sends infrared signals to a TV” (see, e.g., id. at 53:20-24);
                and
          •     talking on two cups with a string between them (see, e.g., id. at 60:18-61:2, 152:20-
                155:11).

          30.       The flaws in Dr. Kyriakakis’ approach and conclusion is further illustrated by the

fact that, under Dr. Kyriakakis’ simplistic interpretation of “data network,” the meaning of that

term would be no different than the meaning of the broader term “network.” However, a

POSITA having the proper level of skill would clearly understand that “data network” is a

narrower term that has a different (and more specific) meaning than the broader term “network.”

Dr. Kyriakakis’ interpretation fails to preserve this well-understood distinction between the terms

“data network” and “network” and has the effect of rendering the word “data” in the term “data

network” meaningless, which I understand to be an improper practice when interpreting patent

claims.

          B.       Dr. Kyriakakis’ Analysis Confirms “Data Networks” Are Digital

          31.      While Dr. Kyriakakis argues that “the term ‘data network’ does not restrict the

type of data (digital or analog)[ or] the manner of transmission (packet or non-packet form)”

(Kyriakakis Dec. at ¶ 60), his own analysis confirms that a POSITA would understand that a




1
  Kyriakakis Dep. Tr. at 55:22-56:6 (“Well, a local area network is a subset of the data networks.
. . . A local area network is a data network.”) (copy attached as App’x P).

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“data network” carries information in the form of digital data packets, as opposed to in an analog

form.

        32.    In this regard, as Dr. Kyriakakis acknowledges, a “data network” carries data in

“discrete units” that are referred to as “packets.” Kyriakakis Dec. at ¶ 63 (“‘In the generic

sense,’ packets ‘refer[] to the manner in which data are organized into discrete units for

transmission and switching through a data network.’”) (bracket original).2, 3 And, as Dr.

Kyriakakis acknowledges, it is only “digital data” that is represented in discrete form, whereas

“analog data” is represented in continuous form. Id. at ¶ 62 (“Digital data is ‘data represented in

discrete, discontinuous form, as contrasted with analog data represented in continuous form.’”).

        33.    Thus, Dr. Kyriakakis’ own analysis confirms that, even in the “generic sense,” a

“data network” carries data in “discrete units” (referred to as “packets”), which are digital in

form as opposed to analog. The examples of networks that Dr. Kyriakakis identifies that do not

carry information in digital form fail to refute this conclusion. See Kyriakakis Dec. at ¶¶ 62, 64.

        34.    For instance, Dr. Kyriakakis identifies circuit-switched networks, telephone

networks, and analog cellular networks,4 but Dr. Kyriakakis fails to identify any evidence that a

proper POSITA would have interpreted the term “data network” at the time of the invention to

refer to any of these types of networks. In fact, neither the Computer World nor the No Jitter

article cited by Dr. Kyriakakis uses the term “data network” to refer to an “analog cellular

network” or “analog phone network.” Likewise, Dr. Kyriakakis fails to point to any evidence




2
  All emphases is added unless otherwise indicated.
3
  Notably, the dictionary that Dr. Kyriakakis approvingly cites goes on to explain that, “[i]n a
technology-specific sense, a packet is a data unit in an internetwork, such as the Internet or other
packet-switched network . . . .” Id., Ex. G (Webster’s New World Telecom Dictionary (2008)).
4
  The Computer World article focuses on the phasing out of “analog cellular networks.”

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showing that a POSITA would have used the term “data network” to refer to a circuit-switched

or telephone network. See Kyriakakis Dec. at ¶ 64.

       35.     It is not surprising to me that Dr. Kyriakakis was unable to identify evidence

showing that a POSITA would have used the term “data network” to refer to circuit-switched

networks, telephone networks, or analog cellular networks because these are all examples of

what a POSITA would commonly refer to as a “voice network” – which is the primary class of

networks that the term “data network” is meant to distinguish from. Put another way, a POSITA

would understand that “networks” for carrying information between devices generally fall into

two primary classes of networks: (i) voice networks (sometimes referred to as “circuit

networks”) that use circuit switching and carry information in the form of analog signals and (ii)

data networks (sometimes referred to as “packet networks”) that use packet switching and carry

information in the form of digital data packets. See, e.g., App’x O at slide 6 (explaining that

“‘[d]ata network’ is often a euphemism for ‘packet network’ and ‘voice network is often a

euphemism for ‘circuit network’”). These definitions are confirmed by a variety of technical

sources, including some cited approvingly by Dr. Kyriakakis and identified by Google.

       36.     For example, Newton’s Telecom Dictionary (2003) (found in Exhibit D to Dr.

Kyriakakis’ declaration) states that “data” is “[t]ypically anything other than voice.”

       37.     As another example, the Packet Broadband Network Handbook (2004) describes

a “local area network as a high-speed data network that covers a relatively small geographic

area” that is “used to carry data traffic as opposed to voice traffic.” SONOS-SVG2-00018673 at

76 (attached to Schmidt Op. Dec. as App’x G); see also id. at 74 (explaining that “[b]efore

packet networks, communications technology used circuit-switched telephone networks with




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dedicated, analog circuits,” and that “[p]acket networks based on packet switching technologies

represent a radical departure”).

       38.     As yet another example, Microsoft Computer Dictionary (5th ed. 2002) defines

“data network” as “[a] network designed for transferring data encoded as digital signals, as

opposed to a voice network, which transmits analog signals.” Kyriakakis Dep. Tr., Ex. 3 (copy

attached as App’x Q).

       39.     Dr. Kyriakakis attempts to dismiss the fact that a POSITA at the time of the

invention (2011) would know that a “voice network” (e.g., a circuit-switched or telephone

network) is distinctly different from a “data network” by pointing to certain passages in Data &

Computer Communications (6th Ed. 2000). See Kyriakakis Dec. at ¶¶ 70-71. But these passages

provide a history of wide-area-network technology and its evolution over the years explaining

that, traditionally (before the year 2000), WANs had been implemented using circuit switching

or packet switching,5 but “[m]ore recently” (as of the year 2000), WANs had been implemented

using frame relay and ATM technology, both of which are evolved versions of traditional packet

switching. See SONOS-SVG2-00018715 at 18-20. When placed in this proper context, the

passages in Data & Computer Communications do not support Dr. Kyriakakis’ implications that

all wide area networks from all time were considered to be “data networks” or that a POSITA in

2011 would have interpreted the term “data network” to refer to a traditional circuit-switched or

telephone network.

       40.     Dr. Kyriakakis also identifies “speakers and other devices” connected via RCA

cables that can carry video and audio signals as somehow supporting his assertion that “some



5
 Notably, Data & Computer Communications explains that the packet switching approach is
“quite different” from the circuit switching approach that was most commonly used in
conventional telephone networks. See SONOS-SVG2-00018715 at 18-19.

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data networks . . . do not” transfer digital data packets. Kyriakakis Dec. at ¶ 64. But Dr.

Kyriakakis fails to identify any evidence that a POSITA at the time of the invention would have

interpreted the term “data network” to encompass RCA cables, and in my opinion, a POSITA

having the appropriate level of skill would not have considered standard RCA cables to even be a

“network” – let alone a “data network.” My opinion is confirmed by the fact that the Wikipedia

page that Dr. Kyriakakis himself cites does not even refer to RCA cables as amounting to a

“network,” much less a “data network.”

       41.     Lastly, Dr. Kyriakakis cites to the disclosures of two patent publications, U.S.

Patent No. 6,829,603 filed in February 2000 and U.S. Patent Publ. No. 2003/0087636 filed in

November 2001, because each of these patent publications has a passing reference to the phrase

“analog data network.” As an initial matter, I note that neither patent publication is listed on the

face of the ’033 Patent as cited prior art, and thus, it is my understanding that neither one is

considered part of the ’033 Patent’s intrinsic evidence.

       42.     Given the sparse discussion in connection with this phrase in each of these patent

publications, it is unclear to me what the respective inventors meant by the phrase “analog data

network.” Regardless, in my opinion, these one-off uses of the phrase “analog data network” in

unrelated patent publications are inconsistent with how a POSITA would have understood the

plain and ordinary meaning of the term “data network” in 2011, as demonstrated by the

overwhelming intrinsic and extrinsic evidence for the ’033 Patent that I discussed before.

       C.      Dr. Kyriakakis Reads in Limitations to Two-Way Communication

       43.     Dr. Kyriakakis asserts that “[a] person of ordinary skill in the art would

understand the plain and ordinary meaning of ‘data network’ encompasses both unidirectional

and bidirectional data networks such that Dr. Almeroth and Schmidt’s contention that a network




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requires that a device must be able to send and receive data from another device is also

incorrect.” Kyriakakis Dec. at ¶ 66. I disagree with this assertion in Dr. Kyriakakis’ declaration

as well, which is flawed for various reasons.

       44.     For starters, Dr. Kyriakakis once again improperly focuses on the word “network”

in isolation instead of the whole term “data network.” Thus, even assuming Dr. Kyriakakis were

correct that “[t]here are many types of networks that do not require a networked device to both

send and receive data from another device” (Kyriakakis Dec. at ¶ 66), this statement is not

directed to “data networks” in particular and thus, is irrelevant.

       45.     Moreover, Dr. Kyriakakis mischaracterizes Sonos’s construction of “data

network” and improperly reads in limitations that are not required. In particular, Sonos’s

construction is “a medium that interconnects devices, enabling them to send digital data packets

to and receive digital data packets from each other,” and in my Opening Declaration, I used the

phrase “two-way communication” as a shorthand to refer to the fact that a “data network”

enables devices to both send and receive data. Dr. Kyriakakis morphs this characteristic of

enabling devices to both send and receive data to require (i) direct two-way communication

between the devices and (ii) specific directionality of signal flow through the data network,

neither of which is required by Sonos’s construction.

       46.     For instance, Dr. Kyriakakis asserts that “networks such as token-ring networks

do not have the architecture described by Dr. Almeroth and Schmidt” because “no device both

sends and receives data directly to and from another device.” Kyriakakis Dec. at ¶ 66.6 But there



6
  Without any explanation whatsoever, Dr. Kyriakakis asserts that, “[a]s the IEEE explained in
its ‘IEEE Standard for Local and Metropolitan Area Networks: Overview and Architecture,’
networks such as token-ring networks do not have the architecture described by Dr. Almeroth
and Schmidt. Ex. I.” Kyriakakis Dec. at ¶ 66. But I have seen nothing in that document (and Dr.



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is nothing in Sonos’s proposed construction that requires devices to be able to directly send data

to and directly receive data from one another.

       47.     Moreover, contrary to Dr. Kyriakakis’ assertion otherwise, it is my opinion that a

proper POSITA would understand that a token-ring network does indeed enable devices to both

send and receive data. In this respect, a POSITA would understand that, although the signal flow

in a token-ring network typically travels in one direction (e.g., clockwise), each device on the

network can both send and receive data. I have illustrated this functionality below in an

annotated version of the token-ring-network diagram included in the Encyclopedia of Computer

Science and Technology (2009).

       48.     As shown, a token-ring network architecture enables the computer that I labeled

“#1” to both send data (represented by the red arrow) to the computer that I labeled “#2” and

receive data (represented by the blue arrow) from computer #2, and thus, meets Sonos’s

proposed construction of “data network” because it is “a medium that interconnects devices,

enabling them to send digital data packets to and receive digital data packets from each other.”




Kyriakakis failed to cite to anything specific) that is inconsistent with Sonos’s proposed
construction for “data network.”

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                        #2




                #1




SONOS-SVG2-00018402 at 406 (attached to Schmidt Op. Dec. as App’x L); see also SONOS-

SVG2-00018673 at 94-95 (describing how devices send and receive information in a token ring

network) (attached to Schmidt Op. Dec. as App’x G).

       49.     Based on his view that Sonos’s proposed construction includes a “directionality”

requirement, Dr. Kyriakakis also suggests that there are other “unidirectional” networks that

amount to a “data network” that Sonos’s proposed construction would exclude. See Kyriakakis

Dec. at ¶ 67. But as I explained above, Sonos’s proposed construction does not have a

“directionality” requirement. Regardless, Dr. Kyriakakis mischaracterizes the “[v]arious

publications” that he cites and these purported “unidirectional” data networks.




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        50.     For instance, Dr. Kyriakakis refers to U.S. Patent No. 6,081,907 (“Witty”),7 but

the passages that he cites confirm that Witty does not equate “broadcast or multicast networks,”

which Witty refers to as “unidirectional,” to a “data network.” See Witty at 1:7-2:67. Instead,

Witty explains that “conventional computer networks” -- also referred to by Witty as “data

networks” -- allow “data communication in both directions between servers and clients” and the

data is “typically packetized and sent over the network in individual packets.” Id. at 1:16-32:

        Conventional computer networks are bi-directional, allowing data communication
        in both directions between servers and clients. Transmitting data over these bi-
        directional data networks has been a mainstay of computer technology for many
        years and the communication protocols are well established. . . . Digital data,
        whether transmitted over a wire-based distribution network (e.g., local area
        network, wide area network, cable, etc.) or a wireless distribution network (e.g.,
        satellite, RF, paging, etc.), is typically packetized and sent over the network in
        individual packets.

        51.     Witty itself departs from the traditional “data network” and proposes a system that

“facilitates transmission of data packets from a content server to multiple clients over a

unidirectional network.” Id. at 1:64-66. In describing this system, Witty repeatedly and

uniformly distinguishes “data network 28” -- which “represents various types of networks,

including the Internet, a LAN (local area network), a WAN (wide area network), and the like” --

from unidirectional “broadcast network 30,” as shown in Figure 1. Id. at 3:13-40, FIG. 1.

Moreover, I see no instance where Witty refers to unidirectional “broadcast network 30” with the

well-understood term “data network” in the field of networking. Thus, contrary to Dr.

Kyriakakis’ suggestion, Witty actually provides further support for Sonos’s proposed

construction of “data network” because it demonstrates that a POSITA would understand a “data

network” enables devices to engage in two-way communication of digital data packets.



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 I note that Witty is not listed on the face of the ’033 Patent as cited prior art, and thus, it is my
understanding that it is not considered part of the ’033 Patent’s intrinsic evidence.

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       52.     In connection with his opinion that “data networks” are not restricted to “bi-

directional data networks,” Dr. Kyriakakis also makes the following statement regarding “data

diodes”:

       [T]hose of skill in the art recognized that networks may include “data diodes”
       (sometimes referred to as “unidirectional” gateways) to enforce data transfer in one
       direction between segments or devices of a network for example to provide
       additional security for the network. Ex. G (Okhravi et al., Data Diodes in Support
       of Trustworthy Cyber Infrastructure) at § 2 (“Data diodes provide a physical
       mechanism for enforcing strict unidirectional communication between two
       networks.”), Fig. 2 (illustrating networks connected by data diode).”

Kyriakakis Dec. at ¶ 67.

       53.     But Dr. Kyriakakis’ reliance on the Data Diodes in Support of Trustworthy Cyber

Infrastructure paper appears to be misplaced. For starters, I see no reference in this paper to the

term “data network,” much less a definition of what that term means.

       54.     Moreover, it is my opinion that the fact that a “data diode” could be used to

enforce “unidirectional communication between two networks” does not somehow mean that the

well-understood term “data network” does not refer to a medium that enables two-way

communication between devices.

       55.     In my opinion, the substance of the Data Diodes in Support of Trustworthy Cyber

Infrastructure paper also shows that a POSITA would not turn to a discussion of “data diodes” to

interpret the meaning of the term “data network” in the context of the ’033 Patent. For instance,

the paper discusses the use of “data diodes” as a security mechanism when establishing

“[i]nterconnections between process control networks and enterprise networks” of “industrial

control systems,” which is a distinctly different context from the context of the ’033 Patent (i.e.,

a networked media playback system).




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       56.     Thus, it is my opinion that a POSITA would not find Dr. Kyriakakis’ discussion

of “data diodes” to be relevant at all to interpreting the meaning of “data network” in the context

of the ’033 Patent.

       D.      Dr. Kyriakakis’ Interpretation of the Term “Data Network” Is So Broad that
               it Would Read on Traditional Speaker Wires

       57.     As I explained in my Opening Declaration, Sonos’s patents are directed to a

networked media system comprised of zone players that take the form of digital data processing

devices connected to a “data network,” which was specifically intended to advance upon a

conventional media system comprised of an audio/video receiver (AVR) (or the like) connected

to passive speakers via speaker wire. See, e.g., ’615 Patent at 6:52-60 (“The actions of grouping,

consolidation, and pairing are preferably performed through a control interface, such as using

controller 130, and not by physically connecting and re-connecting speaker wire, for example,

to individual, discrete speakers to create different configurations. As such, certain embodiments

described herein provide a more flexible and dynamic platform through which sound

reproduction can be offered to the end-user.”); see also, e.g., U.S. Patent 7,571,0148 at 1:24-2:13

(Sonos patent describing shortcomings of conventional, “hard-wired” “multi-zone audio

systems” that the inventors of the patent innovated over).

       58.     However, as I explained above, Dr. Kyriakakis is interpreting the term “data

network” so broadly that it would read on virtually any type of communication medium that




8
  Because U.S. Patent 7,571,014 is cited on the face of each of the ’615 and ’033 Patents, it is my
understanding that that patent is considered part of the intrinsic evidence of each of the ’615 and
’033 Patents.

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carries data – including communication mediums that a POSITA would not even consider to be a

“network.”

       59.     For instance, in addition to opining that voice networks for carrying analog

signals are “data networks,” Dr. Kyriakakis has gone as far as to opine that traditional RCA

cables for carrying analog video and audio signals within a conventional media system amount to

a “data network.” See Kyriakakis Dec. at ¶ 64. In a similar vein, Dr. Kyriakakis has also opined

that the transmission medium for carrying an infrared signal from an infrared remote control to a

TV would qualify as a “local area network” (which is commonly understood to be a specific type

of “data network” that spans a limited area). See Kyriakakis Dec. at ¶ 51. Worse yet, during his

deposition, Dr. Kyriakakis testified that “two cups on a string” used by two individuals to

communicate amounts to a “data network,” albeit “[n]ot a very sophisticated one”:

       Q: What if I just had, you know, two cups on a string and I used that communicate
       with [attorney’s second chair], who is right by me, is that on a data network?
       A: That’s a bit of an extreme example, but if your voice carried over the string and
       the string was carefully selected and there was no background noise, yeah, it’s data.
       Your data is getting across to somebody else to another device. Not a very
       sophisticated one, but yes.

Kyriakakis Dep. Tr. at 60:18-61:2.

       60.     Under the same flawed logic that Dr. Kyriakakis uses to conclude that voice

networks, RCA cables, unidirectional infrared transmissions, and cups connected by a string

would all qualify as “data networks,” traditional speaker wires for carrying analog audio signals

within a conventional media system would likewise qualify as a “data network” – which would

negate the clear distinction that Sonos has drawn between the conventional media systems of the

prior art and the networked media systems that are the subject of Sonos’s patents. In my

opinion, this provides yet another reason why Dr. Kyriakakis’ interpretation of “data network”

cannot be correct.



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       E.      Dr. Kyriakakis Ignores the Intrinsic Evidence

       61.     In my Opening Declaration, I explained how the specification of the ’033 Patent

uniformly describes the term “data network” in a manner that is consistent with how a proper

POSITA would have interpreted this term at the time of the invention -- namely, the disclosure

of the ’033 Patent uniformly describes a “data network” (i) as interconnecting devices and

enabling the devices to both send and receive information and (ii) as transferring information in

the form of digital data packets. See, e.g., Schmidt Op. Dec. at ¶¶ 32-37, 43-48, 63-66, 74-77.

       62.     Tellingly, Dr. Kyriakakis did not dispute this in his declaration and was unable to

identify a single portion of the ‘033 Patent’s specification (or any other part of the ’033 Patent’s

intrinsic evidence) to support his opinion that “data network” has a plain and ordinary meaning

that is broader than that proposed by Sonos. In fact, Dr. Kyriakakis’ “data network” section fails

to even discuss the teachings of the ’033 Patent or any other part of the ’033 Patent’s intrinsic

evidence. See Kyriakakis Dec. at ¶¶ 60-73. This is unsurprising given that the ’033 Patent

uniformly describes the term “data network” in the context of interconnecting digital data

processing devices. See, e.g., ’615 Patent at 8:4-39.

       63.     In my opinion, the fact that Dr. Kyriakakis ignores the ’033 Patent’s intrinsic

evidence provides yet another reason why Dr. Kyriakakis’ interpretation of “data network”

cannot be correct.

       F.      Conclusions Regarding Dr. Kyriakakis’ “Data Network” Opinions

       64.     In conclusion, I disagree with virtually all of Dr. Kyriakakis’ analyses and

opinions regarding the proper interpretation of the term “data network.” From the outset, Dr.

Kyriakakis approaches his interpretation of the term “data network” in the same way that a

layperson might approach it, as opposed to how a proper POSITA would. With that flawed




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starting point, Dr. Kyriakakis ignores the intrinsic evidence of the ’033 Patent and focuses

exclusively on extrinsic evidence that rarely even uses the term “data network” and fails to

provide any insight as to how a POSITA having the proper level of skill would understand the

plain and ordinary meaning of the term “data network.”

       65.     As a result, Dr. Kyriakakis does not even attempt to dispute my analysis and

opinions regarding the ’033 Patent’s intrinsic evidence, which discloses a “data network” that

enables devices to both send and receive information in the form of digital data packets. Most

tellingly, Dr. Kyriakakis never points to anything in the ’033 Patent’s intrinsic evidence that

supports Dr. Kyriakakis’ improperly broad interpretation of the term “data network.”

VIII. “LOCAL AREA NETWORK”

        Sonos’s Proposed Construction                    Google’s Proposed Construction
 Plain and ordinary meaning                        Plain and ordinary meaning; no construction
                                                   necessary at this time
 “data network that interconnects devices
 within a limited area, such as a home or
 office”

       66.     As I explained in my Opening Declaration, the term “local area network” is a

term of art, and it is my opinion that Sonos’s proposed construction of “local area network” is

consistent with how a POSITA would have interpreted the plain and ordinary meaning of that

term of art in the context of the ’615 Patent (and ’033 Patent) because it appropriately specifies

that a “local area network” (i) is a “data network” as opposed to just any type of “network,” and

(ii) interconnects devices within a limited geographic area, which are fundamental characteristics

of a “local area network” in the field of networking.

       67.     Dr. Kyriakakis appears to agree with me that the term “local area network” is a

term of art and that it should be assigned its plain and ordinary meaning. See, e.g., Kyriakakis

Dep. Tr. at 48:15-16. However, while Dr. Kyriakakis states that “local area network” “requires


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no construction” because “the term ‘local area network’ does not have any special meaning” in

the ’615 Patent (Kyriakakis Dec. at ¶ 49), his analyses and opinions make it clear that he is

interpreting “local area network” contrary to how a proper POSITA would have interpreted that

term at the time of the invention.

       68.      For instance, Dr. Kyriakakis opines that “[a] LAN is merely a local area network,

and like most networks, it can be analog or digital,” and he also fully incorporates by reference

his analysis of the term “data network” into his analysis of the term “local area network.” Id. at ¶

50. These statements confirm that Dr. Kyriakakis used the same flawed approach for

interpreting “local area network” that he did for “data network.” In particular, instead of

considering how a POSITA would have interpreted this term of art as a whole, Dr. Kyriakakis

looks to how a layperson might interpret the words “local area network.”

       69.      As a result of this improper approach, Dr. Kyriakakis appears to be interpreting

the term “local area network” so broadly that it would encompass any communication medium

that can carry data in any form – which is flawed for all of the same reasons I discussed above in

connection with the term “data network” (which I also incorporate here). See also, e.g.,

Kyriakakis Dep. Tr. at 152:25-155:11 (Dr. Kyriakakis testifying that the term “local area

network” covers two cups connected via a string as long as the string is not stretched out to span

a wide area).

       70.      As with his opinion that a “data network” can be a “network” that carries data in

analog form, Dr. Kyriakakis fails to support his opinion that “a local area network . . . can be

analog” with any citation to the ’615 Patent’s intrinsic record or any extrinsic evidence from the

time of the invention where a “local area network” (or “LAN”) is described as carrying

information in analog form, as opposed to digital. See Kyriakakis Dec. at ¶¶ 50, 61-64.




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       71.     On the other hand, in my Opening Declaration, I cited and discussed a variety of

both intrinsic and extrinsic evidence confirming that a “local area network” or “LAN” transfers

information in digital form, not analog form. See, e.g., Schmidt Op. Dec. at ¶¶ 33-37, 74-83, 90-

91. For example, the ’615 Patent describes the transmission and reception over local “data

network 128” -- which a POSITA would understand represents a LAN (see, e.g., ’615 Patent at

10:64-66, 16:1-8, FIG. 1) -- of audio information in the form of “packets,” which a POSITA

would readily understand is a digital form, not an analog form. Id. at 7:37-50. As another

example, the Packet Broadband Network Handbook explains that a “LAN is a type of broadband

packet access network” and that “[t]he physical layer [of the LAN protocols] is primarily

concerned with the transmission medium and its physical characteristics for digital signal

transmission.” SONOS-SVG2-00018673 at 76.

       72.     Relying on his flawed interpretation that a “local area network” encompasses any

communication medium that can carry data in any form, Dr. Kyriakakis goes as far as to say that

“an infrared remote sending a signal to a TV” amounts to a coupling over a “local area network.”

See Kyriakakis Dec. at ¶ 51. However, Dr. Kyriakakis fails to cite anything in the ’615 Patent’s

intrinsic record or any extrinsic evidence to support this position, and in my opinion, a POSITA

would not consider the one-way transmission of an infrared signal from an infrared remote

control to a TV to be over a “network” of any kind – let alone over a “local area network.”

       73.     In his declaration, Dr. Kyriakakis also disagreed with my opinion that “a POSITA

would have understood at the time of the invention that two devices communicatively coupled to

one another only by way of an Internet connection would not be communicatively coupled by

way of a ‘local area network.’” Schmidt Op. Dec. at ¶ 88; Kyriakakis Dec. at ¶ 51. In other

words, Dr. Kyriakakis seems to suggest that the term “local area network” could cover devices




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that are connected only by way of the Internet, which is directly contrary to how a POSITA

would understand the term “local area network.” Indeed, it is well understood to a POSITA that

a “local area network” has a maximum range that spans only a limited geographic area (e.g., a

home or office), which distinguishes it from a “wide area network” that spans a large geographic

area (e.g., multiple cities, a state, country or globe), and it is also universally understood by a

POSITA that the Internet is a “wide area network” and not a “local area network.” See, e.g.,

Schmidt Op. Dec. at ¶¶ 50-51, 93-96; see also, e.g., App’x R at ¶¶ 18-20 (Google expert from

ITC action opining that a POSITA would understand that a “LAN” is “a network that allows for

communication amongst two or more devices in a geographically limited area . . . .”). Thus, in

my opinion, a POSITA would never consider devices that are only connected by way of the

Internet to be coupled via a “local area network” – that is, unless those devices were additionally

connected via an entirely separate data network spanning a limited geographic area. Dr.

Kyriakakis refusal to acknowledge even this universally-accepted characteristic of a “local area

network” improperly renders the words “local area” meaningless, and serves as yet another

reason why I disagree with his interpretation of “local area network.”

       74.     In addition to his erroneous suggestion that the term “local area network” could

cover devices that are only connected by way of the Internet, Dr. Kyriakakis’ takes issue with the

portion of Sonos’s construction of “local area network” specifying that it spans “a limited area,

such as a home or office.” However, I disagree with Dr. Kyriakakis for several reasons.

       75.     To begin, Dr. Kyriakakis’ opinions regarding the “limited area” aspect of Sonos’s

proposed construction appears to be premised on an assumption that it requires the “limited area”

to be a “home or office” and nothing else, which is not consistent with how I understand Sonos’s

proposed construction. Rather, it is my understanding that, consistent with the well-understood




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meaning of “local area network,” Sonos’s use of the phrase “such as a home or office” is simply

meant to provide some non-limiting, illustrative examples of the kinds of “limited areas” that

may be spanned by a “local area network.”

       76.     Moreover, I disagree with Dr. Kyriakakis’ assertions that (i) “Dr. Schmidt

glosse[d] over the intrinsic evidence,” (ii) “Dr. Schmidt has not pointed to any passage in the

’615 specification which equates local area network with a limited area such as a home or

office,” and (iii) “none of the passages he points to actually contrast a local area network to

‘‘cloud,’ ‘remote,’ and ‘Internet.’’” Id. at ¶ 52. All three of these assertions are incorrect.

       77.     As to the first assertion, I provided a detailed explanation of the ’615 Patent’s

intrinsic evidence with respect to “local area network” in my Opening Declaration showing how

the ’615 Patent’s disclosure confirms that the term “local area network” refers to one type of a

“data network” and that one type of a “data network” interconnects devices within a limited area,

such as a home or office. See, e.g., Schmidt Op. Dec. at ¶¶ 32-38, 46-48, 64-66, 74-77, 92-95.

       78.     As to the second assertion, I disagree with Dr. Kyriakakis implication that, for

Sonos’s construction to be correct, the specification of the ’615 Patent must have a passage that

expressly “equates local area network with a limited area such as a home or office” (Kyriakakis

Dec. at ¶ 52) in view of the fact that it is already well understood to a POSITA that a “local area

network” refers to a data network that spans a limited area. Schmidt Op. Dec. at ¶¶ 50-51, 93-

96; see also, e.g., App’x R at ¶¶ 18-20 (Google expert from ITC action opining that a POSITA

would understand that a “LAN” is “a network that allows for communication amongst two or

more devices in a geographically limited area . . . .”). Regardless, Dr. Kyriakakis is incorrect

because, as I discussed in my Opening Declaration, the ’615 Patent does expressly equate a




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“local area network” with a limited area. ’615 Patent at 10:64-66 (“In general, an Ad-Hoc (or

‘spontaneous’) network is a local area network or other small network . . . .”).

       79.     As to the third contention, Dr. Kyriakakis is factually wrong because, as I

discussed in my Opening Declaration, the ’615 Patent does expressly “contrast a local area

network to ‘‘cloud,’ ‘remote,’ and ‘Internet.’’” For instance, the ’615 Patent teaches:

       A connection between the third-party application and the local playback device
       (e.g., Sonos ZonePlayerTM) can be direct over a local area network (LAN), remote
       through a proxy server in the cloud, and so on. A LAN delivery approach may be
       easier to integrate into ‘native’ applications (e.g., applications written for iOS or
       Android), and a proxy server approach may be easier for third party applications
       that are browser-based, for example.

’615 Patent at 16:1-8; see also, e.g., 16:13-15 (“Information can be passed locally, rather than

through the Internet, for example.”). Also, as I mentioned above, it is universally understood

by POSITAs that the term “local area network” does not encompass the Internet, which is the

prototypical example of a “wide area network.”

       80.     In conclusion, Dr. Kyriakakis’ opinions make it clear that, despite the term’s well-

understood meaning in the field of networking, he is improperly interpreting “local area

network” as a layperson might instead of how a proper POSITA would. This misinterpretation is

best exemplified by Dr. Kyriakakis’ statement that “like most networks, [a ‘local area network’]

can be analog or digital,” his deposition testimony that two cups on a relatively short string

amounts to a “local area network,” as well as his disagreement with my opinion set forth in my

Opening Declaration that “a POSITA would have understood at the time of the invention that

two devices communicatively coupled to one another only by way of an Internet connection

would not be communicatively coupled by way of a ‘local area network.’” See Kyriakakis Dec.

at ¶¶ 50-51; Kyriakakis Dep. Tr. at 152:25-155:11.




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IX.     “A MEDIA PARTICULAR PLAYBACK SYSTEM”

        81.    As I explained in my Opening Declaration, it is my opinion that a POSITA would

understand that (i) the phrase “a media particular playback system” found in dependent claims 3,

15, and 26 of the ’615 Patent contains an obvious error, (ii) the face of the ’615 Patent makes

clear that the only reasonable correction for this error is to remove the word “particular” from the

phrase, and (iii) there is nothing in the prosecution history suggesting any other reasonable

correction should apply. In this regard, as I explained in my Opening Declaration, the modifier

“media particular” before “playback system” is non-sensical (because it clearly contains a

typographical error) and does not reflect how a POSITA would intentionally try to impart

specific meaning to the phrase “playback system.” See, e.g., Schmidt Op. Dec. at ¶¶ 102, 109.

        82.    On the other hand, Dr. Kyriakakis contends that the phrase “a media particular

playback system” “has multiple reasonable interpretations” and “a POSITA would not be able to

determine which of those reasonable interpretations is correct.” Kyriakakis Dec. at ¶ 54. I

disagree.

        83.    For instance, Dr. Kyriakakis contends that, instead of the inclusion of “particular”

in the phrase “media particular playback system” being a typographical error, the phrase “media

particular playback system” could refer to a “playback system that can only play particular media

formats[ or] particular media types . . . .” Kyriakakis Dec. at ¶ 54. I disagree for several reasons.

        84.    As an initial matter, it is my opinion that no POSITA would reasonably interpret

the language a “media particular playback system” to mean a “playback system that can only

play particular media formats[ or] particular media types,” which requires a POSITA to flip the

recited words “media particular” around to instead read as “particular media.” In this respect, if

a POSITA intended to refer to a particular format or type of media, as Dr. Kyriakakis contends,




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the POSITA would have used the phrase “particular media,” not “media particular,” which is

unnatural and nonsensical.

       85.     Moreover, it is my opinion that none of Dr. Kyriakakis’ alternative interpretations

would be reasonable to a POSITA having read the claims and specification of the ’615 Patent.

As to Dr. Kyriakakis’ first alternative interpretation of the phrase “media particular playback

system” possibly referring to a “playback system that can only play particular media formats,”

Dr. Kyriakakis points to no teaching whatsoever in the ’615 Patent’s specification of a “playback

system” that only plays “particular media formats” (e.g., MP3, FLAC, MPEG-4, etc.9). I have

reviewed the ’615 Patent’s specification and have been unable to identify any support for such a

specific type of “playback system” either. In my opinion, it would be unreasonable for a

POSITA that has read the ’615 Patent’s specification to interpret the phrase “media particular

playback system” in a manner that is not supported by the ’615 Patent itself, as Dr. Kyriakakis’

first alternative interpretation would require.

       86.     As to Dr. Kyriakakis’ second alternative interpretation of the phrase “media

particular playback system” possibly referring to a “playback system that can only play . . .

particular media types” but not others, this second alternative interpretation is clearly

unreasonable given the remaining language of claims 3, 15, and 26 of the ’615 Patent.

       87.     For instance, each of these claims further recites “wherein the particular playback

device playing back the retrieved multimedia content comprises the particular playback device

and the at least one additional playback device playing back the multimedia content in

synchrony.” If, as Dr. Kyriakakis contends, the phrase “media particular playback system”



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  While Dr. Kyriakakis did not explain what he means by “media formats,” I presume he is
referring to media formats such as MP3, FLAC, MPEG-4, etc. See, e.g.,
https://developer.android.com/guide/topics/media/media-formats.

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refers to a “playback system that can only play . . . particular media types,” as a way to

differentiate from a playback system that can play other media types, then the bolded phrases

containing “multimedia content” would be incorrect and should instead read “playing back the

retrieved multimedia content of the particular media types” and “playing back the multimedia

content of the particular media types in synchrony.” Of course, this is not how the remainder of

the claims is worded (and no other claims of the ’615 Patent are worded in this manner). In my

opinion, it would be unreasonable for a POSITA that has read the entirety of any one of claims 3,

15, or 26 of the ’615 Patent to interpret the phrase “media particular playback system” in a

manner that is inconsistent with the remainder of the claim, as Dr. Kyriakakis’ second alternative

interpretation would require.

       88.     Although it is unclear, it appears that Dr. Kyriakakis might be proposing a third

alternative interpretation of the phrase “media particular playback system” in his assertion that

“[a] POSITA could theoretically understand ‘media particular’ as intended to differentiate from

‘multimedia,’ i.e. a playback system specific to a particular type of media – such as audio.”

Kyriakakis Dec. at ¶ 56. As an initial matter, Dr. Kyriakakis appears to be interpreting the term

“multimedia” to require multiple types of media (as opposed to a single type of media), which is

inconsistent with how the ’615 Patent uses the term “multimedia.” In this regard, the ’615 Patent

repeatedly uses the term “multimedia” to refer to a single type of media, such as audio. See, e.g.,

’615 Patent at 1:66-2:14 (“[N]etworks can be used to connect one or more multimedia playback

devices for a home or other location playback network (e.g., a home music system). . . . Music

and/or other multimedia content can be shared . . . .”), 3:28-37 (“A zone player 102-124, also




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referred to as a . . . multimedia unit, . . . provides audio, video, and/or audiovisual output.”), 6:8-

7:19, 11:6-14, 12:8-63, 15:51-57, FIGs 2A-C.

       89.     Regardless, to the extent that Dr. Kyriakakis intends this to be a third alternative

interpretation different from his second alternative interpretation (“playback system that can only

play . . . particular media types”), it is similarly unreasonable given the remaining language of

claims 3, 15, and 26 of the ’615 Patent.

       90.     For instance, as I explained before, each of these claims further recites “wherein

the particular playback device playing back the retrieved multimedia content comprises the

particular playback device and the at least one additional playback device playing back the

multimedia content in synchrony.” If, as Dr. Kyriakakis contends, the phrase “media particular

playback system” refers to a “playback system specific to a particular type of media,” as a way to

differentiate from a playback system that can play “multimedia” (which Dr. Kyriakakis appears

to be interpreting to require multiple types of media), then the bolded phrases containing

“multimedia content” would be incorrect and should instead read “playing back the retrieved

multimedia content of the particular type of media” and “playing back the multimedia content of

the particular type of media in synchrony.” This (mis)interpretation is not how the remainder of

the claims is worded (and no other claims of the ’615 Patent are worded in this manner). As

before, in my opinion, it would be unreasonable for a POSITA that has read the entirety of any

one of claims 3, 15, or 26 of the ’615 Patent to interpret the phrase “media particular playback

system” in a manner that is inconsistent with the remainder of the claim, as Dr. Kyriakakis’

apparent third alternative interpretation would require.

       91.     Dr. Kyriakakis also asserts that “[c]ertain playback systems also do not playback

media,” “[a]n example of a playback system that is not ‘media particular’ would be an RF




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spectrum analyzer that records and plays back RF data,” and thus, “a POSITA could also

understand ‘media particular playback system’ as a subset of ‘playback systems.’” Kyriakakis

Dec. at ¶ 57. In my opinion, this is not a reasonable interpretation of the phrase “media

particular playback system” either.

       92.     In the context of the ’615 Patent, the term “playback system” exclusively refers to

systems that are capable of playing back media. In fact, Dr. Kyriakakis has pointed to no

teaching in the ’615 Patent to the contrary, which is unsurprising because the ’615 Patent never

contemplates that a “playback system” could mean anything else. Given those facts, it is my

opinion that, in the context of the ’615 Patent, a POSITA would never consider the term

“playback system” to be broad enough to encompass something that does not play media, like an

“RF spectrum analyzer.” Consequently, in my opinion, it would not be reasonable for a POSITA

to interpret the modifier “media particular” before “playback system” to serve as a means for

distinguishing a “playback system” that can play back media from one that cannot.

       93.     The prosecution history confirms my opinion. In this respect, the claims already

recited a “media playback system” before the amendment was made that introduced the

inadvertent inclusion of the word “particular.” See Schmidt Op. Dec., App’x N at p.3 (pending

claim 3), p.7 (pending claim 12), p.11 (pending claim 20). As such, even before the word

“particular” was added, the claims excluded systems that cannot play back media. Thus, a

POSITA would readily appreciate that the amendment adding in the word “particular” was not

made as an attempt to draw a distinction from systems that cannot play back media.

       94.     Lastly, even if a POSITA were trying to distinguish between systems that can

playback media and those that cannot, it is my opinion that a POSITA would not do so by

referring to the former as a “media particular playback system” because that phrase is




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nonsensical. Instead, in my opinion, a POSITA would refer to a system that can playback media

as a “media playback system” or a “multimedia playback system.”

       95.     Assuming for sake of argument that Dr. Kyriakakis’ contention is correct that a

POSITA could reasonably “understand ‘media particular playback system’ as a subset of

‘playback systems,’” that would leave two options -- either (i) the phrase “media particular

playback system” refers to a “playback system” that can play back media or (ii) the phrase

“media particular playback system” contains an error that should be fixed to instead recite

“media playback system.” But either way, the result is the phrase being afforded the same

meaning: a playback system that can play back media. Thus, in my opinion, Dr. Kyriakakis

cannot credibly argue that the phrase is indefinite.

       96.     Lastly, Dr. Kyriakakis summarily stated with no analysis whatsoever: “I have

reviewed the prosecution history, but find that it does not resolve the debate relating to the use of

the term ‘particular.’” Kyriakakis Dec. at ¶ 58. However, Dr. Kyriakakis fails to acknowledge

that the prosecution history confirms that there is no reasonable debate.

       97.     In fact, when the amendments introducing the typographical error to claims 3, 15,

and 26 of the ’615 Patent were made, Sonos presented no argument to the USPTO distinguishing

art based on “a playback system that can only play particular media formats[ or] particular media

types,” distinguishing a “playback system specific to a particular type of media” from a playback

system that plays “multimedia,” or distinguishing “playback systems [that] do not playback

media” versus those that do. See Schmidt Op. Dec., App’x N at p.14.

       98.     In my opinion, this confirms that Sonos was not meaning to impart any of the

specialized meanings that Dr. Kyriakakis contends when the word “particular” was inserted

between “media” and “playback system.” Instead, as I discussed in my Opening Declaration, a




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POSITA would readily understand that Sonos merely inadvertently propagated the word

“particular” at an incorrect place in the claim language in its attempt to maintain proper

antecedent basis.

       99.       Thus, the prosecution history further confirms to a POSITA that there is no

reasonable debate that the word “particular” was inadvertently included in the phrase “media

particular playback system.”

X.     “WHEREIN THE INSTRUCTION COMPRISES AN INSTRUCTION”

       100.      Dr. Kyriakakis contends that “[t]he specification of the ’033 Patent is of no help

to determine the meaning of the phrase ‘wherein the instruction comprises an instruction,’ and it

is my opinion that a person of ordinary skill in the art would be similarly unable to determine the

meaning of the phrase.” Kyriakakis Dec. at ¶ 75. I disagree.

       101.      Each of independent claims 1 and 12 of the ’033 Patent recites, inter alia, “based

on receiving the user input, transmitting an instruction for the at least one given playback

device to take over responsibility for playback of the remote playback queue from the computing

device . . . .” In turn, each of dependent claims 2 and 13 recites “wherein the instruction

comprises an instruction for” and continues setting forth additional limitations of the transmitted

“instruction.”

       102.      As I explained before, I have been informed that the transitional term

“comprising”/“comprises” is synonymous with “including,” “containing,” or “characterized by,”

and such a transitional term is open-ended in that it does not exclude additional, unrecited

elements or method steps.

       103.      With that understanding in mind, I fail to see how Dr. Kyriakakis can credibly say

that a POSITA would be unable to determine the meaning of the phrase “wherein the instruction




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comprises an instruction . . . .” in claims 2 and 13 of the ’033 Patent, even with Dr. Kyriakakis’

assumption that “an instruction” means a single instruction. See Kyriakakis Dec. at ¶ 74. In my

opinion, a POSITA would readily understand that the phrase “wherein the instruction comprises

an instruction for the cloud-based computing system associated with the media service to provide

the data . . . .” simply specifies additional characteristics of the transmitted “instruction” recited

in the independent claims.

        104.    Indeed, it would be no different from a situation in which an independent claim

recited “a hat” and a dependent claim recited “wherein the hat comprises a hat that is red.” A

POSITA would have no trouble understanding that the dependent claim merely provides more

specificity as to characteristics (e.g., the color) of the “hat” recited in the independent claim.

        105.    I also fail to see the relevance of Dr. Kyriakakis’ discussion of “a block of code,”

“lines of codes,” one source code “function or method,” “one ‘for’ loop,” and “method calls,”

which suggests to me that Dr. Kyriakakis does not have a firm grasp of the claims or teachings of

the ’033 Patent. Kyriakakis Dec. at ¶ 75.

        106.    In particular, Dr. Kyriakakis’ discussion of “a block of code,” “lines of codes,”

one source code “function or method,” “one ‘for’ loop,” and “method calls” suggests that he is

referring to a device’s “program instructions” that are stored in the device’s memory and

executable by the device’s processor, but a POSITA would readily understand that the term

“instruction” recited in the larger phrase “transmitting an instruction for the at least one given

playback device to take over responsibility for playback of the remote playback queue from the

computing device” found in claims 1 and 12 (which is the “instruction” that the dependent

claims 2 and 13 each further limits) is referring to a communication transmitted by the claimed

“computing device” over a data network that instructs the recipient to take one or more actions,




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          107.   Acc di g , D . K iakaki di c             i    f concepts that are specific to

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of Dr. Kyriakakis interpreting the claim limitations through the lens of an individual that does

not have the proper level of ordinary skill in the art.


          I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.




 Dated: June 15, 2021
                                                       DOUGLAS C. SCHMIDT




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               Appendix 3
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 1              IN THE UNITED STATES DISTRICT COURT
 2               FOR THE WESTERN DISTRICT OF TEXAS
 3                         WACO DIVISION
 4     _____________________________
                                     )
 5     SONOS, INC.,                  )
                                     )
 6                Plaintiff,         )Civil Action No.
                                     )6:20-cv-00881-ADA
 7          vs.                      )
                                     )
 8     GOOGLE, LLC,                  )
                                     )
 9                Defendant.         )
       _____________________________)
10
11
        VIDEOCONFERENCE DEPOSITION OF CHRISTOS KYRIAKAKIS
12
                         Friday, June 11, 2021
13
                                   Volume I
14
15
16
17
18
19
20
21
22     Reported by:
       KATHLEEN E. BARNEY
23     CSR No. 5698
24     Job No. 4626386
25     PAGES 1 - 202

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 1     IN THE UNITED STATES DISTRICT COURT                  1               INDEX
 2      FOR THE WESTERN DISTRICT OF TEXAS
                                                            2 WITNESS                       EXAMINATION
 3          WACO DIVISION
 4                                                          3 CHRISTOS KYRIAKAKIS
   _____________________________                            4 Volume I
 5                   )                                      5
   SONOS, INC.,              )                              6           BY MR. PAK                 8
 6                   )
          Plaintiff,     )                                  7
 7                   )Civil Action No.                      8
      vs.              )6:20-cv-00881-ADA                   9
 8                   )                                     10               EXHIBITS
   GOOGLE, LLC,                )
 9                   )                                     11 NUMBER             DESCRIPTION            PAGE
          Defendant.       )                               12 Exhibit 1 Audyssey manual              21
10 _____________________________)                          13
11                                                         14 Exhibit 2 Slides from a computer networks 33
12     Videoconference deposition of CHRISTOS
13 KYRIAKAKIS, Volume I, taken on behalf of Plaintiff,
                                                           15         course
14 beginning at 9:02 a.m. and ending at 3:10 p.m. on       16
15 Friday, June 11, 2021, before KATHLEEN E. BARNEY,       17 Exhibit 3 Excerpt from the Microsoft      45
16 Certified Shorthand Reporter No. 5698.                  18         Computer Dictionary, Fifth
17
18
                                                           19         Edition
19                                                         20
20                                                         21 Exhibit 4 Publication "RMI System: Internet 61
21                                                         22         Meets the Future Home Theater"
22
                                                           23
23
24                                                         24 Exhibit 5 Patent No. 8,705,764         69
25                                                         25
                                                  Page 2                                               Page 4

 1 APPEARANCES:                               1
 2                                            2 Exhibit 6 Publication, "High Quality      76
 3 For Plaintiff:                             3         Multichannel Audio Over the
 4                                            4         Internet"
 5    LEE SULLIVAN SHEA & SMITH               5
 6    BY: JAE PAK                             6 Exhibit 7 Paper titled "HYDRA -High          83
 7       GEORGE LEE                           7         Resolution Live Streaming"
 8    Attorneys at Law                        8
 9    656 West Randolph Street                9 Exhibit 8 Publication, "Distributed      87
10    Chicago, Illinois 60661                10         Immersive Performance: Enabling
11    Pak@ls3ip.com                          11         Technologies for and Analyses of
12                                           12         Remote Performance and
13 For Defendant:                            13         Collaboration"
14                                           14
15    QUINN EMANUEL URQUHART & SULLIVAN, LLP 15 Exhibit 9 Declaration of Dr. Kyriakakis    96
16    BY: MARC KAPLAN                        16
17    Attorney at Law                        17 Exhibit 10 '206 patent              119
18    865 Figueroa Street                    18
19    Los Angeles, California 90071          19 Exhibit 11 Appendix L to Dr. Schmidt's      138
20    marckaplan@quinnemanuel.com            20         declaration
21                                           21
22                                           22 Exhibit 12 Appendix N of Dr. Schmidt's      156
23 Videographer:                             23         declaration
24    KIMBERLEE DECKER                       24
25                                           25
                                                  Page 3                                               Page 5

                                                                                              2 (Pages 2 - 5)
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 1 Exhibit 13 Dua Patent Application     159                                   1 from Lee Sullivan Shea & Smith.
 2         Publication                                                         2      MR. KAPLAN: This is Marc Kaplan from Quinn
 3                                                                             3 Emanuel Urquhart & Sullivan for Google and the
 4 Exhibit 14 '033 patent            196                                       4 witness.
 5                                                                             5      MR. LEE: Good morning. This is George Lee              09:03:52
 6                                                                             6 for plaintiff Sonos. I'm also with the firm of Lee
 7                                                                             7 Sullivan Shea & Smith in Chicago.
 8                                                                             8      THE VIDEOGRAPHER: Thank you. Will the court
 9                                                                             9 reporter please swear in the witness.
10                                                                            10
11                                                                            11            CHRISTOS KYRIAKAKIS,
12                                                                            12 having been administered an oath, was examined and
13                                                                            13 testified as follows:
14                                                                            14
15                                                                            15               EXAMINATION
16                                                                            16 BY MR. PAK:
17                                                                            17   Q Dr. Kyriakakis, could you please state and
18                                                                            18 spell your name for the record.
19                                                                            19   A Sure. First name is -- legal first name is
20                                                                            20 Christos, but I go by Chris, last name is             09:04:34
21                                                                            21 K-Y-R-I-A-K-A-K-I-S.
22                                                                            22   Q Is it okay if I call you Dr. K throughout
23                                                                            23 this deposition?
24                                                                            24   A Yes, please do.
25                                                                            25   Q Have you been deposed before?                      09:04:48
                                                                     Page 6                                                                        Page 8

 1           Friday, June 11, 2021                                             1   A I have.
 2               9:02 a.m.                                                     2   Q How many times have you been deposed? Just a
 3                                                                             3 ballpark is fine.
 4      THE VIDEOGRAPHER: Good morning. We are on                              4   A Two other times.
 5 the record at 9:02 a.m. on June 11, 2021.              09:02:30             5   Q How many times have you been deposed as an               09:04:57
 6      All participants are appearing remotely.                               6 expert witness? Were you an expert witness in both
 7 Audio and video recording will continue to take                             7 of those cases?
 8 place unless all parties agree to go off the record.                        8   A Yes, I was.
 9      This is Media Unit 1 of the recorded                                   9   Q And these are patent cases, correct?
10 deposition of Christos Kyriakakis taken by counsel         09:02:49        10   A Correct.                               09:05:16
11 for the plaintiff in the matter of Sonos, Inc.,                            11   Q When was the last time you were deposed?
12 versus Google, LLC, filed in the U.S. District                             12   A It was -- I think it was 2018. I don't have
13 Court, Western District of Texas, Waco Division,                           13 the exact date, but I think it was 2018.
14 case number 6:20-CV-00881-ADA.                                             14   Q Sure. Do you remember what case that was?
15      My name is Kimberlee Decker from Veritext            09:03:12         15   A It was -- so it was two in that same year.         09:05:34
16 Legal Solutions. I'm the videographer. The court                           16 So one of them was -- I was working on behalf of
17 reporter is Kathy Barney. I'm not related to any                           17 Apple, which was an ITC case. Actually, initially
18 party in this action, nor am I financially                                 18 the case involved Apple and Samsung as
19 interested in the outcome.                                                 19 co-defendants. So that was one case. And the other
20      Counsel and all present will now state their      09:03:26            20 case was for Apple, a separate case.                  09:06:05
21 appearances and affiliations for the record. If                            21   Q Okay. And so we're on the same page, I want
22 there are any objections to proceeding, please state                       22 to run through some general guidelines. So just
23 them at the time of your appearance, beginning with                        23 bear with me here.
24 the noticing attorney.                                                     24      I'll ask you questions and you must give
25      MR. PAK: This is Jae Pak, counsel for Sonos, 09:03:33      25 truthful answers. Your counsel may object to                        09:06:20
                                                            Page 7                                                                                Page 9

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 1 questions, but unless your counsel instructs you not                    1    A Probably two other times. It was different
 2 to answer, you still must answer despite the                            2 attorneys. Different matters.
 3 objection.                                                              3    Q What was the nature of your engagement with
 4      Do you understand?                                                 4 Quinn Emanuel?
 5   A I do.                             09:06:30                          5        MR. KAPLAN: Object to form.                   09:08:33
 6   Q And if you don't understand a question or                           6        THE WITNESS: It was similar. They were
 7 need clarification, please ask. Otherwise I'll                          7 patent cases and I was an expert witness for their
 8 assume that you understand the question.                                8 client.
 9      We'll plan to take a break every hour or so.                       9 BY MR. PAK:
10 If you need a break outside of that schedule, just     09:06:38        10    Q Do you recall what cases?                  09:08:43
11 let me know and I'll accommodate the request. The                      11    A I believe one was Blitzsafe versus Daimler
12 only thing I ask is, you know, to finish any pending                   12 Benz, Mercedes. And the other one escapes me
13 question before we go on break.                                        13 because I remember the cases, but not necessarily
14      And the court reporter will be transcribing                       14 all the affiliations.
15 our discussion today, so I need you to give verbal      09:06:50       15        THE VIDEOGRAPHER: You're speaking a little           09:09:26
16 answers as opposed to head nods or the like.                           16 low.
17      Understood?                                                       17        THE WITNESS: Interesting. Okay. Is that
18   A Yes.                                                               18 better?
19   Q Okay. I'll slow down here now.                                     19 BY MR. PAK:
20      When did you begin working on this case           09:07:02        20    Q Have you provided expert opinions on behalf         09:09:44
21 between Sonos and Google?                                              21 of Google before?
22   A Oh, I don't know the exact date. It was a                          22    A I have not.
23 few months ago.                                                        23    Q Have you offered opinions with respect to any
24   Q Okay. So it was sometime this year?                                24 Google products?
25   A Yes.                               09:07:16                        25    A No.                              09:09:55
                                                                Page 10                                                                      Page 12

 1   Q Did you sign an engagement letter?                                  1    Q Have you offered opinions with respect to any
 2   A I did.                                                              2 mobile apps that can be installed on your phone or
 3   Q And when did you sign the engagement letter,                        3 tablet?
 4 do you remember?                                                        4    A No.
 5   A Shortly after I talked to the attorneys and I 09:07:29              5    Q Have you used any Google audio products             09:10:07
 6 was told they wanted to retain me. I don't have the                     6 before?
 7 exact date. I think it was a few months ago.                            7    A I have -- yes, I have used them. I don't own
 8   Q Few months as in maybe April of this year or                        8 them, but I have used them.
 9 sometime before?                                                        9    Q What products have you used?
10   A I'm pretty sure it was before.               09:07:45              10    A It was a Google speaker.                   09:10:22
11   Q Okay.                                                              11    Q Do you know what speaker it was?
12   A I don't have the exact date.                                       12    A I think it's called Google Home.
13   Q No, I understand.                                                  13    Q Did you use any specific feature of Google
14      Who is that engagement between? Is that                           14 Home?
15 between you and Google or Google's counsel or            09:07:57      15    A I was interested in evaluating the voice        09:10:45
16 someone else?                                                          16 performance, the voice recognition performance,
17   A It is -- I believe it's between me and                             17 especially how it performs in noisy environments.
18 Google's counsel.                                                      18    Q So you've experimented with Google Assistant;
19   Q And Google's counsel being Quinn Emanuel; is                       19 is that correct?
20 that correct?                                                          20        MR. KAPLAN: Object to form.                   09:11:12
21   A Correct.                                                           21        THE WITNESS: In the context of that product,
22   Q Have you worked with Quinn Emanuel before?                         22 yes.
23   A I have.                                                            23 BY MR. PAK:
24   Q How many times have you worked with Quinn                          24    Q Okay. Have you used the Google Home app
25 Emanuel?                                09:08:18                       25 before?                               09:11:24
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 1   A No.                                                                     1      I mean, that's kind of what I do on a regular
 2   Q So how did you set up the Google Home                                   2 basis just to understand what is going on and who is
 3 product?                                                                    3 doing what acoustically in rooms.
 4   A That's a good question. It's been a while.                              4 BY MR. PAK:
 5       Okay. I guess I used it to set it up. I      09:11:40                 5   Q So have you evaluated these products for             09:15:04
 6 thought you were asking if I used it to interact                            6 other reasons? Other than acoustic performance,
 7 with it.                                                                    7 have you evaluated these products for some other
 8   Q Okay. Have you used any Google Pixel device                             8 reason?
 9 before?                                                                     9   A No.
10   A No.                                 09:11:53                           10   Q And just for curiosity, I guess, which           09:15:15
11   Q Have you used any Sonos products?                                      11 product has the best acoustic performance, in your
12   A Yes.                                                                   12 opinion?
13   Q What Sonos products have you used before?                              13   A I'm going to get in big trouble. I'm not
14   A Sonos Play:1. And Sonos Subwoofer.                                     14 going to answer that. A lot of them it's an
15   Q Have you used any other Sonos products                 09:12:17        15 objective measurement, but a lot of it is very        09:15:35
16 before?                                                                    16 subjective. So I'm probably going to stay away from
17   A No.                                                                    17 that one.
18   Q Do you own a Sonos Play:1 or Sonos Sub?                                18   Q That's fair.
19   A Yes, I do.                                                             19      I want to talk about your professional
20   Q When did you first purchase the Play:1 and             09:12:33        20 experience. Do you have any computer programming              09:15:46
21 the Sonos Sub?                                                             21 experience?
22   A Two years ago approximately.                                           22   A Yes.
23   Q Why did you purchase the Play:1 and Sonos                              23   Q Do you remember the last time you coded or
24 Sub?                                                                       24 programmed something?
25   A As part of my work and research, I have, I             09:12:59       25    A Two days ago.                             09:15:59
                                                                     Page 14                                                                      Page 16

 1 would say, an unusually large collection of speaker                         1   Q Got it.
 2 products and I've purchased them to evaluate their                          2      Have you taught any computer science courses
 3 acoustic performance, compare them to others, and so                        3 before?
 4 on.                                                                         4   A No.
 5   Q Do you own more than one Play:1 and more than 09:13:16                  5   Q Have you taught any network courses before?            09:16:09
 6 one Sonos Sub?                                                              6   A Network specific, no.
 7   A I have three Play:1s and one Sonos Sub.                                 7      I should mention I have computer science
 8   Q Have you ever stereo-paired two Play:1s                                 8 students in my courses, but they're not specific
 9 together?                                                                   9 under the computer science department.
10   A Yes. Yes, I have.                           09:13:47                   10   Q Got it. But you haven't taught any computer           09:16:24
11   Q And have you compared that to other -- when                            11 science courses. Did you say you haven't taught any
12 you say others, you're talking about other audio                           12 network courses; is that correct?
13 products?                                                                  13   A That's correct.
14   A I guess what do you mean by "compared"?                                14   Q Do you have any networking experience?
15   Q Yeah. So you said you evaluated the acoustic 09:14:09                  15   A Yes. Quite a bit, especially with streaming          09:16:41
16 performance of the Sonos Play:1 products with                              16 media. My research group was one of the first to
17 others, right?                                                             17 implement multichannel audio streaming across the
18   A Yes.                                                                   18 country over Internet2, and for that we had a large
19   Q And who are these others that you're                                   19 group that was working on various aspects of
20 referring to here?                          09:14:23                       20 networking, including peer to peer and other aspects 09:17:05
21       MR. KAPLAN: Object to form.                                          21 of it. So, yeah, quite a bit of experience.
22       THE WITNESS: There's a number of them. Some                          22   Q What is Internet2?
23 are home speakers. PSB. Bose. Amazon products.                             23   A Internet2 is what the internet was when it
24 Paradigm is a high-end company that makes wireless                         24 first started, which is a network that was closed
25 speakers. A number of others.                      09:14:51                25 off to the public and only open to academic and           09:17:24
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 1 research institutions. It's a much higher bandwidth                        1 themselves inside the stores like the Apple Store
 2 network that is basically used for experimentation                         2 and Best Buy.
 3 for next-generation applications on the internet.                          3   Q Do you know any Audyssey -- do you know the
 4   Q So do you have any experience in designing or                          4 product names of any of the Audyssey products?
 5 implementing a network?                         09:17:48                   5   A The loudspeakers?                          09:21:02
 6   A My experience is in coding, testing                                    6   Q Yes. Any Audyssey product, really.
 7 performance of networks, not necessarily designing                         7   A So the main Audyssey product was called
 8 networks from scratch. Software that goes on                               8 MultEQ, M-U-L-T-E-Q. That was the name of the
 9 networks, though, yes.                                                     9 umbrella of technologies that had to do with
10   Q But you never designed or architected a           09:18:11            10 acquiring in-room information, acoustical               09:21:21
11 network, right? Is that right?                                            11 information, and correcting it. And the logo is
12      MR. KAPLAN: Object to form.                                          12 still found on many receivers like Marantz and
13      THE WITNESS: Well, I guess I'm --                                    13 Denon, D-E-N-O-N.
14 architected -- I was part of the team. I led the                          14      The speaker products had -- were named of
15 team that architected a multichannel audio streaming 09:18:34             15 after interesting, hip neighborhoods. That was the        09:21:51
16 solution, Lossless, over a network. And so I didn't                       16 marketing plan. So Lower East Side, Market -- South
17 build the network from scratch. It was an existing                        17 of Market. Yeah.
18 network. We just built the software to run all of                         18   Q Are you familiar with the Audyssey Sub
19 that.                                                                     19 Equalizer product?
20 BY MR. PAK:                                 09:19:01                      20   A I am, yes.                            09:22:19
21   Q Got it.                                                               21   Q What is a sub equalizer?
22      And you're the founder and CTO of a company                          22   A A sub equalizer -- so in the home theater
23 called Audyssey Laboratories; is that correct?                            23 market, it is popular to have separate components
24   A That's right.                                                         24 for audio systems. So people will buy their
25   Q And I see the background. Is that an             09:19:07             25 favorite loudspeakers, they will buy their favorite      09:22:39
                                                                   Page 18                                                                     Page 20

 1 Audyssey Laboratories product behind you?                                  1 audio receiver amplifier.
 2   A The loud speaker, no.                                                  2      And for people that already had invested
 3   Q No?                                                                    3 money in a product that didn't have Audyssey room
 4   A No, it's not. I have one, but it's not in                              4 correction in it, we actually made two products.
 5 this room.                              09:19:21                           5 One was called the Audyssey Equalizer, which allowed 09:22:51
 6   Q What products did you help design at                                   6 you to insert it in the path, in the audio path, and
 7 Audyssey?                                                                  7 take advantage of the Audyssey technologies.
 8   A So Audyssey was a spinout from my research                             8      And the sub equalizer was basically the same
 9 lab at USC with a couple of graduate students. We                          9 thing except it was only focused on room correction
10 started in the audio technology licensing business,    09:19:36           10 of the subwoofer frequency range, the low               09:23:15
11 and so the product there was technologies for                             11 frequencies.
12 automatic measuring of acoustical problems in rooms                       12   Q Got it.
13 and solutions for fixing them. And perhaps you've                         13      And I want to introduce an exhibit here.
14 seen the little microphone that comes with home                           14 It's the Audyssey manual. And I just uploaded it in
15 theater equipment. You put it in your living room       09:20:01          15 the exhibits folder and marked it as Exhibit 1.         09:23:28
16 or your car or IMAX theaters, for example. There                          16      (Exhibit 1 was marked for identification
17 are many places that have that.                                           17   electronically and is attached hereto.)
18      So it started as a software solution that was                        18 BY MR. PAK:
19 being licensed. In the course of that company, we                         19   Q Do you see that?
20 also designed some loudspeaker products to showcase        09:20:23       20   A Not yet. I'm refreshing the screen here.           09:23:34
21 the technologies so that we could be fully in                             21 I'm looking at another monitor, so --
22 control of them.                                                          22   Q Sure. I am too.
23      And these were wireless speakers. Three were                         23      THE VIDEOGRAPHER: You have to refresh the
24 wireless and one was wired. And so those were --                          24 browser each time.
25 those were the physical products that found           09:20:48       25           MR. KAPLAN: Chris, sometimes you can just              09:24:02
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 1 hit the Marked Exhibits folder again and that will                         1 data after processing it.
 2 do it.                                                                     2   Q Well, let me ask you this. The Sub Equalizer
 3      THE WITNESS: Oh, there it is. Okay. I got                             3 was not designed to communicate over Wi-Fi,
 4 it. I'm opening it now.                                                    4 Bluetooth, or Ethernet. How did it communicate over
 5 BY MR. PAK:                                 09:24:17                       5 a data network?                           09:27:01
 6    Q Do you recognize this document?                                       6        MR. KAPLAN: Object to form.
 7    A Sorry, it hasn't opened yet.                                          7        THE WITNESS: Well, those are not the only
 8    Q Sure. Let me know.                                                    8 types of networks. Anything that carries data is a
 9    A Okay. Yes, it's open now.                                             9 data network. So this is an audio data network.
10      Yes, I recognize it.                  09:24:26                       10 BY MR. PAK:                                 09:27:11
11    Q Okay. And this is the Audyssey MultEQ Pro                            11   Q You're saying these speakers -- how are these
12 User Guide, correct?                                                      12 speakers connected to the Sub Equalizer?
13    A Correct, MultEQ Pro. It was software that we                         13   A Through audio cables.
14 provided to home theater installers. And this was                         14   Q What kind of -- sorry, I didn't mean to cut
15 additional functionality than what a consumer could       09:24:45        15 you off.                               09:27:27
16 do with the built-in software. And we marketed it                         16   A No, no. It's fine.
17 as MultEQ Pro.                                                            17   Q What audio cables do you use to connect, you
18    Q I want to turn to PDF, page 14. And there's                          18 know, one of these speakers to a Sub Equalizer?
19 a connection diagram for the Audyssey Sub Equalizer.                      19   A They're called line level cables or RCA
20      Do you see that?                      09:25:02                       20 because of the type of connector, which is named as      09:27:46
21    A It's coming. Page 14?                                                21 an RCA connector.
22    Q PDF page 14.                                                         22   Q So if you have a speaker connected to, you
23    A Oh, PDF page 14.                                                     23 know, another device, you know, another device here
24    Q But it's page 10 of the manual.                                      24 being a Sub Equalizer via RCA cables, are they
25    A Okay.                              09:25:26                          25 communicating over a data network?                   09:28:06
                                                                   Page 22                                                                   Page 24

 1   Q Okay. So you see the connection diagram for                            1   A In the most general definition of a data
 2 the Audyssey --                                                            2 network, audio certainly falls into that. And I
 3   A Yes.                                                                   3 would consider this a wired data network. To put it
 4   Q Does that look like an accurate                                        4 in the context of the discussion we're having today,
 5 representation of the Sub Equalizer?                 09:25:33              5 yes.                                 09:28:27
 6      MR. KAPLAN: Object to form.                                           6   Q Okay. So, I mean, any device that can carry
 7      THE WITNESS: It's an accurate representation                          7 data to another device is a data network; is that
 8 of how we recommended the connection, yes.                                 8 correct?
 9 BY MR. PAK:                                                                9        MR. KAPLAN: Object to form.
10   Q Was the Sub Equalizer designed to communicate 09:25:48                10        THE WITNESS: Any infrastructure that can          09:28:37
11 over Wi-Fi?                                                               11 connect devices and carry data, yes.
12   A No.                                                                   12 BY MR. PAK:
13   Q Was the Sub Equalizer designed to communicate                         13   Q In general, do you have an understanding of
14 over Bluetooth?                                                           14 what a term of art is?
15   A No.                                09:25:58                           15   A Yes.                               09:28:53
16   Q Was the Sub Equalizer designed to communicate                         16        MR. KAPLAN: Object to form.
17 over Ethernet?                                                            17 BY MR. PAK:
18   A No.                                                                   18   Q What is your understanding?
19   Q Was the Sub Equalizer designed to communicate                         19   A A term of art in my understanding is -- maybe
20 over a data network?                         09:26:09                     20 not the exact legal definition -- it's what a person 09:29:05
21   A Well, it was designed to accept, process and                          21 of skill would understand that to mean in the art,
22 produce or transmit audio data.                                           22 in the field.
23      So in the context of data -- audio being                             23   Q Is the term "network" a term of art?
24 data, which it is, I would say yes, it's connected                        24        MR. KAPLAN: Object to form.
25 to two devices as shown here and it's passing audio      09:26:30     25            THE WITNESS: Yes.                          09:29:25
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 1 BY MR. PAK:                                                               1 laptops on a data network, correct?
 2   Q Before you were engaged as an expert for this                         2 A Correct.
 3 matter, did you have an understanding of what                             3 Q Are there any other types of devices other
 4 network means?                                                            4 than a laptop that can be on a data network?
 5   A Yes.                               09:29:34                           5 A Anything that allows the passage of data           09:32:45
 6   Q What was that understanding?                                          6 through it that is connected to other devices can be
 7   A Basically what I said a minute ago. A                                 7 on a data network.
 8 network is an infrastructure of devices and                               8      So in a studio environment, microphones and
 9 interconnects that allows the flow of data between                        9 loudspeakers are on a data network, and sometimes
10 them. Or enables the flow of data between them.           09:29:54       10 over very long distances. The control room is in      09:33:06
11   Q Okay. So your definition of a network is the                         11 another place. Obviously computers are on a data
12 same as a data network; is that correct?                                 12 network. Cell phones are on a data network. Yes.
13      MR. KAPLAN: Object to form.                                         13 And many other types of devices.
14      THE WITNESS: I think -- a network carries                           14 Q Sure. And a data network can be wired or
15 data, so yes.                           09:30:19                         15 wireless, correct?                        09:33:26
16 BY MR. PAK:                                                              16 A Correct.
17   Q Is "data" a term of art?                                             17 Q What are the types of cables or interfaces to
18   A Yes, it is.                                                          18 transfer data over a wired data network?
19   Q Before Google engaged you as an expert in                            19      MR. KAPLAN: Object to form.
20 this matter, did you have an understanding of what         09:30:41      20      THE WITNESS: Over wired?                      09:33:39
21 data means?                                                              21 BY MR. PAK:
22   A Yes, absolutely.                                                     22 Q Yes. I -- well, I assume in a wireless data
23   Q What was that understanding?                                         23 network you wouldn't need cables, right?
24   A Data is in its -- in the highest level                               24 A Right. Correct.
25 definition, data is information.                09:30:53                 25      In a wired one, I mean, I guess anything that 09:33:51
                                                                  Page 26                                                                     Page 28

 1   Q Can data be analog or digital?                                        1 can establish electrical connection. So it would
 2   A Yes, absolutely.                                                      2 be -- it could be copper, it could be optical, it
 3   Q Is "data network" a term of art?                                      3 could be Ethernet. There's probably others that I'm
 4   A I would say yes.                                                      4 forgetting, but --
 5   Q Is there a difference between a network and a 09:31:18                5   Q You mentioned earlier RCA cables, you can use 09:34:20
 6 data network?                                                             6 an RCA cable to --
 7      MR. KAPLAN: Object to form.                                          7   A Yeah. Those fall into copper for me, but
 8      THE WITNESS: In the context of what we're                            8 yes.
 9 speaking of, I would say no. There is a network of                        9   Q Got it. What about speaker wires, does that
10 people that I have on LinkedIn, but that's a        09:31:35             10 fall under copper?                          09:34:33
11 different kind of network. But in this context, I                        11   A Also under copper.
12 would say no.                                                            12   Q Does a data network require devices to
13 BY MR. PAK:                                                              13 transfer data in a certain format to communicate
14   Q Would you say that a network and a data                              14 with another device that is on the network?
15 network are both mediums that carry data?             09:31:54           15   A There has to be -- the devices have to          09:34:47
16      MR. KAPLAN: Object to form.                                         16 understand the data coming in. So if that is what
17      THE WITNESS: In this context, yes.                                  17 you mean by format, then yes. If not, there are
18 BY MR. PAK:                                                              18 translator devices that can convert it.
19   Q Okay. What are the types of devices that can                         19   Q Okay. So when a device transfers data to
20 be on a data network?                          09:32:15                  20 another device on a data network, there's got to be     09:35:14
21      MR. KAPLAN: Object to form.                                         21 some kind of protocol, right?
22      THE WITNESS: The types? What do you mean by                         22   A Yes.
23 "types"?                                                                 23        MR. KAPLAN: Object to form.
24 BY MR. PAK:                                                              24 BY MR. PAK:
25   Q Well, for example, you can have a laptop or           09:32:29      25    Q What are the protocols that are required for       09:35:25
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 1 a data network?                                                             1 than 802.11?
 2   A There's a pretty large number of them. A                                2   A Well, there are other Wi-Fi methods that are
 3 common protocol is to -- is based on the principal                          3 proprietary to individual companies that may -- that
 4 of modulation. Again, I'm speaking in the context                           4 don't have to comply with 802.11 between their own
 5 of our discussion today and the matters here.          09:35:45             5 devices. I don't know how they work because they're 09:39:45
 6      So in a modulation concept, the modulation                             6 proprietary, but they do exist.
 7 type protocol is understood to take in data, put it                         7   Q And these protocols you mentioned, like
 8 in a certain form so that the receiving device can                          8 802.11, for example, or TCP, they require data to be
 9 understand it. Since we're speaking of audio, pulse                         9 sent in a certain format; is that correct?
10 code modulation is a common one.                      09:36:14             10      MR. KAPLAN: Object to form.                    09:40:02
11      There are optical protocols called SPDIF,                             11      THE WITNESS: Those protocols, the standards
12 Sony Phillips Digital Interchange Format. There                            12 require, yes, data to be in a certain type. Just
13 are, of course, computer-to-computer protocols such                        13 like all the other protocols.
14 as Ethernet. And several others.                                           14 BY MR. PAK:
15   Q Okay. Specifically if a device wants to           09:36:49             15   Q Do the Wi-Fi and Ethernet standards require         09:40:17
16 communicate with another device on an internet-based                       16 data to be sent in data packets?
17 network, what protocols are required for that                              17   A The 802.11 Wi-Fi does. The Ethernet, as I
18 communication?                                                             18 said, you can -- Ethernet is basically the cable.
19      MR. KAPLAN: Object to form.                                           19 Different protocols can run on it. TCPIP is data
20      THE WITNESS: Can you define internet-based            09:37:10        20 packets, yes. Or it's based on data packets.        09:40:37
21 network for me, please?                                                    21   Q Are there any Wi-Fi Ethernet standards that
22 BY MR. PAK:                                                                22 don't require data to be sent in the form of data
23   Q Yeah. So communicate over Wi-Fi or Ethernet,                           23 packets?
24 for example.                                                               24   A As I said, I don't know the Wi-Fi inner
25      MR. KAPLAN: Object to form.                      09:37:20             25 workings of the proprietary ones, so I'm not sure I     09:40:58
                                                                    Page 30                                                                    Page 32

 1      THE WITNESS: Oh, I'm sorry. Did you say                                1 can answer that. Or the wired ones.
 2 Ethernet or internet?                                                       2      There are multi-room systems that have been
 3 BY MR. PAK:                                                                 3 around in the home installer market for a long time
 4   Q Wi-Fi or Ethernet.                                                      4 that use Ethernet. But it's not necessarily a
 5   A Ethernet. I see.                      09:37:29                          5 standard Ethernet, based on a standard. So I          09:41:16
 6   Q Yeah.                                                                   6 couldn't say for sure what they use.
 7   A So the format for those is -- I mean, there's                           7   Q Okay. And I want to introduce another
 8 a Wi-Fi standard under the 802.11 IEEE, Institute of                        8 exhibit here. Just give me one minute.
 9 Electrical and Electronics Engineers, and that                              9   A Sure.
10 standard has been established for -- the devices       09:37:52            10   Q Okay. I just uploaded Exhibit 2. Let me           09:41:33
11 that want to talk to each other on Wi-Fi have to                           11 know if you see it.
12 implement that standard on the transmitter and the                         12   A Yes. Okay.
13 receiver so that they can communicate.                                     13      (Exhibit 2 was marked for identification
14      There are also standards for Ethernet. A                              14   electronically and is attached hereto.)
15 common one is TCP, Transfer Control Protocol. There 09:38:10               15 BY MR. PAK:                                  09:41:57
16 are others.                                                                16   Q Do you recognize this document?
17   Q Can you name some of the other protocols?                              17   A No.
18      MR. KAPLAN: Object to form.                                           18   Q Okay. Well, I'll represent to you that these
19      THE WITNESS: There are Asynchronous Transfer                          19 are slides from a computer networks course from
20 Mode, ATM. Token Ring kind of networks. And a               09:38:43       20 Cornell University that I downloaded from the           09:42:11
21 variation of that, which is a Star network.                                21 internet.
22      That's what comes to mind now. I'm sure I                             22      Do you see on the first page it says "CS519:
23 can think of more later.                                                   23 Computer Networks," correct?
24 BY MR. PAK:                                                                24   A I do.
25   Q Are there any other Wi-Fi standards other          09:39:18       25        Q And it's a lecture from January 24, 2004,         09:42:18
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 1 right?                                                         1 A First of all, I never heard that euphemism,
 2 A Yes.                                                         2 and I'm pretty familiar with the field of streaming
 3 Q Okay. And I want to focus on the slide 6, so                 3 audio and networks and use for that, and voice. I
 4 PDF page 6.                                                    4 think a voice network is a data network. It's
 5 A They're not numbered. What is the title of 09:42:35 5 carrying voice data.                                   09:44:59
 6 the slide?                                                     6 Q Well, what is a voice network?
 7 Q It says, "What is a data network?"                           7 A It's a network that carries voice. For
 8 A I see it.                                                    8 example, a telephony network.
 9      MR. KAPLAN: Chris, I don't mean to                        9 Q Could you give me some other examples of a
10 interrupt, but if you sort of scroll your mouse over 09:42:48 10 voice network?                               09:45:23
11 the exhibit, it will show the page numbers there.             11 A If we're talking about a network that only
12      THE WITNESS: Yeah, I just realized. But for              12 carries voice, then I think telephony is probably
13 some reason it's showing as page 5 for me. But,               13 the only one that comes to mind. There are other
14 okay, I do see it.                                            14 networks that carry voice and other things, like
15 BY MR. PAK:                                 09:43:00          15 cellular networks and cell phone networks. But if 09:45:42
16 Q I guess it is page 5. Page 5 of the PDF.                    16 we're talking about just voice, then I would think
17 A Yes.                                                        17 telephony is the -- I -- I just thought of another
18 Q And it says:                                                18 one. A walkie-talkie network that has multiple
19         "What is a data network?" And                         19 wireless devices that a firefighter department would
20      then, "The answer is not a network           09:43:09    20 use, that is a voice network and it carries data.     09:46:01
21      that carries data."                                      21 Q So a walkie-talkie network, in your opinion,
22      Do you see that?                                         22 is a data network?
23 A I do.                                                       23 A Well, I guess walkie-talkie network is --
24 Q And the slide explains that one reason why a                24 walkie-talkie is the devices on a wireless network
25 data network is not a network that carries data is 09:43:20 25 that exchange voice data.                         09:46:25
                                                          Page 34                                                              Page 36

 1 because you can send data over a voice network,              1 Q And what protocol does this wireless network
 2 which is often a euphemism for a circuit network,            2 use to exchange voice data?
 3 and a voice network is not a data network.                   3 A Most of them are based on radio frequency,
 4      Do you see that?                                        4 RF. But the protocols, again, I think are
 5 A I do.                                 09:43:36             5 proprietary to the individual companies that make     09:46:48
 6 Q Do you agree with that statement?                          6 them, like Motorola and others.
 7 A Not at all.                                                7 Q And when you say a telephony network, are you
 8 Q Why do you disagree?                                       8 referring to a public switch telephone network?
 9 A I think it's an appropriate statement for a                9 A Yes.
10 packet network course -- for a network course, it's 09:43:4410 Q Okay. So a public switch telephone network 09:47:05
11 appropriate for that kind of class, but I don't             11 is a voice network; is that right?
12 think that's a general statement that is true               12 A Yes.
13 because data -- networks carry data. That's the             13 Q Is a cellular network a voice network?
14 very definition of a network.                               14 A Well, as I said before, it can be a voice
15      I don't know this class, but it sounds like 09:44:09   15 network if all that anyone does on it is speak on   09:47:23
16 they're going to be talking about a subset of               16 the phone. But it is capable of other information
17 networks that carry packet data, and they certainly         17 as well on that network. So it's not exclusively
18 exist.                                                      18 voice.
19 Q Well, you say you never taught a course in                19 Q So a cellular network can either transmit
20 computer networks; is that right?                09:44:22   20 voice or data, right?                      09:47:36
21 A Yes.                                                      21 A No.
22 Q Do you agree that a voice network is a                    22       MR. KAPLAN: Object to form.
23 euphemism for a circuit network?                            23       THE WITNESS: Voice -- a cellular network
24 A No. That is not a term of art.                            24 transmits or carries data. Voice is data as far as
25 Q Why do you disagree?                          09:44:32    25 it's concerned.                          09:47:53
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 1 BY MR. PAK:                                                             1        Sitting here today, you can't think of a
 2   Q Right. So a cellular network can carry data                         2 digital cellular network that is not packet based,
 3 in the form of voice, right, or non-voice data; is                      3 correct?
 4 that right?                                                             4   A Correct, but that's not -- I'm not saying
 5   A Right.                              09:48:05                        5 that they don't exist, just that I can't think of   09:51:15
 6   Q So how do you transmit voice data over a                            6 one.
 7 cellular network?                                                       7   Q So you said in a cellular network, you can
 8   A Well, it depends on what kind of cellular                           8 either transmit voice data or non-voice data, right?
 9 network. There are different kinds of cellular                          9   A Right.
10 networks. So the first ever created was probably, I 09:48:25           10        MR. KAPLAN: Object to form.                   09:51:35
11 would say, in Japan in 1979 or 1980, somewhere                         11 BY MR. PAK:
12 there. And it was an analog-based system where --                      12   Q So in a cellular network, is -- is voice data
13 and I guess at the time that would have been truly                     13 transmitted differently than non-voice data? Do
14 for voice because I don't think there was other                        14 they take different paths?
15 multimedia data being sent over the network.           09:48:47        15        MR. KAPLAN: Object to form.                   09:51:50
16      So that was through a mechanism called                            16        THE WITNESS: Well, it kind of depends. If
17 frequency division multiplexing, which basically is                    17 you're communicating with somebody else on another
18 a protocol for splitting up the audio bandwidth into                   18 cellular phone, for example, the path between you
19 different bands and then dividing them into                            19 and the other person may be different because of the
20 different bands, and then blending them all together 09:49:04          20 way cellular networks work. If you're using your        09:52:09
21 when they arrive at the other end. So that was a                       21 phone to send data to a device in your house, that
22 purely analog system. And, actually, it's still in                     22 would be a different path as well.
23 existence in some parts of the world.                                  23        So I guess I wasn't fully clear on your
24      There are also digital systems, and they have                     24 question.
25 increased over the years from -- starting from 2G,     09:49:23      25 ////
                                                                Page 38                                                                      Page 40

 1 which was the first one, all the way to what we have          1 BY MR. PAK:
 2 today, which is 5G, increasing the bandwidth of each          2 Q I want to go back to the slide here. It
 3 connection and also total bandwidth to improve                3 says:
 4 quality and speed.                                            4          "Data network is often a
 5 Q So in a digital cellular network, what --        09:49:47   5       euphemism for packet network."               09:52:36
 6 when you transmit data, what -- what form does that           6       Do you agree with that statement?
 7 data take? Is -- does it have to take the form of             7 A I do not.
 8 data packets?                                                 8 Q And you disagree with the statement because a
 9 A The standards dictate the form. So there are                9 data network is any type of network that carries
10 different schemes. There's time division           09:50:16 10 data; is that -- is that correct?             09:52:52
11 multiplexing, which was the next evolution after             11 A That's correct. And the data can be in many
12 frequency division. I would say, yes, the majority           12 different forms and it could be analog or digital.
13 of those are probably packet based.                          13 But even within those, it can be different protocols
14 Q Are there any digital cellular networks that               14 for each one of those.
15 are not packet based?                        09:50:32        15 Q Is a voice network a packet network?               09:53:06
16 A I don't know. That would be a pretty                       16       MR. KAPLAN: Object to form.
17 sweeping statement for me to make without looking            17       THE WITNESS: A voice network can be packet
18 into it a little bit more.                                   18 based, yes. But there are many -- the original
19      I can't think of an example off the top of my           19 PBX-type switches were not. Those were a voice
20 head, but I don't want to say no for sure because I 09:50:49 20 network that was analog. And then later other         09:53:31
21 would have to look into it.                                  21 networks came out that are digital.
22 Q Sitting here today, you can't think of any                 22       But analog voice networks still exist and are
23 digital cellular networks that are packet based --           23 in use in many places, including elevators for
24 that are not packet based? Let me -- let me start            24 safety and places where you want the internet not to
25 over.                                  09:51:04              25 fail, especially for safety applications.        09:53:47
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 1 BY MR. PAK:                                              1      destinations."
 2 Q Okay. So an analog voice network is not a              2      Yes, I would agree with that.
 3 packet network, correct?                                 3 BY MR. PAK:
 4 A An analog -- no, it is not.                            4 Q Can a circuit network be digital or analog?
 5 Q Is a digital voice network a packet network? 09:54:01 5 A Yes.                                 09:56:39
 6 A As I said before, most of them are. There              6 Q What's an analog -- what are some examples of
 7 might be examples where they're not, but I don't         7 analog circuit networks?
 8 know one off the top of my head. I would say most        8 A Well, those are the original telephony
 9 are.                                                     9 products that connect to POTS, plain old telephone
10 Q And I want to take a look at -- let me find 09:54:20 10 system lines. You still find limited -- you find 09:56:56
11 the right slide here. I think it's PDF page 9 of        11 them in network closets of many companies or other
12 the slides. The header says "Packet Network versus      12 organizations. So, yes, there are analog switching
13 Circuit Network."                                       13 or circuit networks that still exist.
14      Do you see that?                                   14 Q You said those are examples of an analog
15 A Yes.                                  09:54:44        15 voice network, right?                      09:57:31
16 Q So this slide says:                                   16 A Right.
17          "Packet Network versus Circuit                 17 Q So is a voice network not a circuit network?
18      Network. By contrast, packet network               18 A A voice network --
19      allows small units of data packets to              19 Q Let me ask you a different question.
20      be individually sent to different         09:54:55 20      Is a voice network synonymous -- synonymous 09:57:49
21      destinations."                                     21 with the term circuit network?
22      Do you see that?                                   22 A No.
23 A I do.                                                 23 Q How are they different?
24 Q Can you send data packets over a circuit              24 A A circuit network is something that requires
25 network?                                 09:55:04       25 a physical connection to be made of the sending     09:58:02
                                                      Page 42                                                        Page 44

 1 A Probably not. I'm trying to figure out what                  1 location and the receiving location. You think of
 2 the "by contrast" means here. Is there a previous              2 it as the old telephone operator plugging in patch
 3 slide that contrasts to something?                             3 cords. So that's a circuit network. What it
 4 Q Yeah. So in the context, you know, the                       4 carries is voice. And so I guess it's not a term
 5 header says, "Packet Network versus Circuit           09:55:32 5 that I often use, but it is a term that I guess  09:58:21
 6 Network." So "by contrast" here it's comparing a               6 people use calling it a voice network. You could
 7 packet network to a circuit network; is that                   7 send other things over an analog switching network.
 8 correct?                                                       8 Q And you said earlier that public switch
 9 A Yes.                                                         9 telephone network is a voice network, right?
10 Q So unlike a circuit network, this slide says: 09:55:42 10 A I said -- I don't remember what I said. The 09:58:41
11          "A packet network allows small                       11 public switch network can be used as -- for voice.
12      units of data packets to be                              12 Q Can a public switch telephone network be used
13      individually sent to different                           13 in a circuit network?
14      destinations."                                           14      MR. KAPLAN: Object to form.
15      Is that right?                      09:55:59             15      THE WITNESS: It's not to be used in. It's 09:59:05
16      MR. KAPLAN: Object to form.                              16 implemented using circuit networks, or circuit
17      THE WITNESS: Right. But -- so in a digital               17 network devices.
18 switching -- a digital circuit network, that could            18 BY MR. PAK:
19 also be true, right?                                          19 Q Well, let me ask you this way. Is a voice
20      So I understand what they're trying to say     09:56:15 20 network a type of circuit network?                09:59:28
21 here for the purposes of this class that they're              21 A Yes.
22 teaching, but I guess reading the sentence by                 22 Q Okay. I want to introduce a new exhibit
23 itself:                                                       23 here, Exhibit 3. Just give me one minute.
24          "A packet network allows packets                     24      (Exhibit 3 was marked for identification
25      of data to be sent to different           09:56:30       25 electronically and is attached hereto.)          10:00:11
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 1 BY MR. PAK:                                                  1 A Correct.
 2 Q Okay. I just uploaded Exhibit 3. Let me                    2 Q Why do you disagree?
 3 know when you see it.                                        3 A Because I think we talked about several
 4 A I see it.                                                  4 examples of networks that carry analog signals, and
 5 Q Do you recognize this document?                  10:00:23  5 so it's not an opinion. I mean, the existence of   10:03:47
 6 A I recognize maybe not this edition of it, but              6 those networks proves it doesn't have to be digital.
 7 I have seen the computer dictionary before, yes.             7 Q And earlier, you know, as we discussed, your
 8 Q Okay. Yeah, so this is an excerpt from the                 8 opinion is that a voice network can transmit analog
 9 Microsoft Computer Dictionary, Fifth Edition.                9 signals, but it can also transmit digital signals;
10      And you said you're not sure if you read this 10:00:44 10 is that correct?
11 edition, but you've looked through the Microsoft            11 A Yes.
12 Computer Dictionary before, right?                          12      MR. KAPLAN: Object to form.
13 A Yes, I have.                                              13      THE WITNESS: Yeah, I agree with that.
14 Q I want to look at page 3. At the bottom, do               14 BY MR. PAK:
15 you see a definition for a data network?          10:01:04 15 Q Okay. Is local area network a term of art? 10:04:17
16 A Yes.                                                      16 A Yes, it is.
17 Q Could you please read that definition for the             17 Q Before Google engaged you as an expert for
18 record?                                                     18 this matter, did you have an understanding of what
19 A                                                           19 local area network means?
20         "A network designed for              10:01:15       20 A Yes, I did.                             10:04:31
21      transferring data encoded as digital                   21 Q What was that understanding?
22      signals, as opposed to a voice                         22 A It is a -- again, infrastructure or medium
23      network, which transmits analog                        23 for connecting multiple devices for the purpose of
24      signals."                                              24 exchanging data.
25 Q So like the Cornell University slide we just 10:01:25 25 Q What are the types of devices that can be on 10:04:50
                                                       Page 46                                                          Page 48

 1 looked at, the Microsoft Dictionary distinguishes a            1 a local area network?
 2 data network from a voice network, correct?                    2 A They can be -- because I work a lot with
 3      MR. KAPLAN: Object to form.                               3 studios and other things, it can be mixing consoles,
 4      THE WITNESS: That's what it says.                         4 loudspeakers, computers, microphone preamplifiers,
 5 BY MR. PAK:                                  10:01:48          5 printers. There's a very large list of things it 10:05:16
 6 Q Do you agree with this definition of data                    6 could be on this kind -- on a local area network.
 7 network from the Microsoft Computer Dictionary?                7 Q A local area network can be wired or
 8 A I agree with parts of it. A network designed                 8 wireless, correct?
 9 for transferring data. But I don't agree that it               9 A Yes.
10 has to be digital.                        10:02:00            10 Q What are the types of cables used to transfer 10:05:29
11 Q What does transferring data mean?                           11 data over a wired local area network?
12 A In this context, I think because it's                       12 A It's similar to the list that we talked about
13 Microsoft, it means -- I assume it means data from            13 before in terms of data networks. It's copper and
14 one computer is moved to another computer.                    14 all types of copper connections, including audio
15 Q So it talks about sending and receiving data, 10:02:31 15 cables, speaker cables, Ethernet, coaxial cables,         10:05:53
16 right?                                                        16 optical cables. That's probably a good list.
17 A I don't -- maybe transferring means -- to me                17 Q So if a speaker is connected to the Sub
18 means taking it from one place to another. I don't            18 Equalizer, for example, via a RCA cable -- let me
19 see anything in this definition that implies it's             19 start over.
20 bidirectional.                           10:02:53             20      So if a speaker is connected to another      10:06:24
21 Q What do you mean by "bidirectional"?                        21 device, such as the Sub Equalizer via RCA cables, is
22 A Sending and receiving, as you said, between                 22 that on a local area network?
23 two devices, for example.                                     23 A Yes. Those are exchanging data.
24 Q Okay. So this definition, you disagree that                 24 Q Does a local area network require devices to
25 a data network is limited to digital signals, right? 10:03:29 25 transfer data in a certain format to communicate      10:06:51
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 1 with another device?                                                  1   Q When you transmit digital data over a local
 2 A It does. The devices on that network have to                        2 area network, does that data have to take the form
 3 all have an agreed-upon representation of the data                    3 of digital data packets?
 4 or use an appropriate translator to make it                           4   A No, it doesn't have to.
 5 understandable to them, but yes.                   10:07:08           5   Q What other forms can that data take?               10:11:00
 6 Q So devices on a local area network have to                          6   A The examples I was giving before, some kind
 7 communicate using a specific network protocol,                        7 of a modulation. So pulse code or pulse width
 8 right?                                                                8 modulation. So, no, it doesn't have to be packet
 9 A Yes.                                                                9 based.
10 Q What are those network protocols?                   10:07:25       10   Q When we talked about modulations, you                10:11:30
11 A So there are -- again, because I come from                         11 referred to them as analog data; is that right?
12 the audio world, there are modulation protocols,                     12   A No. The one kind, frequency division, is the
13 such as pulse code modulation, pulse width                           13 analog. But the -- so pulse code and pulse width,
14 modulation, optical data protocols, which are                        14 the examples I'm using here, require the translator
15 digital. Well, all the ones I mentioned are          10:07:49        15 device.                                  10:11:54
16 digital.                                                             16        So let's say you have an audio device that's
17      And then there are also the -- if we're                         17 sending out analog audio, but you want to connect it
18 talking about printers and computers, then there are                 18 over a local network to other devices to receive
19 the TCP internet protocols.                                          19 that audio, the wired network. You might convert it
20 Q Are these analog protocols or digital              10:08:04        20 to digital audio and then use -- and that conversion 10:12:16
21 protocols?                                                           21 puts it in the forms of pulse code modulated or
22 A Well, I guess I don't think of a protocol as                       22 pulse width modulated audio. Most common is pulse
23 analog or digital. It's -- there are protocols for                   23 code. It's sent over the network in that format and
24 analog data and there are protocols for digital                      24 then the opposite operation happens at the receiving
25 data. Perhaps that's what you meant?                 10:08:36        25 end.                                    10:12:37
                                                              Page 50                                                                        Page 52

 1   Q Yeah, that's what I meant, actually.                              1        So these converter devices are in many cases
 2      What are the protocols for analog data for a                     2 built into the audio source and receiver and
 3 local area network?                                                   3 sometimes they can be separate.
 4   A So they're modulated -- so FM is -- not the                       4   Q So when you convert audio into digital form
 5 radio kind of FM, but frequency or amplitude          10:09:02        5 in pulse code modulator or pulse width modulated           10:12:55
 6 modulation of audio data can be sent over cables and                  6 audio data, and you transmit that over a network,
 7 demodulated at the receiving side and be converted                    7 does that data have to take the form of data
 8 back to audio. That's one that comes to mind for                      8 packets?
 9 analog.                                                               9   A No.
10   Q Are there any other protocols for analog data 10:09:26           10   Q What does that data -- what form can that           10:13:19
11 over a local area network?                                           11 data take other than data packets?
12   A The method that I talked about before for the                    12   A You can think of it as a stream of zeroes and
13 1G cellular networks, frequency division                             13 ones because it's digital now.
14 multiplexing, that can also be applied to wired                      14        I guess the best analogy I can think of is in
15 local area networks as well.                  10:09:50               15 Morse code you can have a long beep or a short beep, 10:13:39
16   Q What are the protocols for digital data over                     16 and so the pulses can be wide to represent, let's
17 a local area network?                                                17 say, a one or short to represent a zero and then
18   A It depends on the data. So if it's -- again,                     18 that pattern is read in by the receiving device and
19 if we're talking about multimedia audio data, those                  19 converts back to audio.
20 can be the ones that I mentioned before, the pulse    10:10:12       20   Q Does an infrared remote that sends infrared         10:14:00
21 code or pulse modulation or optical, SPDIF.                          21 signals to a TV amount to a coupling by way of a
22      If we're talking about computers and                            22 local area network?
23 printers, those are TCP-type protocols. But there                    23   A Yes. It's sending data to a TV in this case,
24 are others. There are peer-to-peer connections that                  24 right? So over an agreed-upon protocol. So yes.
25 can happen.                             10:10:36                     25   Q So as long as data is being carried over to        10:14:36
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 1 another device using some agreed-upon protocol,                          1   Q Right. So there is a difference between a
 2 you're saying that that is enough to be on a local                       2 data network and a local area network, right?
 3 area network; is that right?                                             3   A No. A local area network is a data network.
 4      MR. KAPLAN: Object. Form.                                           4 But it has this additional attribute that is used to
 5      THE WITNESS: It's enough to be on a network. 10:14:55               5 compare it to larger data networks, which are called 10:18:13
 6 Local area usually is used as a term of art to                           6 wide area networks.
 7 differentiate it from larger networks. But, yes, I                       7   Q What is -- where are those additional
 8 agree.                                                                   8 attributes that make a data network a local area
 9 BY MR. PAK:                                                              9 network?
10   Q What do you mean by a local area usually is         10:15:16        10   A They are used in -- when making comparisons           10:18:27
11 usually used as a term of art to differentiate it                       11 between two networks to differentiate usually by the
12 from large networks?                                                    12 number of devices or the geographical area that is
13   A The industry uses these terms to give an idea                       13 covered.
14 of the magnitude of the size of the overall network.                    14      So they're all data networks, but the wide --
15 So they are, for example, wide area networks that       10:15:41        15 it's generally understood that a wider network has      10:18:48
16 would consist possibly of multiple local area                           16 many more devices or covers a wider geographical
17 networks and are generally considered to cover much                     17 area than a local area network.
18 larger areas geographically. So it's kind of a                          18   Q Are there any other additional attributes
19 layered terminology. There are also metropolitan                        19 that make a data network a local area network?
20 area networks that typically are associated with a     10:16:03         20   A Not that I can think of at the moment, no.         10:19:04
21 city.                                                                   21   Q Do you know any examples of a wide area
22      There's no hard definition of where the                            22 network?
23 boundary of one ends and another one begins, but one                    23   A Yes. I don't know if there's a name for it,
24 would understand that a wide area network involves a                    24 but the Western United States internet
25 much larger geographic area than a local area          10:16:16       25 infrastructure is generally considered a wide area        10:19:37
                                                                 Page 54                                                                    Page 56

 1 network.                                                        1 network. Internet2 that we mentioned before is a
 2 Q So local area network covers a limited area                   2 wide area network.
 3 compared to a wider network; is that right?                     3 Q Do you know any other examples of wide area
 4 A I wouldn't say limited. It's just smaller                     4 networks?
 5 than the wide area network. All networks are           10:16:42 5 A I would say satellite networks perhaps that 10:19:51
 6 limited by area. Wide area networks are also                    6 cover a part of the globe under their view are also
 7 limited, perhaps to planet earth. But it's just a               7 wide area networks.
 8 terminology for relative size. So one would                     8 Q How do you transmit data over a satellite
 9 understand a local area network has fewer devices on            9 network?
10 it than a wide area network.                    10:16:57       10 A In multiple ways. It could be radio               10:20:22
11 Q Let me ask you this way, then. A local area                  11 frequency based modulation or it could be packet
12 network covers a limited geographical area; is that            12 based, like it is for cell phones or cell networks.
13 right?                                                         13 Q Can you transmit analog data over a satellite
14 A As I said, a smaller geographic area. It can                 14 network?
15 be quite large. That's why I objected to "limited." 10:17:16 15 A Analog data -- I'm trying to think of -- for 10:20:41
16 It can be pretty big. And then you say, okay, what             16 example, a short-wave radio is a kind of a network
17 about wide? Wide area network would be bigger.                 17 that uses analog data over large distances. It's
18 Q Correct, right. So local area network covers                 18 possible that it's rebroadcast through satellites.
19 a smaller geographical area than a wide area                   19 I'm not sure. I think technically you can.
20 network; is that right?                      10:17:32          20      I can't think of an example at the moment,       10:21:13
21 A Yes.                                                         21 but there's no reason that you couldn't.
22 Q Is there a difference between a data network                 22 Q Do you know any satellite networks that
23 and a local area network?                                      23 transmit analog data?
24 A Well, a local area network is a subset of the                24 A Not off the top of my head. I mean, I know
25 data networks.                            10:17:56             25 an old example -- communication with the Apollo           10:21:33
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 1 astronauts was done through radio waves. Perhaps                             1 causes that. But yes.
 2 eventually that became digital. But, no, I can't                             2   Q Are there any other differences between a
 3 think of an example off the top of my head.                                  3 local area network and a personal area network?
 4   Q Does data that is transmitted over a                                     4   A Probably the number of devices in a local
 5 satellite network have to take the form of data        10:21:55              5 area network would be higher than the number of            10:32:24
 6 packets?                                                                     6 devices in a personal area network that are
 7   A I don't think that's required, no.                                       7 possible.
 8   Q What other forms of data can be transmitted                              8   Q Are there any other differences between local
 9 over a satellite network?                                                    9 area network and a personal area network?
10   A There are other modulation schemes that can          10:22:09           10   A I can't think of one, no.                  10:32:36
11 be used. Radiofrequency modulation schemes can be                           11   Q So earlier you said, you know, communicating
12 used to transmit data over satellites.                                      12 over two walkie-talkies could amount to a coupling
13      MR. PAK: How about we take a break, a quick                            13 by way of a data network, right?
14 break? Maybe come back in five minutes. Is that                             14   A Yes.
15 okay?                                    10:22:41                           15   Q And that's because you can carry data from            10:33:04
16      THE WITNESS: Sure.                                                     16 one walkie-talkie to another walkie-talkie, correct?
17      THE VIDEOGRAPHER: We are off the record at                             17   A Correct.
18 10:22 a.m.                                                                  18   Q What if I just had, you know, two cups on a
19      (Recess.)                                                              19 string and I used that to communicate with George,
20      THE VIDEOGRAPHER: We are on the record at                  10:30:10 20 who is right by me, is that on a data network?            10:33:25
21 10:30 a.m.                                                                  21      MR. KAPLAN: Object to form.
22 BY MR. PAK:                                                                 22      THE WITNESS: That's a bit of an extreme
23   Q Dr. K., I want to explore a couple more                                 23 example, but if your voice carried over the string
24 examples regarding local area networks.                                     24 and the string was carefully selected and there was
25   A Okay. Before we get started, before you ask          10:30:25      25 no background noise, yeah, it's data. Your data is             10:33:46
                                                                  Page 58                                                                         Page 60

 1 your question, I -- as I was walking upstairs, I                             1 getting across to somebody else to another device.
 2 thought of an example, if I could amend my previous                          2 Not a very sophisticated one, but yes.
 3 answer.                                                                      3 BY MR. PAK:
 4      An example of analog communication over                                 4   Q So as long as two devices or two nodes carry
 5 satellites is of course the obvious one, broadcast      10:30:38             5 data, that's going to be on a data network, in your      10:34:02
 6 television. Early days of broadcast television was                           6 opinion?
 7 analog signals being sent over satellite. That's an                          7   A Yes.
 8 obvious one. Okay.                                                           8      MR. PAK: Okay. I'm going to introduce
 9    Q Does a cell phone communicate with a                                    9 Exhibit 4. I actually uploaded it on the break and
10 Bluetooth headset amount to a coupling by way of           10:31:07         10 marked it as Exhibit 4. Just let me know when you          10:34:27
11 local area network?                                                         11 see it.
12    A Yes.                                                                   12      THE WITNESS: I see it.
13    Q Wasn't Bluetooth a type of personal area                               13      (Exhibit 4 was marked for identification
14 network?                                                                    14   electronically and is attached hereto.)
15    A Again, these definitions are kind of            10:31:26               15 BY MR. PAK:                                   10:34:45
16 arbitrary in the sense that there is no hard line of                        16   Q Do you recognize this document?
17 distance that goes from one to the other. It's a                            17   A Yes.
18 small local area network, but if I have a speaker 20                        18   Q This is your -- this is one of your
19 feet away from me communicating by Bluetooth, then                          19 publications; is that right?
20 maybe that could be a local area network. It's not      10:31:46            20   A That's right.                           10:34:51
21 a hard definition.                                                          21   Q And the title says, "RMI System: Internet
22    Q Does local area network cover a broader                                22 Meets the Future Home Theater," right?
23 geographical area than a personal area network?                             23   A Correct.
24    A By consensus of people in the field thinking                           24   Q At a high level, what is this publication
25 of it that way. It's not something technical that      10:32:07             25 about?                                10:35:07
                                                                     Page 59                                                                     Page 61

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 1   A This describes a set of experiments that                             1      concurrently."
 2 actually relates to the Internet2 discussion that we                     2      Then the last sentence on that page says:
 3 had earlier. RMI stands for Remote Media Immersion.                      3          "Each cluster node is attached to
 4 And for several years there was -- I was a faculty                       4      a local network switch with a fast or
 5 investigator and then eventually a deputy director     10:35:30          5      Gigabit Ethernet link. The nodes          10:38:41
 6 of the National Science Foundation Engineering                           6      communicate with each other and send
 7 Research Center that was established at USC, and                         7      the media data via these network
 8 this was one of the kind of capstone experiments                         8      connections. We connected the local
 9 that we did to push the limits of multimedia at the                      9      switch to both a wide area network
10 time. This was in the late 1990s.               10:35:47                10      backbone to serve distant clients and      10:38:51
11      And so this paper talks about what                                 11      a local area network, LAN, environment
12 technologies would you -- would one need and how                        12      with local clients."
13 would we use them to deliver what appears like high                     13      Do you see that?
14 quality representation of reality to somebody that                      14 A I do.
15 is far away.                             10:36:06                       15 Q So looking at Figure 1, what are the cluster 10:39:05
16   Q What was your contribution with respect to                          16 nodes?
17 this paper?                                                             17 A What are in terms of --
18   A So several parts. It was the algorithms for                         18 Q What are the cluster nodes with respect to
19 capturing audio on one end. Algorithms for                              19 Figure 1? Can you point to them or show me -- tell
20 delivering it on the other end. Those were, I would 10:36:32            20 me --                                 10:39:28
21 say, individual contributions.                                          21 A It's the ones that are labeled Node 0,
22      And then there were collaborative                                  22 Node 1, Node 2, Node N. It was scalable.
23 contributions in working with the researchers and                       23 Q What is a node?
24 computer networks to develop methods together that                      24 A A node is I think a network -- people speak
25 met the requirements of multichannel audio,            10:36:48         25 for a connection of a device to the point of     10:39:53
                                                                 Page 62                                                        Page 64

 1 immersive audio, that were very different from the              1 connection between a device like a computer or
 2 requirements of sending faxes and e-mails in terms              2 server to the network.
 3 of quality of service, forward error correction, and            3 Q And a local switch described in your
 4 other things like that.                                         4 publication is the Ethernet switch shown in
 5 Q Okay. And I want to look at PDF page 4,             10:37:12 5 Figure 1; is that right?                      10:40:10
 6 Figure 1.                                                       6 A Right.
 7      Do you see that?                                           7 Q And the internet showing here in Figure 1
 8 A Yes.                                                          8 represents the wide area network backbone described
 9 Q Did you design this architecture shown in                     9 in your publication; is that right?
10 Figure 1?                               10:37:29               10 A Correct.                                10:40:22
11 A This architecture is -- this is all                          11 Q Does Figure 1 also depict a local area
12 off-the-shelf equipment. It's computers and hard               12 network environment with local clients?
13 disks and Ethernet switch and computers at the other           13 A Well, the personal computers shown there are
14 side. So this was not -- we discussed how to put               14 on a local area network. The ones where the nodes
15 them together and all agreed that this is how we      10:37:58 15 were indicated.                            10:40:45
16 would need to do it in order to achieve our goal.              16 Q So the nodes here represent personal
17 But the individual pieces are off-the-shelf                    17 computers; is that right?
18 components.                                                    18 A I think node is a term which -- it's the
19 Q Okay. And, you know, I want to take a look                   19 device -- nodes to me represent connections, the
20 at the bottom of page -- PDF page 3 here, the last 10:38:12 20 connection points. They happen to be parts of a          10:41:11
21 paragraph. It says:                                            21 computer, an interface that the computer has to
22         "Figure 1 (next page) shows the                        22 create that node.
23      server cluster architecture, which can                    23      So I wouldn't -- the computer itself is not
24      harness the resources of many nodes                       24 the node. I think the fact that it has a connection
25      and many disk drives per node               10:38:26      25 at that point makes -- creates a node as kind of an 10:41:31
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 1 entryway to that network.                                          1 shown in Figure 1 transmit data packets over a wide
 2 Q I want to take a look at the bottom                              2 area network; is that correct?
 3 paragraph, the left column of PDF page 4. The last                 3 A Well, they first go over a local area network
 4 sentence says:                                                     4 into the switch, and then the switch multiplexes
 5         "VBR streams enhance the                  10:41:54         5 them all together and puts them onto the line that 10:44:55
 6      rendering quality, but they generate                          6 goes to the wide area network, as shown at the top
 7      bursty traffic on a packet-switched                           7 through fast Ethernet or Gigabit Ethernet.
 8      network such as the Internet. In                              8 Q Sure. So let me correct that here.
 9      turn, this can easily lead to packet                          9      So nodes communicate with the Ethernet switch
10      loss due to congestion."                  10:42:04           10 over a local area network, correct?                10:45:09
11      Do you see that?                                             11 A Correct.
12 A Yes.                                                            12 Q And these nodes send data packets to the
13 Q Your publication here teaches that the                          13 internet switch; is that correct?
14 Internet is a packet network, correct?                            14 A Yes. In this architecture, yes.
15 A Yes.                                    10:42:14                15 Q And in this architecture, the Ethernet switch 10:45:21
16 Q Looking at the last sentence of the next                        16 connects to the -- or communicates over the internet
17 paragraph, it says:                                               17 and sends data packets over the internet; is that
18         "To avoid traffic bottlenecks,                            18 correct?
19      each node transmits the data blocks                          19 A Right. Where it says "internet backbone
20      that it holds directly to the clients       10:42:29         20 routers," those are -- exist -- there's a connection 10:45:39
21      via RTP. Hence, each client will                             21 in USC's IT building and that's -- so if we went
22      receive RTP data packets from each                           22 from there to that router, then that router then has
23      server node within the cluster."                             23 a direct line to the wide area internet. In this
24      Do you see that?                                             24 case, it was Internet2. Not the general internet,
25 A I do.                                  10:42:41                 25 but a similar type of network.                   10:45:58
                                                           Page 66                                                             Page 68

 1 Q What is RTP?                                                 1 Q Okay. I want to introduce Exhibit 5 here.
 2 A I think it's retransmission protocol. It's a                 2 Give me one second.
 3 type of protocol that enables error correction. In             3      Okay, I just uploaded Exhibit 5 and marked it
 4 case there are lost packets, they are re-requested             4 as Exhibit 5. Let me know when you see it.
 5 before they're stitched back together to avoid       10:43:00 5 A I see it.                             10:46:21
 6 dropouts.                                                      6      (Exhibit 5 was marked for identification
 7      This was one of the big things we had to                  7 electronically and is attached hereto.)
 8 worry about. You don't want audio dropouts. It                 8 BY MR. PAK:
 9 does not make for a high-quality experience.                   9 Q Do you recognize this document?
10 Q Is RTP a type of internet protocol?              10:43:12   10 A Yes. It's one of my patents.                 10:46:33
11 A No. I would say UDP is an internet protocol,                11 Q So you're a co-inventor of this patent,
12 User Datagram Protocol, UDP is a type of internet             12 correct?
13 protocol. And you can enable, if you will, or                 13 A Yes.
14 include in it a method like RTP that provides for             14 Q And the patent number is 8,705,764, right?
15 the ability to correct errors that happen because of 10:43:43 15 A Yes.                                 10:46:47
16 lost packets.                                                 16 Q At a high level, what does this patent
17 Q Does UDP require data to be transmitted or                  17 generally disclose?
18 received in the form of data packets?                         18      MR. KAPLAN: Object to form.
19 A Yes.                                                        19      THE WITNESS: We were trying to solve a
20 Q So does RTP, right?                         10:43:59        20 problem that happens when you take audio -- you         10:47:05
21 A RTP is -- it's not a transmission -- it's not               21 start with analog audio and then you digitize it
22 the same. Yes, RTP operates on packets to figure --           22 into a high quality digital form. And then in order
23 and requests retransmission of ones that are missing          23 to store it perhaps on a portable device, one of
24 based on what it was expecting, in simple terms.              24 many different data compression algorithms are used.
25 Q Okay. So looking at Figure 1, the nodes            10:44:26 25 MPEG being the most popular, but there are others 10:47:30
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 1 like AAC.                                                                 1 protocols.
 2      The result of that compression is that the                           2      To be clear, the patent is really not about
 3 higher frequencies of sound that were in the                              3 connecting -- it's just saying that the modules that
 4 original tend to be discarded in the name of                              4 we're discussing here that are going to do advanced
 5 bandwidth savings. And so this patent teaches a         10:47:44          5 audio processing don't necessarily have to be in one 10:51:30
 6 method to recreate the lost high frequencies using                        6 device, they can be spread out, distributed. That
 7 information that is in the lower frequencies that                         7 was the point of that paragraph.
 8 did not get discarded.                                                    8 BY MR. PAK:
 9 BY MR. PAK:                                                               9    Q What is the OSI protocol?
10    Q I want to focus on Column 11. It's on PDF         10:48:04          10    A It's a -- the best way to describe it, it's    10:51:48
11 page 21, lines -- lines 55 to 60. It's the last                          11 an attempt at abstracting the individual layers that
12 sentence before the last paragraph.                                      12 are required in a network system all the way from
13      Could you please read those lines for me for                        13 the hardware layer to the firmware to the software
14 the record.                                                              14 that needs to run on top of it, to the physical
15    A Is this the "Various embodiments" paragraph?        10:48:25        15 connections, in a way that provides a more uniform            10:52:16
16    Q The sentence right above it.                                        16 way for people that are trying to send data over
17    A "The connectivity between the modules"? That                        17 these kinds of networks without having to know
18 one?                                                                     18 exactly what type of device was there.
19    Q Yes, that one.                                                      19      So it moves it up to be a more abstract
20    A Okay.                                                               20 representation of the interface of the network. I       10:52:34
21          "The connectivity between the                                   21 believe there are seven layers in it that -- in that
22      modules and/or components within the                                22 stack.
23      modules may be provided using any one                               23    Q Does the data that is transmitted using the
24      of the connectivity methods and media                               24 OSI protocol require data packets, data transmitted
25      that is known in the art, including,         10:48:52               25 in the form of data packets?                       10:53:01
                                                                  Page 70                                                                        Page 72

 1      but not limited to, communications                                   1    A Yes, it's a packet-based system.
 2      over the internet, wired or wireless                                 2    Q Okay. I want to look at Column 9, lines 20
 3      networks using the appropriate                                       3 to 24 of your patent. And I'm just paraphrasing
 4      protocols."                                                          4 here, but it says that the output is characterized
 5    Q So it talks about communications over the         10:49:01           5 by a transfer function.                       10:53:27
 6 internet using the appropriate protocols. What are                        6      Do you see that?
 7 the appropriate protocols communicated over the                           7    A I do.
 8 internet?                                                                 8    Q What does the term "characterize" mean?
 9    A It's been a little while since I've seen                             9    A In this context it means that -- so we're
10 this, so just give me a second to take a look and     10:49:18           10 talking about a system. A system has inputs and           10:53:43
11 put it in context.                                                       11 outputs. And typically when you do system analysis,
12    Q Sure. Go ahead, take your time.                                     12 you want to find a way to describe the output in
13    A Yeah. Okay. It's all coming back.                                   13 terms of the input signal.
14    Q Okay. So let me re-ask the question here.                           14      And so the transfer function in this context
15      What are the appropriate protocols to          10:50:17             15 says that if I have -- if I know what the amplitude      10:53:58
16 communicate over the internet?                                           16 level was to this box and I know what the transfer
17    A It's what we talked about before. If it's                           17 function is, then I can tell you what the output is.
18 the internet as we have it today, it's TCPIP or                          18    Q Do you know any words or phrases that are
19 peer-to-peer or UDP, as we just saw.                                     19 synonymous with the term "characterize"?
20    Q Are there any other protocols?                10:50:39              20      MR. KAPLAN: Object to form.                       10:54:17
21      MR. KAPLAN: Object to form.                                         21      THE WITNESS: I'm trying to think of it in
22      THE WITNESS: There are others. There's --                           22 this context, and not just generally.
23 let's see. OSI is another one, Open System                               23      What it really means here is mathematically
24 Interfaces. There are probably others I'm not                            24 described. Because we're talking about this
25 remembering. There are a number of these internet        10:51:11    25 equation here. That would be the closest I can               10:54:41
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 1 think of.                                                               1 Q Okay. Let me try to introduce another
 2 BY MR. PAK:                                                             2 exhibit here.
 3   Q Can you think of any other words or phrases                         3      I just uploaded a new exhibit and marked it
 4 that are synonymous with "characterize"?                                4 as Exhibit 6. Let me know when you see it.
 5   A Not off the top of my head, no.               10:54:53              5 A I see it.                            10:58:25
 6   Q But "describe" would be one of the terms that                       6      (Exhibit 6 was marked for identification
 7 is synonymous with "characterize," right?                               7 electronically and is attached hereto.)
 8      MR. KAPLAN: Object to form.                                        8 BY MR. PAK:
 9      THE WITNESS: Yeah, but I don't want to -- in                       9 Q Do you recognize this document?
10 math we say mathematically described, so I would be       10:55:11     10 A Yes, it is another one of my publications.         10:58:35
11 more comfortable keeping it that way.                                  11 Q The title of the publication is "High Quality
12 BY MR. PAK:                                                            12 Multichannel Audio Over the Internet," right?
13   Q What about defined?                                                13 A Yes.
14      MR. KAPLAN: Object to form.                                       14 Q What was your contribution to this
15      THE WITNESS: Defined has a different meaning 10:55:24             15 publication?                             10:58:51
16 to me. A definition in math or applied math means                      16 A These are two students in the center. One of
17 that you're making some assumptions and defining                       17 them was in my group and the other one was in the
18 them. But that's not what is happening here.                           18 networking group. And this was a paper that --
19      This is a -- an equation that has certain                         19 similar to the previous one, it was trying to figure
20 elements. And so the system is characterized by        10:55:47        20 out ways to transmit high quality audio over the       10:59:09
21 this transfer function. So I think describe                            21 internet.
22 mathematically is more accurate.                                       22      And the reason that it was an interesting
23 BY MR. PAK:                                                            23 topic was that it was really not possible to
24   Q What if I say -- what if we change "the                            24 transmit high quality audio over the internet, at
25 output is characterized by a transfer function" to    10:56:04         25 least not in the early days. And so this paper       10:59:23
                                                                Page 74                                                           Page 76

 1 "the output is represented by a transfer function,"              1 shows some ways of doing that.
 2 would that be accurate?                                          2 Q Let's take a look at the abstract. The
 3       MR. KAPLAN: Object to form.                                3 second sentence here says:
 4       THE WITNESS: I don't think so because                      4          "We present a robust scalable
 5 "represented" to me means it's not the thing, but      10:56:23 5        architecture for delivering           10:59:44
 6 it's being represented by something else. And                    6       uncompressed multichannel audio over
 7 that's not technically correct here. This H                      7       high bandwidth ATM networks."
 8 function is the function.                                        8       Do you see that?
 9 BY MR. PAK:                                                      9 A I do.
10 Q What if you say "the output indicates a            10:56:42 10 Q Is an ATM network a type of data network?             10:59:54
11 transfer function," would that be incorrect?                    11 A Yes.
12 A No. That would be something completely                        12 Q Is that because an ATM network carries data?
13 different and it would indicate that there might be             13 A Actually, I should revise it.
14 an output or something, but that's not -- this is a             14       ATM network is a -- is a protocol for
15 deterministic system, and so no.                  10:57:00      15 transmitting data over data networks. It stands for 11:00:10
16 Q Well, looking at the equation here, the                       16 Asynchronous Transfer Mode, so it's a method of
17 output Y equals the transfer function times the                 17 transmitting data over networks, over data networks.
18 sinusoid input, S-I-N-U-S-O-I-D.                                18 Q So an ATM network is not an actual network,
19       So the output function here indicates the                 19 it's a protocol; is that right?
20 transfer function and the sinusoid input, right?      10:57:35 20 A Right. There's a -- there's a network           11:00:29
21 A No.                                                           21 architecture that has connectors and switches and
22 Q It provides some kind of indication of it?                    22 things that have to support the ATM protocol in
23 A No, no. This is a way to calculate the                        23 order to have an ATM network of devices.
24 output function. So it is calculated by multiplying             24 Q Okay. Looking at the abstract, it says:
25 the transfer function with the complex sinusoid.       10:57:53 25          "Performance results from our         11:00:52
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 1      implementation on a high-speed local                              1 screens, do this, change that, let's try this
 2      area ATM network are presented that                               2 exercise. And so it's hard to break it up into an
 3      identify the effects of audio packet                              3 individual.
 4      size, buffering, and network latency                              4 BY MR. PAK:
 5      on the quality of multichannel program            11:01:05        5 Q Yeah, understood.                           11:04:04
 6      material."                                                        6      So how about maybe -- let's take a look at
 7      Do you see that?                                                  7 the last page, PDF page 6, and there's an
 8    A I do.                                                             8 acknowledgment section. It says:
 9    Q So is a high-speed local area ATM network a                       9          "The authors would like to thank
10 network protocol or a data network?                 11:01:16          10      Dr. Sherali Zeadally" --                 11:04:18
11    A No. This is -- this sentence is kind of                          11      I might be botching that name.
12 conflating to me. It's a local area network running                   12 A No, that's all right.
13 the ATM protocol for purposes of this experiment.                     13 Q So let me read it again.
14    Q Got it.                                                          14          "The authors would like to thank
15    A So it requires different hardware. A TCP           11:01:32      15      Dr. Sherali Zeadally for his work in         11:04:30
16 local area network would require a different                          16      its design and implementation of the
17 hardware than an ATM protocol local network.                          17      ATM network."
18 Sometimes they can be in the same box, but usually                    18      Do you see that?
19 it's different.                                                       19 A I do.
20    Q So your publication here is talking about a        11:01:48      20 Q So Dr. Zeadally is the one who actually            11:04:39
21 local area network that uses the ATM protocol; is                     21 designed and implemented the local area network that
22 that correct?                                                         22 uses the ATM network described in this publication,
23    A Right.                                                           23 correct?
24    Q Did you design and implement the local area                      24 A Well, so he was a collaborator on this. The
25 network that uses this ATM network described in this 11:02:04         25 second author in the paper was a joint student, so 11:04:54
                                                           Page 78                                                                          Page 80

 1 publication?                                                           1 he was -- Mr. Zhu was Dr. Zeadally's student.
 2    A If you look in Figure 1 of the next page,                         2 Dr. Zeadally's lab was doing experiments with ATM
 3 this is a similar simpler diagram than -- compared                     3 networks, and they had the infrastructure that we
 4 to the one that we saw before with the RMI network.                    4 were looking for in terms of switches and the right
 5      So we designed this architecture or this set      11:02:28        5 cables and so on.                            11:05:17
 6 of components that are all off-the-shelf audio                         6      So I think this is kind of -- because he
 7 parts, and you can see the ATM adapter inside the                      7 wasn't part of this particular experiment, he is not
 8 computer that allows you to put out onto the network                   8 a co-author, but we used his lab where he had kind
 9 data that follows the ATM protocol. And then                           9 of a tabletop network for us to experiment with
10 there's the playback application on the top.           11:02:54       10 these protocols.                           11:05:34
11      So, yeah, we designed this architecture, but                     11   Q Okay. I want to take a look at PDF page 3.
12 it consists of computers and switches and wires that                  12 And there's a header 3 that says, "Experimental
13 are off the shelf and software that we put inside it                  13 Results".
14 to do what we -- to run this experiment.                              14   A Yes.
15    Q And when you say that "we designed," are you          11:03:09   15   Q Could you read the first two sentences under           11:05:51
16 saying that you designed the network described in                     16 that header?
17 Figure 1, for example?                                                17   A Yes.
18      MR. KAPLAN: Object to the form.                                  18         "In order to assess the effects
19      THE WITNESS: The way collaborative papers                        19      of packet size and buffer size on the
20 work is this is a group, you know, we have group          11:03:31    20      quality of the audio streams                11:06:01
21 meetings. We designed the experiment and then have                    21      transmitted through the network, as
22 regular kind of intervals of meeting and discussing.                  22      well as on the delay introduced by the
23      So if you're asking who designed each                            23      system, we performed a series of
24 individual part, it's hard to say because we had                      24      tests."
25 joint code sessions where we all sat in front of the 11:03:53       25        The next one as well?                      11:06:13
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 1    Q You know, that's fine.                                               1 Science Foundation.
 2    A Okay.                                                                2       It's related to an experiment that we did
 3    Q So this publication discloses a system                               3 with the New World Symphony based in Miami. And it
 4 architecture in which data packets are transmitted                        4 was similar to the RMI experiment trying to --
 5 over a local area network that uses the ATM              11:06:25         5 trying to deliver high-quality performance that is 11:09:57
 6 protocol; is that correct?                                                6 convincing you to feel like you're in the concert
 7    A Well, this publication was not intended to                           7 hall with them, even though you are 3,000 to 4,000
 8 disclose the architecture. It was more intended to                        8 miles away.
 9 use the architecture to experiment with what needs                        9       We actually demonstrated this live to an
10 to be changed or fixed or, you know, what matters in 11:06:39            10 audience of several hundred people. It was the          11:10:10
11 high-quality audio transmission over a network that                      11 first time that it had ever been done at that scale.
12 has the bandwidth and the architecture that could                        12 BY MR. PAK:
13 enable it. We just didn't know what the right                            13 Q This publication talks about HYDRA. It's
14 architecture was for transmitting audio in terms of                      14 abbreviation for high resolution live streaming.
15 the buffer size and packet sizes, and so on.          11:06:56           15 What is HYDRA?                                  11:10:26
16      So it was more of an experimental paper that                        16 A So HYDRA was -- Professor Zimmerman that you
17 uses a network architecture based on the ATM system                      17 see there at the top, his laboratory and his
18 that was kind of local to us there so we could                           18 research group was experimenting with using similar
19 change things in it.                                                     19 things that we talked about before using the UDP
20    Q All right. So the publication describes a        11:07:09           20 protocol with error correction to deliver            11:10:52
21 local area network that uses the ATM protocol to                         21 high-quality content and overcome the problems that
22 transmit data packets, right?                                            22 normally arise with traditional ways of doing that,
23      MR. KAPLAN: Object to form.                                         23 for example, TCP, which were not designed for
24      THE WITNESS: The publication describes an                           24 streaming media. They were designed for offline --
25 experiment that was conducted on the system we just         11:07:24     25 it's okay if you can wait a second before you get       11:11:13
                                                                  Page 82                                                                   Page 84

 1 described.                                                                1 your e-mail, but you can't wait to get the next
 2 BY MR. PAK:                                                               2 audio packet, right? So that's what HYDRA is. It
 3    Q Can you send data over a local area network                          3 was trying to do that.
 4 using the ATM protocol in the form of data that is                        4   Q Okay. And I want to take a look at the
 5 not a data packet?                           11:07:51                     5 second section, the Statement of Project Goals. And 11:11:27
 6    A No. The ATM protocol is a packet-based                               6 in the middle of that section, the publication says:
 7 protocol.                                                                 7         "This project focuses on the
 8    Q Okay. I want to introduce another exhibit                            8      design of a system that enables HD
 9 here, so just give me a minute.                                           9      quality video and multiple channels of
10      Okay. I just introduced Exhibit 7. Let me        11:08:45           10      audio to be streamed across an               11:11:43
11 know when you see it.                                                    11      IP-based network with commodity
12    A I see it.                                                           12      equipment."
13      (Exhibit 7 was marked for identification                            13      Do you see that?
14    electronically and is attached hereto.)                               14   A Sorry. The middle section -- I missed where
15 BY MR. PAK:                                   11:08:51                   15 you pointed.                             11:11:52
16    Q Do you recognize this document?                                     16   Q Yeah. So in the middle of Section 2,
17    A Yes.                                                                17 Statement of Project Goals --
18    Q At a high level, what does this publication                         18   A Oh, yes. I see it.
19 describe?                                                                19   Q Okay. What is an IP-based network as
20      MR. KAPLAN: Object to form.                      11:08:58           20 described in this publication?                 11:12:06
21      THE WITNESS: I don't know if this was an                            21   A It's an internet protocol based network,
22 actual publication. This was more of an internal --                      22 which is kind of a very common type of protocol for
23 more kind of like a white paper. I don't remember                        23 transmitting data over the internet.
24 the origin of it. It could be part of a report that                      24   Q Okay. And the second page here, Section 4,
25 was presented to the annual review by the National         11:09:14    25 the second to last paragraph -- second sentence --       11:12:30
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 1 second to last sentence in the first paragraph, it               1 Q This is another one of your publications,
 2 says:                                                            2 correct?
 3         "The transmission subsystem uses                         3 A Yes.
 4      the Realtime Transport Protocol, RTP,                       4 Q What does this publication describe?
 5      on top of the Universal Datagram              11:12:45      5      MR. KAPLAN: Object to form.                    11:15:51
 6      Protocol, UDP."                                             6      THE WITNESS: This is another one of the same
 7      Do you see that?                                            7 kind of sequence of experiments we've been
 8 A Yes.                                                           8 discussing, which is high fidelity picture and sound
 9 Q So this publication is talking about an                        9 transmitted in a synchronized way over the Internet2
10 IP-based network that uses UDP; is that right?         11:12:55 10 in this case. This particular one was trying to     11:16:08
11 A That's right. Those are subsets of an                         11 understand what happens when you have an interactive
12 IP-type network, just as TCP is.                                12 section.
13 Q I want to take a look at the system                           13      So it's one way to stream in one direction to
14 architecture shown on Figure 1 of that page.                    14 an audience far away. It's another way when you
15 A Yes.                                  11:13:14                15 need to have two-way communication. Because in this 11:16:27
16 Q Do you see the stream transmitter/receiver in                 16 example, we had two musicians and they are supposed
17 the figure?                                                     17 to play a piano piece together, each on their own
18 A Yes.                                                          18 piano. And musicians require, of course, very
19 Q What does the stream transmitter/receiver do?                 19 accurate timing between them in order to perform.
20 A That's -- that's a piece of software that's 11:13:25          20      So by adjusting -- artificially adjusting the 11:16:44
21 kind of like the core of the HYDRA system. It takes             21 delay between the two of them is what -- how they
22 in multiple channels of microphones in this example             22 would hear the other side. And we were looking for
23 of a live recording, multiple cameras, and kind of              23 what the limits are of human performance over
24 packages them together to send over the network by              24 networks.
25 paying attention to things that we talked about       11:14:03 25 ////
                                                           Page 86                                                             Page 88

 1 before, error correction and other things.                     1 BY MR. PAK:
 2 Q What is the form of data that is transmitted                 2 Q I want to take a look at the first paragraph
 3 or received over the IP-based network disclosed in             3 on the right column of page 1. After the first
 4 this system architecture?                                      4 sentence, it says:
 5 A Well, it's what it says on the line above RTP 11:14:19 5               "Network latency is an
 6 over UDP.                                                      6      unavoidable fact of interaction
 7 Q Right. So this system architecture is                        7      environments over the Internet."
 8 designed to transmit or receive data packets, right?           8      Do you see that?
 9 A Well, it's using an existing network that is                 9 A Yes.
10 based on data packets.                      11:14:38          10 Q What is network latency?                      11:17:22
11      So we had to take the data that is coming in             11 A It's the amount of time it takes for
12 in different forms, audio and video, and convert it           12 information that was sent from one side of the
13 to match what the network expects, in this case,              13 network and how long it takes to be received at the
14 data packets.                                                 14 other side. It is not instantaneous and it depends
15 Q Okay. I want to introduce another exhibit          11:14:53 15 on distance usually. That's what we call latency. 11:17:39
16 here. Just give me one minute.                                16 Q Why is network latency an unavoidable fact of
17      Okay, I just uploaded a new exhibit and                  17 the interaction environments over the internet?
18 marked it as Exhibit 8.                                       18 A Because of the protocols that are in place
19      (Exhibit 8 was marked for identification                 19 that have been created to ensure, for example, that
20 electronically and is attached hereto.)          11:15:27     20 data isn't lost. Sometimes that takes longer to     11:18:04
21 BY MR. PAK:                                                   21 make sure that it's all collected before it's
22 Q Let me know when you see it.                                22 presented to the other side. That's one reason.
23 A I see it.                                                   23      The other reason is every time you go -- it's
24 Q Do you recognize this document?                             24 not a direct connection between two distant places.
25 A Yes.                                 11:15:39               25 You go through switches on the network. And so          11:18:22
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 1 switches also, as they pass the data through,                               1      In this case, because this was an Internet2
 2 introduce delay in order again to avoid -- because                          2 experiment, we had to convert it to the UDP style --
 3 they're doing something to make sure not to lose                            3 the IP-type packet based form so that we could use
 4 anything. So the connection of all these boxes                              4 that network.
 5 introduces some delay.                        11:18:37                      5      And then the opposite procedure happens at        11:21:23
 6      It's not that dissimilar from an analog                                6 the other end. We can't experience packets. We can
 7 network over long distances. Audio doesn't travel                           7 experience picture and sound. So we have to convert
 8 at the speed of light. The longer the cable is --                           8 it back.
 9 it has to be pretty long, but you see delays in                             9 Q So once data is converted from analog to
10 analog circuits as well.                     11:18:53                      10 digital and sent over the internet, that data has to 11:21:35
11 Q When you say "switches" on a network, are you                            11 take the form of packets; is that right?
12 talking about packetized -- packet-based network                           12 A If we're going to use an internet -- existing
13 switches?                                                                  13 internet infrastructure, yes.
14 A In this case we're talking about the                                     14 Q Okay. I want to take a look at Figure 1
15 internet, so that is a packet-based system, yes.     11:19:06              15 shown on PDF page 2.                            11:22:02
16 Q Okay. And the bottom of PDF page 1 under                                 16 A Okay.
17 subsection "Low Latency Audio," it says:                                   17 Q And the top of Figure 1 says:
18          "The challenges in transmitting                                   18          "Data sources produce packetized
19      audio over the internet are packet                                    19      realtime data streams."
20      loss and fluctuations in transmission        11:19:24                 20      Do you see that?                       11:22:16
21      time."                                                                21 A Yes.
22      So, you know, is packet loss, you know,                               22 Q What are the data sources in Figure 1?
23 inevitable in a system that communicates over the                          23 A All kinds of multimedia capturing devices.
24 internet?                                                                  24 Camera, microphones -- cameras, microphones, in this
25      MR. KAPLAN: Object to form.                    11:19:42               25 case haptic sensors.                        11:22:38
                                                                    Page 90                                                                       Page 92

 1      THE WITNESS: Inevitable? There are ways to                             1   Q So data from these data sources are
 2 mitigate it, and trade-offs. So you could make it                           2 first converted to digital form, right, and then
 3 not happen at all. If you were okay incurring more                          3 sent in packets over the internet; is that correct?
 4 latency, just wait longer for everything to arrive.                         4      MR. KAPLAN: Object to form.
 5 But that's the trade-off. So in a realtime system      11:19:59             5      THE WITNESS: Yes. Yes. That's what those             11:23:08
 6 where you don't have the luxury of waiting, they are                        6 little rectangles are trying to indicate, that data
 7 inevitable in that sense, yes.                                              7 has been packetized in realtime using RTP, as it
 8 BY MR. PAK:                                                                 8 says there.
 9    Q Okay. But when we talk about devices that                              9 BY MR. PAK:
10 communicate over the internet, we're talking about        11:20:20         10   Q Okay. You know, I'm going to start                11:23:26
11 devices that send or receive data in the form of                           11 transitioning over to discussing your declaration.
12 data packets, right?                                                       12 So why don't we take a ten-minute break.
13    A Well, in that diagram, the two end devices,                           13      Is that okay?
14 the one at Diagram 1 we were talking about, is                             14   A Sure.
15 that -- I'm sorry. That was in the previous           11:20:38             15      THE VIDEOGRAPHER: Off the record at                   11:23:34
16 example? Yes, it was. Let's see if it's here as                            16 11:23 a.m.
17 well.                                                                      17      (Recess.)
18      The devices that connect to the internet,                             18      THE VIDEOGRAPHER: We are on the record at
19 let's say the computer that connects to the internet                       19 11:36 a.m.
20 on the sending side takes in analog data from the        11:20:53          20 BY MR. PAK:                                   11:36:18
21 real world, converts it first to digital, and then                         21   Q Dr. K., you submitted a declaration on
22 it has to convert it to a form -- you know, if we're                       22 June 1, 2021, for this matter between Sonos and
23 doing this experiment over a different kind of                             23 Google, correct?
24 network, we'd have to convert to whatever that                             24   A Correct.
25 network expected.                            11:21:11                      25   Q You were retained as an expert to offer           11:36:35
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 1 opinions on claim construction related to the                              1 observation purposes.
 2 asserted patents in this case, right?                                      2 BY MR. PAK:
 3 A Yes.                                                                     3 Q Did you consider any other material to
 4 Q When were you contacted to offer your                                    4 prepare your declaration?
 5 opinions for claim construction related to the      11:36:46               5 A Other than what I mentioned, no.                  11:39:51
 6 asserted patents?                                                          6 Q All right. I'd like to introduce your
 7      MR. KAPLAN: Object to form.                                           7 declaration here now as Exhibit 9. I marked it as
 8      THE WITNESS: Specific to claim construction,                          8 Exhibit 9 and uploaded it. So just let me know when
 9 the discussions probably started a month ago, I'm                          9 you see it.
10 guessing.                              11:37:01                           10 A I see it. I just wanted to ask you a            11:40:36
11 BY MR. PAK:                                                               11 question. I have a clean copy of the -- from the 28
12 Q So you were -- were you first contacted to                              12 pages of the part that I wrote on my desk.
13 offer opinions on claim construction in May; is that                      13 Sometimes it's easier to go to a page that way than
14 correct?                                                                  14 it is -- if that's okay with you, I have it right
15      MR. KAPLAN: Object to form.                  11:37:13                15 here. It's not marked. It's just a clean printout. 11:40:49
16      THE WITNESS: Again, I don't have the dates                           16       (Exhibit 9 was marked for identification
17 in my head. It was after I was retained for the                           17 electronically and is attached hereto.)
18 case, obviously, but sounds about right. It could                         18 BY MR. PAK:
19 have been in April.                                                       19 Q Yeah, that's okay.
20 BY MR. PAK:                                 11:37:26                      20       Can you look at the last page of your         11:40:53
21 Q Okay. Were you informed of what each party's                            21 declaration or PDF page 28 of Exhibit 9.
22 construction was at the time?                                             22 A Yes.
23 A At the time -- I was eventually, but not at                             23 Q Is that your signature?
24 the time, no.                                                             24 A It's my electronic signature, yes.
25 Q What did you do to prepare for your              11:37:45               25 Q I forgot to ask you, is this a true and          11:41:17
                                                                   Page 94                                                                       Page 96

 1 declaration?                                                               1 correct -- true and accurate copy of your
 2   A I read the patents. I read through the                                 2 declaration submitted June 1, 2021?
 3 patent office -- office actions. Some of the prior                         3   A Yes, it is.
 4 art. That's basically it. And then used knowledge,                         4   Q Okay. And the opinions set forth in this
 5 my experience in the field to help form my opinions. 11:38:12              5 declaration are yours, correct?                  11:41:32
 6   Q Did you consider the cited references in                               6   A Yes.
 7 the -- did you consider the cited references in the                        7   Q To date, this is the only declaration that
 8 office actions?                                                            8 you submitted in this case, correct?
 9   A Oh, the office actions.                                                9   A That's right.
10      I'm trying to remember. I read through a lot 11:38:36                10   Q Your declaration is as accurate and complete        11:41:42
11 of documents. I don't know if that -- for sure. I                         11 as you could reasonably make it, correct?
12 tried to be as complete as possible. I don't know                         12   A Yes. There's a minor copy and paste problem
13 if I did or not. Probably.                                                13 that happened that I saw last night, but other than
14   Q Do you understand that Sonos's experts,                               14 that, yes.
15 Dr. Almeroth and Dr. Schmidt, submitted declarations 11:38:59             15   Q Okay. And where is that copy and paste             11:42:02
16 on claim construction in this case?                                       16 error?
17   A Yes.                                                                  17   A It's on page 13. Claim terms. Part A is
18   Q Did you read Dr. Almeroth's declaration?                              18 zone configuration and part B should be just group
19   A I did.                                                                19 configuration. But initially I had them both
20   Q Did you read Dr. Schmidt's declaration?            11:39:14           20 together in one table and then I split it up. So B    11:42:26
21   A I believe I did.                                                      21 should be just group. That's it.
22      MR. PAK: And, you know, just for the record,                         22   Q Is that the only error you see in your
23 I just noted Dr. Schmidt is actually on this Zoom                         23 declaration?
24 call. So I just wanted to point that out. I think                         24   A That's all I saw, yes.
25 he joined a little bit late, but he is just here for 11:39:37             25   Q So let's walk through your declaration.           11:42:42
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 1      Section 2, paragraphs 8 through 13, sets                            1 this matter, correct?
 2 forth your qualification as an expert, correct?                          2   A Right.
 3   A Yes.                                                                 3   Q Section 7, paragraphs 37 all the way through
 4   Q And Section 3, paragraphs 14 to 22, sets                             4 the end to paragraph 76, sets forth your analysis
 5 forth your understanding of various legal standards      11:43:00        5 regarding some of the parties' disputed claim        11:45:48
 6 related to claim construction; is that fair?                             6 construction terms in this matter, correct?
 7   A That's correct.                                                      7   A Yes.
 8   Q In reaching your opinions set forth in your                          8   Q And specifically paragraphs 37 to 48 provide
 9 declaration, did you apply the legal standards set                       9 your analysis regarding the terms "zone
10 forth in Section 3?                         11:43:16                    10 configuration" and "group configuration," correct?     11:46:02
11   A Yes. To the best of my ability, I did.                              11   A Correct.
12   Q Okay. Section 4, paragraphs 23 to 29, sets                          12   Q Paragraphs 39 through 53 provide your
13 forth your overview of the asserted patents,                            13 analysis regarding the term "local area network,"
14 correct?                                                                14 correct?
15   A Yes.                                11:43:30                        15   A 39?                               11:46:18
16   Q Subsection A -- in subsection A, you provide                        16   Q Go ahead. Sorry. Let me repeat that.
17 an overview of what you call the direct play                            17      Paragraphs 49 through 53 provide your
18 patents, correct?                                                       18 analysis regarding the term "local area network,"
19   A Yes.                                                                19 correct?
20   Q According to subsection A, the direct play         11:43:50         20   A Yes.                              11:46:38
21 patents share a common specification, correct?                          21   Q And paragraphs 54 to 59 provide your analysis
22   A Yes.                                                                22 regarding the term of "media particular playback
23   Q At subsection B you provide an overview of                          23 system," correct?
24 what you call the zone scene patents, correct?                          24   A Yes.
25   A Right.                              11:44:14                        25   Q Paragraph 60 to 73 provide your analysis         11:46:59
                                                                 Page 98                                                                 Page 100

 1   Q According to this section, the zone scene                            1 regarding the term "data network," correct?
 2 patents include the '206, '966, and '855 patents,                        2 A Correct.
 3 correct?                                                                 3 Q And, lastly, paragraphs 74 to 76 provide your
 4   A Yes. I just want to point out these names                            4 analysis regarding the term "wherein the instruction
 5 were provided to me and I believe they were -- these 11:44:31            5 comprises the instruction," correct?           11:47:18
 6 are the Sonos designations. I'm not a hundred                            6 A Right.
 7 percent that's -- the groupings of the patents were                      7 Q So we just walked through your declaration
 8 provided this way.                                                       8 here. Do you have any other changes besides that
 9   Q When I -- if I refer to certain patents as                           9 copy and paste error that you would like to make to
10 direct play patents or zone scene patents, you         11:44:46         10 your declaration?                        11:47:33
11 understand what I mean by those terms?                                  11 A No.
12   A Yes.                                                                12 Q So how about we jump to paragraph 24. It's
13   Q Okay.                                                               13 on page 9 of your declaration.
14   A I do.                                                               14 A Okay.
15   Q According to subsection B, the '206 patent         11:44:52         15 Q Okay. Paragraph 4 -- paragraph 24 says:           11:47:54
16 specification is substantially the same as the '966                     16        "Each of the zone scene patents
17 and the '855 patent specifications, correct?                            17     originated with U.S. provisional
18   A Yes.                                                                18     application number 60/825,407, which
19   Q Okay. Moving on to section 5, paragraphs 30                         19     was filed on September 12, 2006."
20 to 34, those paragraphs set forth your opinions        11:45:14         20     Do you see that?                     11:48:14
21 regarding the level of ordinary skill in the art,                       21 A Yes.
22 correct?                                                                22 Q Now, let's take a look at paragraph 28 on the
23   A Correct.                                                            23 next page.
24   Q Then Section 6, paragraphs 35 and 36, sets                          24 A I see it.
25 forth your understanding of the asserted claims in      11:45:28        25 Q Actually, if you go to the bottom of page 11, 11:48:33
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 1 it says:                                                                   1 Q Could you please describe how the Bose
 2            "In my experience, at the time                                  2 Lifestyle system operates?
 3        the Zone Scene patents were filed,                                  3 A It has the main -- I guess I would call it a
 4        multi-zone audio systems existed from                               4 processing box where you connect your audio sources.
 5        a variety of manufactures, such as          11:48:45                5 So it acts as a source selector. That box provides 11:52:03
 6        Bose, Crestron, and others."                                        6 outputs that go to amplifiers in it as well and
 7        Do you see that?                                                    7 provides outputs that interconnect the loudspeakers.
 8   A Yes.                                                                   8 In that case I believe it was a 5.1 surround system.
 9   Q Do you know any specific conventional                                  9 And it has an additional -- I don't know what they
10 multi-zone audio systems that existed at the time       11:48:58          10 call it -- breakout box that allows you to extend to 11:52:22
11 the zone scene patents were filed?                                        11 a different room and still be controlled by the main
12   A Are you saying other than the ones I listed                           12 controller. And also it had a remote control.
13 here?                                                                     13 Q How do the loudspeakers interconnecting to
14   Q Well, you've listed manufacturers, right?                             14 that central box communicate with the controller,
15 But do you know any actual product names or model             11:49:11    15 the remote controller?                       11:52:51
16 numbers?                                                                  16 A The remote controller sends signals over a
17   A Oh, product names. Let's see if I can recall                          17 wireless link to the main box, I guess main
18 any.                                                                      18 processor. And then it tells, you know, what each
19        The Bose one I think was called a Lifestyle.                       19 speaker should be playing over the wired
20 I'd have to look it up.                     11:49:28                      20 connections.                              11:53:18
21        Crestron -- Crestron makes hardware and                            21 Q Do the loudspeakers connected to the central
22 software for multi-room installations, whether it's                       22 box communicate with one another?
23 board rooms or homes. I don't know if they have a                         23 A With one another? No. The central processor
24 specific product name. But normally there's others.                       24 decides what to send to each one.
25 A lot of the home theater receiver manufacturers,       11:49:55          25 Q In the Bose Lifestyle system can you              11:53:40
                                                               Page 102                                                                     Page 104

 1 such as Denon -- I know that one because that was                          1 synchronize the loudspeakers to play audio in
 2 the first product that Audyssey went into when we                          2 synchrony?
 3 first started. It was the AVR5805, and many others                         3   A Yes.
 4 after that. They all provide connectors and                                4   Q How does the Bose Lifestyle accomplish that?
 5 mechanism to have multiple zones of audio in your         11:50:19         5   A That's a Bose method inside their own             11:54:05
 6 home.                                                                      6 processor. Let's just say it wouldn't be a very
 7        Initially there was two and eventually more                         7 successful product if they played out of synchrony.
 8 than two, perhaps three or four. Yamaha, Marantz,                          8 It would be a terrible audio system.
 9 Onkyo, many of those had those.                                            9   Q Right. But the loudspeakers don't
10    Q Have you ever used a Bose Lifestyle system?          11:50:40        10 communicate with each other, right? So how do they         11:54:25
11    A I have, yes.                                                         11 coordinate with one another to play audio in
12    Q Do you know -- do you know which Bose                                12 synchrony?
13 Lifestyle system you used?                                                13   A Because the central processor that is
14    A It's been so many years, so I don't remember                         14 deciding what to send, what signal stream to send to
15 the model number.                            11:51:08                     15 each one makes sure that they are transmitted over       11:54:38
16    Q Does the Bose Lifestyle 50, does that ring a                         16 each connection in the required synchrony.
17 bell?                                                                     17   Q When you say "the central processor," you're
18    A Possibly, but I don't remember.                                      18 talking about the central device that interconnects
19        Again, this was one of the situations where                        19 the loudspeakers, correct?
20 we brought it into the testing lab at Audyssey just     11:51:25          20   A Right. That has a processor in it and it's    11:54:58
21 to look at things. So paid less attention to the                          21 responsible for a number of things, simple things
22 model number than what it could do.                                       22 like adjusting volume in response to commands that
23    Q Do you recall how the Bose Lifestyle system                          23 it receives. Perhaps decoding audio formats from
24 operates?                                                                 24 the sources that are coming in. And then
25    A At a high level, sure, yes.               11:51:41                   25 distributing the audio over the interconnect.         11:55:16
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 1    Q So the loudspeakers communicate with the                           1 communicate over a local area network?
 2 central processor, right, but they don't communicate                    2   A Based on what I said this morning, that is a
 3 with one another directly, correct?                                     3 local area network. It's analog data going to --
 4        MR. KAPLAN: Object to form.                                      4 being carried over copper wires to end devices.
 5        THE WITNESS: The loudspeakers receive data         11:55:35      5   Q Okay. And this Bose Lifestyle system was            11:59:06
 6 from the central processor, but they don't                              6 unable to -- incapable of communicating over the
 7 communicate with each other.                                            7 internet; is that right?
 8 BY MR. PAK:                                                             8      MR. KAPLAN: Object to form.
 9    Q Okay. So what -- what cables are required to                       9      THE WITNESS: Because I don't remember the
10 interconnect the loud speakers to the central box or 11:55:57          10 model, I'm not sure if this -- if you could stream     11:59:35
11 the central processor of the Bose Lifestyle system?                    11 to it. It could connect to a number of sources. I
12    A These are provided by Bose. They are copper                       12 just don't recall if one of them could be a wireless
13 cables and they have RCA-type connections at the end                   13 source.
14 of each side of the cable.                                             14 BY MR. PAK:
15    Q Do you know if the Bose Lifestyle system can        11:56:31      15   Q Do you know when you used this Bose Lifestyle 11:59:52
16 communicate over Wi-Fi?                                                16 system?
17    A I'm sure they have models that can. That                          17   A Probably seven or eight years ago.
18 particular one I don't think did.                                      18   Q So sometime in 2013, 2012 you used this Bose
19    Q So the loudspeakers are internet connected to                     19 Lifestyle system?
20 the central processor or central box, right? What      11:56:59        20      MR. KAPLAN: Object to form.                     12:00:13
21 is the form of data that is transmitted between the                    21      THE WITNESS: To the best of my recollection.
22 loud speaker and the central processor?                                22 BY MR. PAK:
23        MR. KAPLAN: Object to form.                                     23   Q Do you know when this Bose Lifestyle system
24        THE WITNESS: It's analog audio data.                            24 was released?
25 ////                                                                   25      MR. KAPLAN: Object to form.                     12:00:23
                                                               Page 106                                                                   Page 108

 1 BY MR. PAK:                                                     1      THE WITNESS: I know that their Lifestyle
 2 Q Does it have to be analog audio data?                         2 series was released well before that. I just -- and
 3      MR. KAPLAN: Object to form.                                3 they have more than one model. So that was probably
 4      THE WITNESS: In general or in that product?                4 current at the time when we looked at it, but I
 5 BY MR. PAK:                                                     5 don't know.                               12:00:42
 6 Q In that product. In that product when a                       6 BY MR. PAK:
 7 loudspeaker communicates to the central processor or            7 Q But this is the model of Bose Lifestyle
 8 the central box, does it send analog data or digital            8 system that included a remote control, you said; is
 9 data?                                                           9 that right?
10 A It sends analog data because the amplifiers 11:57:42 10 A Yes.                                           12:00:50
11 are inside that same box where the processor is. So            11 Q Could you describe what this remote control
12 the output of the amplifier is using analog audio              12 did in the Bose Lifestyle system?
13 signals sent to each speaker.                                  13 A The obvious things. Selecting the source --
14 Q So in that product, in that Bose Lifestyle                   14 again, this is a bit of a long time ago, but I think
15 system, the loudspeakers are not sending data         11:57:59 15 it was change the volume and select the room. I         12:01:14
16 packets to that central processor, correct?                    16 think they call it multi-room in the manual or in
17      MR. KAPLAN: Object to form.                               17 the Bose language. So select which room you want
18 BY MR. PAK:                                                    18 the music to play in or if it was all rooms.
19 Q Sorry. Did you say "correct"?                                19      That's my basic recollection. There might
20 A Yes, correct.                           11:58:17             20 have been other things too, but I just don't         12:01:42
21 Q Okay. Do you know if the Bose Lifestyle                      21 remember.
22 system communicated over a local area network?                 22 Q Do you know what the Bose Lifestyle system
23 A Communicated with what?                                      23 remote control looked like? Like what shape it
24 Q Do you know if the loudspeakers                              24 might have been in?
25 interconnected to the central processor could        11:58:38 25       MR. KAPLAN: Object to form.                     12:02:01
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 1      THE WITNESS: It had a screen -- it had a                               1 today, but basically data networks. It's -- I guess
 2 screen in front of it. It might have been                                   2 in -- at least at USC, I think the -- it's an area
 3 rectangular or oval. I'm stretching my memory.                              3 that is studied called information networks. So I
 4 BY MR. PAK:                                                                 4 think it's just different terminology for data
 5   Q I understand. I know it's 17 years ago. I           12:02:21            5 networks.                                  12:04:42
 6 was just curious.                                                           6    Q Are you using the term "information networks"
 7      I want to move to paragraph 31 of your                                 7 to be synonymous with "data networks"?
 8 declaration. It's talking about the level of                                8    A In this paragraph, yes.
 9 ordinary skill in the art. Could you please read                            9    Q So an information network is any type of
10 paragraph 31 of your declaration.                     12:02:32             10 media that carries data, right?                  12:05:00
11   A Yes.                                                                   11    A Well, I don't know if it's -- like if you go
12           "In my opinion, a person of                                      12 to a network engineer and ask them what an
13      ordinary skill in the art at this time                                13 information network is, that's the answer you would
14      would have had a bachelor's of science                                14 get. This is more of an academic field that I was
15      in electrical engineering, computer              12:02:42             15 referring to just because I know there are courses      12:05:17
16      science or engineering, or a related                                  16 listed that way.
17      field, and two to four years of work                                  17      So I don't know if it's a physical thing. I
18      or research experience in the field of                                18 was just referring to it as a field of study.
19      information networks, data                                            19    Q What does the field of data communications
20      communications or multimedia systems,                12:02:52         20 include?                                  12:05:33
21      or a master's degree and one to two                                   21    A Protocols for communication for exchanging
22      years of experience in the same                                       22 data. Error correction, anything to do with
23      field."                                                               23 handling of data, analog or digital.
24   Q Does that mean a person of ordinary skill in                           24    Q What are multimedia systems?
25 the art can be someone with a master's degree in any 12:03:02    25              A Multimedia systems are generally considered            12:06:01
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 1 field and one to two years of experience in the                             1 processing systems with processing that can handle
 2 fields of information networks, data communications,                        2 multiple types of media, such as pictures, video,
 3 or multimedia systems?                                                      3 audio, voice, text, haptics, all the ones that we
 4   A No. What I meant is a master's degree in the                            4 talked about earlier.
 5 areas that I listed for the bachelor's.              12:03:19               5    Q What about an audio system that only renders           12:06:38
 6   Q Okay. So what you -- what you meant was a                               6 audio, is that a multimedia system?
 7 master's degree in electrical engineering, computer                         7    A An audio system that can't handle anything
 8 science, or engineering, and one to two years of                            8 else?
 9 experience in the fields of information networks,                           9    Q Yes.
10 data communications, or multimedia systems; is that             12:03:34   10    A No. I would say no. Multi in multimedia           12:06:53
11 right?                                                                     11 requires more than one.
12   A Correct.                                                               12    Q So if a person has a -- sorry, I didn't mean
13   Q Okay. So as it is written right now in                                 13 to cut you off.
14 paragraph 31, the way it's written is incorrect,                           14    A I'm fine. I'm done.
15 right?                                    12:03:47                         15    Q If a person has a bachelor's of science in       12:07:06
16      MR. KAPLAN: Object to form.                                           16 electrical engineering and only has experience in
17      THE WITNESS: Well, I don't know if it's                               17 audio systems that only render audio, but not any
18 incorrect. I mean, I didn't want to repeat. I know                         18 other type of media, then that person would not
19 that's probably customary in legal documents, but I                        19 qualify as a person of ordinary skill in the art,
20 thought it was obvious that it was referring to for       12:04:02         20 correct?
21 bachelor's, you get your master's in the same                              21    A No, I don't agree. I think if somebody has
22 fields.                                                                    22 studied multimedia systems as part of their field of
23 BY MR. PAK:                                                                23 study, they have also studied audio and other
24   Q And what are information networks?                                     24 things. So if you have taken courses in multimedia
25   A We've talked about all kinds of examples              12:04:14       25 systems, you certainly have taken courses in just         12:07:49
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 1 audio, similar to the ones that I teach, or just                          1 times. Computer games. More boring ones like
 2 speech like my colleagues teach, or just video, and                       2 PowerPoint presentations with audio or video
 3 also the integration of them. So it comes with                            3 embedded in them. Anything that has more than two
 4 everything.                                                               4 media. Or two or more, I should say.
 5   Q You know Sonos is a speaker company, right?            12:08:00       5   Q Is a multimedia system that can render two or 12:11:11
 6   A Yes.                                                                  6 more types of media other than audio, would that
 7      MR. KAPLAN: Object to form.                                          7 qualify as a multimedia system?
 8 BY MR. PAK:                                                               8   A Sure.
 9   Q So if a person who works at Sonos has a                               9   Q So if a person has experience in implementing
10 bachelor's of science in electrical engineering and     12:08:14         10 and designing multimedia systems that don't render         12:11:38
11 has experience in working on speaker systems that                        11 audio but other types of media, is it your opinion
12 render audio but don't render video or any other                         12 that that person would qualify as a person of
13 type of media, does that person still qualify as a                       13 ordinary skill in the art?
14 person of ordinary skill in the art?                                     14   A I'm sorry. Could you repeat that one more
15   A That's kind of a hypothetical question. I'd       12:08:39           15 time?                                    12:11:50
16 have to meet that person and find out what their                         16   Q Yeah. So if a person has experience in
17 experience was to really answer that. I don't know                       17 implementing or designing a multimedia system that
18 what courses they took or what experience they had                       18 doesn't render audio but renders other types of
19 prior to Sonos.                                                          19 media, is it your opinion that that person would
20   Q What I'm trying to get at here is the word        12:08:47           20 qualify as a person of ordinary skill in the art?    12:12:04
21 "multimedia systems." You know, it seems like in                         21   A My assumption -- what I was trying to say
22 order to have experience in multimedia systems,                          22 here was that this person has studied multimedia
23 right, you need to -- you need a person that studied                     23 systems. Whether they're designing now or not is
24 a systems that render multiple types of media,                           24 different. But if they studied multimedia systems,
25 according to your definition, right?               12:09:16              25 then they certainly studied audio, voice, graphics     12:12:22
                                                                 Page 114                                                                  Page 116

 1   A Right. But not just renders. All aspects --                           1 and text and others, perhaps, depending on the
 2 multimedia systems represent systems that deal with                       2 program. So they've certainly had experience.
 3 the integration, whether it's on the capture side,                        3   Q Okay. So you're assuming that if a person
 4 compression, streaming of these integrated media                          4 has experience in multimedia systems, that person
 5 types.                                 12:09:47                           5 would have experience in other types of media,            12:12:43
 6      But in order to study that, you do have to                           6 whether that's video, audio, or images, that person
 7 study each individual one as well. This is not                            7 would have experience in all of those different
 8 just -- all components have to be studied                                 8 types of media, correct?
 9 individually as well. And I assume somebody with                          9   A Correct. I wouldn't call them "other." I
10 that kind of degree -- just based on the degrees we     12:10:00         10 would call them components of multimedia.                 12:12:56
11 have at USC, I can say that that's for sure the                          11   Q Okay. Let's take a look at paragraph 62 of
12 case.                                                                    12 your declaration.
13   Q What are -- what are some examples of                                13   A Yes.
14 multimedia?                                                              14   Q Would you please read that paragraph for me,
15      MR. KAPLAN: Object to form.                      12:10:15           15 just the first two sentences.                  12:13:28
16 BY MR. PAK:                                                              16   A
17   Q Or let me phrase it differently.                                     17          "Numerous technical dictionaries
18      What types of media -- what are some examples                       18       confirm that data," in quotations,
19 of media types that would be categorized as                              19       "including audio data, can be
20 multimedia?                                12:10:28                      20       represented in both analog," in            12:13:37
21   A Okay. So we're talking about media, not                              21       quotes, "or digital," in quotes,
22 systems, right?                                                          22       "form. Digital data is," quotes,
23   Q Yes.                                                                 23       "data represented in discreet
24   A You know, some obvious ones are television                           24       discontinuous form, as contrasted with
25 programs, picture and sound, and graphics many            12:10:39    25          analog data represented in continuous          12:13:47
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 1      form," end quote.                                        1     format and can be transported or
 2 Q Okay. And then paragraph -- in paragraph 63,                2     streamed over a data network."
 3 the second sentence, it says:                                 3     Do you see that?
 4          "In the generic sense, packets                       4 A I do.
 5      refer to the manner in which data are        12:14:04    5 Q The '206 patent discusses sending and            12:17:43
 6      organized into discreet units for                        6 receiving audio in digital form, correct?
 7      transmission and switching through a                     7 A Yes.
 8      data network."                                           8     MR. KAPLAN: Object to form.
 9      Do you see that?                                         9 BY MR. PAK:
10 A Yes.                                  12:14:12             10 Q Is there anywhere in the '206 patent that        12:17:52
11 Q So data packets are in digital form, correct?              11 discusses sending and receiving audio data in the
12 A Data packets are, yes.                                     12 form of -- let me -- let me rephrase that.
13 Q Can data packets be in analog form?                        13     Is there anywhere in the '206 patent that
14 A Data can be in analog form, but it's not                   14 discusses sending and receiving audio in analog
15 transmitted using packets.                    12:14:37       15 form?                                  12:18:08
16 Q Right. So data packets are not in analog                   16 A That wasn't -- I'd have to go look at it
17 form, correct?                                               17 again. I don't remember every word of the patent.
18 A Correct.                                                   18 The sections that I looked at for my opinion were --
19 Q Are there other discreet discontinuous forms               19 you know, I just looked for those things. So I
20 of data that are not data packets?              12:14:53     20 would have to go look and make sure of the answer. 12:18:26
21 A Yes.                                                       21 Q Sitting here today, you can't recall any
22 Q What are those forms of data?                              22 passages in the '206 patent that discusses sending
23 A A digital audio stream that consists of bits,              23 and receiving audio data in analog form, correct?
24 those are not packets. It's continuous stream of             24     MR. KAPLAN: Object to form.
25 bits or a digital audio stream that we talked about 12:15:17 25 Mischaracterizes testimony.                    12:18:43
                                                       Page 118                                                                      Page 120

 1 before that has been modulated through some                     1       THE WITNESS: Like I said, I don't want to
 2 pre-agreed encoding scheme like pulse code                      2 say I do or I don't because I don't -- I'd have to
 3 modulation. Though those are not -- those are                   3 go read it. It's possible.
 4 digital streams that are not packets.                           4       For example, I know that at Sonos there are
 5 Q In order to stream audio from the internet, 12:15:44          5 Sonos audio products that have analog inputs on the        12:18:55
 6 from an internet media source on a speaker, does                6 back. And so I just don't know if -- I just don't
 7 that streaming audio have to be in the form of                  7 know if there is a section in this patent since I
 8 packets or can it be in a continuous form of data?              8 haven't looked for that specifically.
 9 A If we're talking about the general purpose                    9 BY MR. PAK:
10 internet, you know, it only supports packet        12:16:32    10   Q Would it help if we take a few minutes for          12:19:17
11 protocols. So it would have to be put in that form.            11 you to review the patent and see if you can find any
12 Q I'd like to introduce a new exhibit here. I                  12 passages that discuss sending and receiving audio in
13 uploaded it and marked it as Exhibit 10.                       13 the form of analog data?
14      (Exhibit 10 was marked for identification                 14   A Sure.
15 electronically and is attached hereto.)         12:16:55       15   Q Okay. So how about we do that, take a few            12:19:29
16 BY MR. PAK:                                                    16 minutes.
17 Q Let me know when you see that.                               17   A Okay.
18 A I see it.                                                    18       THE REPORTER: Do you want to go off the
19 Q Do you recognize this document?                              19 record or not?
20 A Yes. It's the '206 patent.                12:17:06           20       MR. KAPLAN: No.                           12:19:46
21 Q I want to take a look at Column 4. It's on                   21       THE WITNESS: By doing a quick search, I
22 PDF page 16 and line 36. It says:                              22 could find -- I could keep looking -- Column 4, line
23          "As used herein, unless                               23 65:
24      explicitly stated otherwise, an audio                     24          "The device 112 is configured to
25      source or audio sources are in digital     12:17:32       25       receive an analog audio source, e.g.,          12:20:23
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 1      for broadcasting."                                   1 and 10. Without reading them directly, it talks
 2      The audio sources -- Column 5 -- I'm just            2 about the ability to handle analog signals, whether
 3 reading from line 65 onward. The last line there          3 it's processing them from inputs and then converting
 4 says:                                                     4 them to digital to share with other devices on a
 5         "The analog audio sources can be        12:20:45  5 network. And then line 9 on the same column:           12:23:21
 6      converted to digital audio sources."                 6          "The audio amplifier is typically
 7 BY MR. PAK:                                               7       an analog circuit, but powers the
 8 Q Right. And then the next sentence says:                 8       provided analog audio signals to drive
 9         "In accordance with the present                   9       one or more speakers."
10      invention, the audio source may be         12:20:58 10 Q So those sentences that you point out, you          12:23:43
11      shared among the devices on network                 11 know, on Column 6 of the patent talk about
12      108."                                               12 processing analog signals, but when that signal is
13      Do you see that?                                    13 actually sent or received over the network, it talks
14 A I do.                                                  14 about producing digital signals. So it's talking
15 Q So let's go back to paragraph 4 -- column 4, 12:21:07 15 about converting the analog signals to digital        12:23:56
16 line 50. Could you please read that paragraph for        16 signals to communicate over the network, correct?
17 me.                                                      17 A Yes.
18 A                                                        18       MR. KAPLAN: Object to form.
19         "The network 108 may be a wired                  19       THE WITNESS: Yes. I was just responding to
20      network, a wireless network, or a         12:21:22  20 your question as to whether there is any mention of 12:24:06
21      combination of both."                               21 analog in this. Clearly the patent talks about
22 Q You can keep going.                                    22 products that could handle connections to analog
23 A                                                        23 input signals.
24         "In one example, all devices,                    24 BY MR. PAK:
25      including the zone players 102, 104,       12:21:32 25 Q Right. But does this patent talk about           12:24:17
                                                               Page 122                                                           Page 124

 1      and 106, are coupled to the network by                              1 sending analog data over the network, such as
 2      wireless means, based on an industry                                2 network 108 described in the patent?
 3      standard such as IEEE 802.11.                                       3 A I think it does indirectly. Because in line
 4         "Another example --                                              4 50 that you read before, the network may be a wired
 5   Q You can stop there.                      12:21:47                    5 network. It doesn't say that that needs to be      12:24:47
 6      As the patent describes, network 108 is                             6 digital. It could be analog.
 7 talking about an internet-based network that uses                        7 Q Well, you know, let's go back to Column 4,
 8 industry standards such as the IEEE 802.11 standard,                     8 line 36. It says:
 9 correct?                                                                 9           "As used herein, unless
10      MR. KAPLAN: Objection. Mischaracterizes the 12:22:04               10       explicitly stated otherwise, when an       12:25:03
11 document.                                                               11       audio source or audio sources are in
12      THE WITNESS: I don't -- I wouldn't call this                       12       digital format, they can be
13 internet based. This just tells me how the                              13       transported or streamed over a data
14 components are communicating, which is a wireless --                    14       network."
15 standard 802.11 wireless.                      12:22:19                 15       Right? So in line -- line 50 when it says   12:25:14
16 BY MR. PAK:                                                             16 "The network 108 may be a wired network or a
17   Q And the 802.11 standard requires data to be                         17 wireless network, or a combination of both," it's
18 transmitted or received in digital format, correct?                     18 talking about sending data in digital format, right?
19   A Correct.                                                            19 Unless it's stated otherwise, you have to assume
20   Q And that data transmitted over 802.11             12:22:33          20 that you're sending or receiving data in digital     12:25:30
21 standard requires data to be transmitted and                            21 format, correct?
22 received in the form of data packets, correct?                          22       MR. KAPLAN: Objection. Mischaracterizes the
23   A Correct.                                                            23 document.
24      Referring back to your analog question, I'm                        24       THE WITNESS: I don't know. It's hard --
25 just seeing more sections here. Column 6, line 3        12:22:59        25 it's like the paragraph here, maybe. I'm not       12:25:45
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 1 certain about that.                                                  1 switch telephone network and send audio data to
 2 BY MR. PAK:                                                          2 render that audio data on one of those speakers?
 3 Q Sure. Let me ask you this way.                                     3   A Oh, yeah, absolutely. Speaker phones, right?
 4      So in line 50 in Column 4, it says:                             4   Q Do the patents disclose speaker phones?
 5         "The network 108 may be a wired           12:25:55           5   A I was just giving you an example of what you          12:29:08
 6      network or a wireless network or a                              6 could connect. You can connect any kind of
 7      combination of both."                                           7 transducer because what you're getting out is an
 8      Right?                                                          8 audio signal. So if you send it to a loudspeaker,
 9 A Yes.                                                               9 it will play, and the loudspeaker can be any kind of
10 Q Does that sentence mention analog?                12:26:02        10 form.                                    12:29:29
11 A No.                                                               11   Q Does the '206 patent discuss sending or
12 Q Okay. Let's take a look at paragraph 64 of                        12 receiving data over a public switch telephone
13 your declaration. So back to Exhibit 9. It's PDF                    13 network?
14 page -- PDF page 23.                                                14   A Well, as I say, it talks about sending and
15      And in the middle of that paragraph, it says: 12:26:43         15 receiving it over networks in general and it doesn't 12:29:42
16         "These networks allowed cellular                            16 exclude that, but it doesn't mention it specifically
17      devices to send and receive data, as                           17 either.
18      Sonos requires, typically in the form                          18   Q Is a speaker phone capable of processing and
19      of voice calls."                                               19 rendering audio data?
20      Do you see that?                      12:26:56                 20   A Yes.                                  12:30:03
21 A Yes.                                                              21   Q Does the '206 patent discuss sending or
22      MR. KAPLAN: I'm sorry. Which paragraph                         22 receiving audio data via RCA cables?
23 again?                                                              23   A The discussion we had before about connecting
24      MR. PAK: Paragraph 64.                                         24 analog sources, and I do know that some of the Sonos
25      MR. KAPLAN: Thank you.                       12:27:08          25 speakers have that in the back, but that connection       12:30:30
                                                            Page 126                                                                    Page 128

 1      THE WITNESS: I see it.                                          1 would typically be an RCA cable. It might also be a
 2 BY MR. PAK:                                                          2 mini jack, a 1/8th inch jack or cable.
 3   Q Does the '206 patent discuss sending or                          3   Q Okay. So let's look at the patent, Column 1,
 4 receiving audio data over a cellular or voice                        4 line 40. Would you please read that first sentence
 5 network?                                12:27:19                     5 for me.                                  12:31:15
 6   A Well, it discusses sending or receiving it                       6   A
 7 over wireless networks. So that would cover all                      7           "Currently one of the systems
 8 kinds of wireless networks in the broadest sense,                    8       that can meet part of such demand is a
 9 right? It doesn't exclude them.                                      9       conventional multizone audio system
10   Q Can you send data over a voice network to        12:27:41       10       that usually includes a number of              12:31:21
11 render audio on a device?                                           11       audio players."
12   A So because you don't have construction of                       12   Q Keep going.
13 what a voice network is, claim construction around                  13   A
14 voice network, I want to know what your definition                  14           "Each of the audio players has
15 is of voice network so I can answer correctly.      12:28:14        15       its own amplifiers and a set of           12:31:28
16   Q Right. So earlier you said a voice network                      16       speakers and typically installed in
17 would be -- like an example would be a telephony                    17       one place, e.g., the room. In order
18 network, like a public switch telephone network,                    18       to play an audio source at one
19 correct?                                                            19       location, the audio source must be
20   A Correct.                            12:28:28                    20       provided locally or from a centralized          12:31:41
21   Q And you wouldn't send or receive audio data                     21       location."
22 over a public switch telephone network, would you?                  22       Keep going?
23   A Why not? Voice is audio data basically,                         23   Q No, that's okay.
24 right? So you kind of are doing that.                               24       Is there anything in this patent that
25   Q Can you have speakers connected to a public       12:28:44     25 distinguishes those type of conventional multi-audio 12:32:07
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 1 systems to what is disclosed in the patent as the                           1      network interface functions by a wired
 2 invention?                                                                  2      means, for example, an Ethernet
 3       MR. KAPLAN: Objection to form.                                        3      cable."
 4 BY MR. PAK:                                                                 4      Do you see that?
 5   Q Let me put it this way. The next paragraph,         12:32:34            5   A Yes.                                12:35:46
 6 can you read the first sentence of that -- of line                          6   Q So the patent discloses that the wired
 7 56.                                                                         7 network can be an Ethernet cable, right?
 8   A                                                                         8   A That's a different network than the one that
 9          "In order to achieve playing                                       9 connects -- this is not for connecting sources.
10       different audio sources in different          12:32:44               10 This is for connecting speakers together to -- could 12:36:07
11       audio players, the traditional                                       11 be wired or wireless. The previous discussion was
12       multizone audio system is generally                                  12 about what kind of sources.
13       either hard wired or controlled by a                                 13   Q Right. So this is talking about the wired
14       preconfigured and preprogrammed                                      14 interface of a zone player, correct?
15       controller."                       12:32:55                          15      MR. KAPLAN: Object to form.                     12:36:36
16   Q Right. So the patent talks about traditional                           16      THE WITNESS: Yes. This is talking about how
17 multizone audio systems being either hardwired or                          17 to connect multiple zone players, in this case,
18 controlled by a preconfigured or preprogrammed                             18 speakers, whether they're wired or wireless. They
19 controller, and it distinguishes those traditional                         19 provide capability for both.
20 multizone audio systems from the -- from the system        12:33:13        20 BY MR. PAK:                                    12:36:54
21 disclosed in the '206 patent as the invention,                             21   Q So let's talk about the zone player. So the
22 right?                                                                     22 zone player has network interface -- so a zone
23       MR. KAPLAN: Object to the form.                                      23 player has a network interface 202, which may
24       THE WITNESS: I mean, that's kind of the                              24 include one or both of the wireless interface 216
25 purpose of writing the background. What you're            12:33:49     25 and a wired interface 217, right?                     12:37:17
                                                                 Page 130                                                                      Page 132

 1 going to say after that is supposed to be better.                           1   A Yes.
 2 BY MR. PAK:                                                                 2   Q Okay. And specifically the wired interface
 3   Q Right. So the disclosed system in the '206                              3 217 provides network interface function by wired
 4 patent that's described as the invention isn't                              4 means, for example, an Ethernet cable, correct?
 5 talking about these hardwired traditional multi-zone 12:34:07               5   A Correct. And this is why I was talking about 12:37:39
 6 audio systems, right?                                                       6 the introduction before. It seems to contradict the
 7       MR. KAPLAN: Object to form.                                           7 benefit because they say that the old systems were
 8       THE WITNESS: Well, it doesn't completely go                           8 all wired and so they're no good. But now they also
 9 away from it because it allows for a wired source,                          9 provide capability for wired. So it's just a
10 an analog wired source to be connected to one of the 12:34:31              10 different type of wire, I suppose.                12:37:55
11 zone players and then be distributed. So it doesn't                        11   Q As you recall, did these traditional
12 completely remove them.                                                    12 multizone audio systems include speakers that were
13 BY MR. PAK:                                                                13 connected via an Ethernet cable?
14   Q Does the patent discuss what the wired source                          14   A No. That's what I'm saying. They were
15 has to be, what form it has to be in?               12:34:49               15 connected by copper RCA cables or speaker cables             12:38:16
16       MR. KAPLAN: Object to form.                                          16 directly.
17       THE WITNESS: It gives examples at the bottom                         17      So this is a different kind of cable, but
18 of Column 4, line 66, broadcasting, which is analog,                       18 still the possibility existed of speakers in
19 compact disk, which could be digital or analog,                            19 different zones or rooms that are connected by
20 depending on what connection you have. Yeah, those             12:35:20    20 wires. Just a different kind of wire.             12:38:31
21 are examples.                                                              21   Q What is the difference between an Ethernet
22 BY MR. PAK:                                                                22 cable and a copper wire such as an RCA cable?
23   Q All right. So let's take a look at Column 5.                           23   A I guess Ethernet cables are also made of
24 And I'm looking at line 33. It says:                                       24 copper, but they have different kinds of endings and
25          "The wired interface 217 provides           12:35:39              25 they have multiple strands in them carrying data.         12:39:06
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 1 So I guess I would consider an Ethernet cable                              1 directly to and from another device, correct?
 2 capable of carrying digital packet data, whereas an                        2      MR. KAPLAN: Object to form.
 3 audio interconnect carries analog audio data.                              3      THE WITNESS: I don't know how else to
 4 Q So an RCA cable carries analog data, whereas                             4 interpret this. It says, "sending and receiving
 5 an Ethernet cable carries digital data packets,      12:39:38              5 from each other." So unless there is something in         12:42:10
 6 correct?                                                                   6 between that is not disclosed, what else could it
 7 A To be totally clear, analog cables -- sorry,                             7 be, right?
 8 RCA cables can also carry digital data. Just not                           8 BY MR. PAK:
 9 packetized.                                                                9    Q Right. So Sonos's construction of the data
10 Q Okay, that makes sense.                       12:39:54                  10 network is broad enough to cover directly or             12:42:19
11     I want to take a look at paragraph 66 of your                         11 indirectly sending and receiving data, correct?
12 declaration.                                                              12      MR. KAPLAN: Object to form.
13 A Yes.                                                                    13      THE WITNESS: Right, that's true. But my
14 Q Let me get to it real quick. The second                                 14 construction, though, was not really focused around
15 sentence of paragraph 66 says:                   12:40:21                 15 the directly part. It was that a data network, as      12:42:43
16         "There are many types of networks                                 16 we've already discussed since this morning, doesn't
17     that do not require a network device                                  17 have to be digital packets.
18     to both send and receive data from                                    18 BY MR. PAK:
19     another device. For example, networks                                 19    Q Right. But let's look at paragraph 66 again.
20     may be configured in a ring such that          12:40:31               20 And it says:                               12:43:00
21     no device both sends and receives data                                21          "For example, networks may be
22     directly to and from another device."                                 22      configured in a ring such that no
23     Do you see that?                                                      23      device both sends and receives data
24 A Yes.                                                                    24      directly to and from another device."
25 Q Okay. So let's take a look at Sonos's            12:40:43               25      Right? But Sonos's construction doesn't say        12:43:11
                                                                  Page 134                                                                    Page 136

 1 proposed construction on page 21 of your                                   1 or doesn't require direct -- directly sending and
 2 declaration. Could you please read Sonos's                                 2 receiving data, right?
 3 construction for data network.                                             3      MR. KAPLAN: Object to form.
 4   A                                                                        4      THE WITNESS: The intent of this sentence
 5          "A medium that interconnects the           12:41:00               5 that I wrote here was that "directly" is kind of a      12:43:38
 6       devices enabling them to send data                                   6 substitution for each other. Because obviously in a
 7       packets to" --                                                       7 network, in a ring network, devices are sending data
 8       I'll start over.                                                     8 and they're receiving data. But it's not a send and
 9          "A medium that interconnects                                      9 receive between two devices. And that's what I
10       devices, enabling them to send digital        12:41:09              10 meant by "directly" here. I didn't imply there was        12:43:54
11       data packets to and receive digital                                 11 nothing in between.
12       data packets from each other."                                      12 BY MR. PAK:
13   Q Does Sonos's proposed construction of data                            13    Q So -- sorry.
14 network require sending and receiving data directly                       14    A No, no.
15 to and from another device?                      12:41:26                 15    Q So in that -- so if a network is configured       12:44:03
16       MR. KAPLAN: Object to form.                                         16 in a ring, you'd agree with me that a device can
17       THE WITNESS: I guess I'm not sure what                              17 both send and receive data to and from each other?
18 "directly" means in this context. We're connecting                        18    A No. Because to and from each other means you
19 two devices.                                                              19 have two devices and they're talking back and forth.
20 BY MR. PAK:                                    12:41:45                   20 And in a ring network, one device will send to the        12:44:27
21   Q So let me ask you this way. Does the word                             21 next. If it has the token, it will -- let's say
22 "directly" appear in Sonos's proposed construction?                       22 it's clockwise orientation and it will send to the
23   A It does not.                                                          23 next one and receive from the one before it. So
24   Q Okay. So Sonos's construction of data                                 24 it's sending and receiving two different devices,
25 network does not require sending and receiving data         12:41:56    25 not a two-way communication.                            12:44:50
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 1   Q What is a token ring network?                                           1   A Yes.
 2   A It's a set of devices connected in a network                            2   Q Let's look at the top right PC. So this top
 3 that is -- as I described, think of a circle with                           3 right PC can receive data from one of these PCs,
 4 multiple points in it. Each of those is a network                           4 correct?
 5 device. The protocol is such that to avoid what          12:45:12           5   A Assuming that the token protocols were               12:48:32
 6 network people call collisions, which is when a                             6 followed, yes.
 7 bunch of data tries to arrive at the same time, to                          7   Q From what devices can this PC receive data
 8 avoid that they use traffic police kind of system                           8 from?
 9 where you can't talk unless you've been told to talk                        9   A From whichever device decided to address the
10 because you have the token. And so data goes around 12:45:36               10 token to that PC.                           12:48:56
11 in circles. It can be clockwise. It can be                                 11   Q So it can be any one of the four other
12 counterclockwise. And sometimes it's a star                                12 devices on this token ring network, correct?
13 configuration where there's a -- literally a central                       13   A It can, although you'll have to -- if it's
14 node and everybody communicates through, or                                14 the one next to or below to the right, it would have
15 sometimes it's a controller. So it's a different       12:45:51            15 to wait a while until it gets there because it has     12:49:19
16 configuration for a network topology.                                      16 to go through all the other ones. But yes.
17   Q I'd like to introduce a new exhibit here. I                            17   Q So can that PC on the top right transmit data
18 uploaded a new exhibit marked as Exhibit 11.                               18 to any of the four other PCs in the token ring
19      Do you see that?                                                      19 network?
20   A Yes. I'm waiting for it to open. I see it.       12:46:21              20   A Again, yes, if it decides it wants to            12:49:36
21      (Exhibit 11 was marked for identification                             21 transmit to one of them and puts that information on
22   electronically and is attached hereto.)                                  22 the token and addresses it to that PC, yes, it can
23 BY MR. PAK:                                                                23 do that.
24   Q Do you recognize this document?                                        24   Q Okay. And I want to go back to your
25   A Yes.                                 12:46:33                          25 declaration now, looking at paragraph 67. On page          12:49:53
                                                                   Page 138                                                                    Page 140

 1 Q This was attached as Appendix L to                           1 24.
 2 Dr. Schmidt's declaration, and you reviewed this               2 A Yes.
 3 document, right?                                               3 Q It says:
 4 A I did, yes.                                                  4         "Various publications also
 5 Q I want to take a look at the last page, PDF 12:46:42 5             confirm that unidirectional data          12:50:08
 6 page 6.                                                        6     networks were well known in the art."
 7       Do you see the token ring network                        7     And you relied on U.S. patent
 8 configuration at the bottom left?                              8 No. 6,081,907.
 9 A I see it.                                                    9     Do you see that?
10 Q So in this token ring network configuration, 12:46:56 10 A I do.                                    12:50:19
11 can a given device send data to or receive data from          11 Q And you would have to go to the electronic
12 another device?                                               12 exhibit, because I want to look at PDF page 157.
13 A Yes, but not from the same device in both                   13 A Okay. That was Exhibit 9?
14 directions.                                                   14 Q Yes, correct.
15 Q Okay. And in the last sentence below that          12:47:17 15     MR. KAPLAN: Which PDF page?                     12:50:51
16 configuration, it says:                                       16     MR. PAK: PDF page 157.
17           "Any PC can grab a passing token                    17     THE WITNESS: I'm looking for an easier way
18       and attach data and the address of                      18 besides scrolling.
19       another PC to it, as each PC in turn                    19     MR. KAPLAN: I don't know that there is.
20       watches for tokens that are addressed       12:47:41    20     THE WITNESS: I'm almost there. Okay.            12:51:30
21       to it."                                                 21     Wait. I'm sorry. Are we talking about the
22       Right?                                                  22 monthly unique users graph?
23 A Yes.                                                        23 BY MR. PAK:
24 Q So you're saying in this configuration --                   24 Q No. Hold on one second. I'm putting it in
25 let's pick one example. There's five PCs, right?    12:48:10 25 the chat right here.                     12:51:56
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 1     MR. KAPLAN: 157 for me is the '907 patent.                 1 BY MR. PAK:
 2     THE WITNESS: Oh, I had 57. Okay.                           2 Q Okay. Let's take a look at Column 3, the
 3 BY MR. PAK:                                                    3 second paragraph. It says:
 4 Q There's a little scroll controls you can --                  4         "The bidirectional data network
 5 A Yeah.                                12:52:13                5     28 represents various types of            12:54:33
 6 Q Yeah.                                                        6     networks, including the internet, a
 7 A Okay. I see it.                                              7     LAN, local area network, a WAN, wide
 8 Q Okay. And this is a copy of the '907 patent                  8     area network, and the like."
 9 provided as an exhibit to your declaration, right?             9     Do you see that?
10 A Yes.                                12:52:36                10 A I do.                              12:54:46
11 Q Okay. And I want to go down to PDF page 165.                11 Q In the next paragraph it says:
12 And I want to focus on the background section of the          12         "The broadcast center 26 receives
13 '907 patent.                                                  13     the data served from the content
14 A Okay.                                                       14     servers 22(l) through 22(K) over the
15 Q Okay. And the first paragraph of the             12:52:58   15     network 28, and broadcasts the data          12:55:02
16 background section says:                                      16     over a broadcast network 30 to the
17        "Conventional computer networks                        17     clients 24(l) through 24(M)."
18     are bidirectional, allowing data                          18     Do you see that?
19     communication in both directions                          19 A I do.
20     between servers and clients.              12:53:08        20 Q Now, if you look at Figure 1 of the '907         12:55:15
21     Transmitting data over these                              21 patent, and it's PDF page 158, you see there's a
22     bidirectional data networks has been a                    22 separate bidirectional data network 28 and a
23     mainstay of computer technology for                       23 broadcast network 30, right?
24     many years and the communication                          24 A 28 and 30, yes, I see it.
25     protocols are well established."           12:53:20       25 Q So you'd agree with me that the bidirectional 12:55:45
                                                      Page 142                                                                  Page 144

 1      Do you see that?                                          1 data network 28 and broadcast network 30 in the '907
 2 A Yes.                                                         2 patent are different networks, right?
 3 Q All right. And the third paragraph in the                    3      MR. KAPLAN: Object to form.
 4 background section, could you actually read that               4      THE WITNESS: That's what is shown in this
 5 paragraph for me.                          12:53:31            5 diagram. They're showing an example that has both       12:56:11
 6 A                                                              6 in there.
 7         "Apart from the classic                                7 BY MR. PAK:
 8      bidirectional data networks, there is                     8    Q As shown in Figure 1, you'd agree that data
 9      an increasing interest in the use of                      9 network 28 is bidirectional, whereas the broadcast
10      broadcast or multicast networks to          12:53:40     10 network 30 is unidirectional, correct?           12:56:24
11      deliver computer data and other                          11    A Yes, that's what is being disclosed.
12      content to clients. These types of                       12    Q Is there anywhere in the '907 patent that
13      distribution networks are                                13 mentions that broadcast network 30 is a data
14      unidirectional in that data flows from                   14 network?
15      the server to the clients, but no        12:53:50        15      MR. KAPLAN: Object to form.                   12:56:43
16      return communication is possible over                    16 BY MR. PAK:
17      the same communication path."                            17    Q And we can take a minute if you need a minute
18      More?                                                    18 to review the patent.
19 Q That's okay.                                                19    A Yeah, let me take a minute.
20      So the '907 patent actually distinguishes the 12:54:03   20      So Column 3, line -- the paragraph that       12:57:30
21 classic bidirectional data network from a                     21 starts at line 33, it says:
22 unidirectional broadcast or multicast network,                22          "The broadcast network 30 can be
23 correct?                                                      23      implemented in a variety of ways. For
24 A Yes.                                                        24      instance, the broadcast network might
25      MR. KAPLAN: Object to form.                   12:54:17   25      be implemented as a wireless network          12:57:55
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 1       configured for one-way transmission,                            1 Q Sure. Take a minute if you need a minute to
 2       i.e., satellite, radio, microwave                               2 review.
 3       et cetera. The broadcast network                                3 A I think it goes back to Column 3, the
 4       might also be a network that supports                           4 paragraph that I was reading before, line 33 --
 5       two-way communication, but is               12:58:08            5 actually, line 36 where it gives examples.         01:00:59
 6       predominantly used for unidirectional                           6 Satellite, radio, and microwave. What we talked
 7       multicasting from the broadcast center                          7 about before, satellite may or may not be data. But
 8       26 to many clients simultaneously."                             8 radio and microwave is -- may not be data packet,
 9 Q So in that sentence, does the patent use the                        9 but radio and microwave are most likely not packet
10 word "data network"?                         12:58:29                10 based. So it's certainly possible the way they      01:01:25
11 A Well, as we've said before several times,                          11 wrote it.
12 wireless networks that transmit data are data                        12 BY MR. PAK:
13 networks. And so it doesn't say data network when                    13 Q Let's take a look at the figures here. And I
14 it talks about ATM or Ethernet or anything else.                     14 want to take a look at Figure 4. Let me see if I
15 These are all data networks.                  12:58:54               15 can find the description for it.              01:01:58
16 Q Why does the patent use the term "data                             16      Actually, let's take a look at Column 5, line
17 network" when it describes data network 28, but                      17 35. The paragraph says:
18 doesn't use the term "data network" when it talks                    18          "Figure 4 shows exemplary steps
19 about broadcast network 30?                                          19      in a method for serving data packets
20       MR. KAPLAN: Object to form.                   12:59:09         20      over the unidirectional network."           01:02:21
21       THE WITNESS: I don't know what they had in                     21      Do you see that?
22 mind in their language to write it that way, but --                  22 A Yes.
23 I don't know. I can't answer why they said it that                   23 Q So Figure 4 is describing a method specific
24 way.                                                                 24 to transmitting data packets over broadcast network
25 ////                                                                 25 30, right?                              01:02:35
                                                             Page 146                                                          Page 148

 1 BY MR. PAK:                                                           1      MR. KAPLAN: Object to form.
 2   Q Let's look at Column 4 of the '907 patent.                        2      THE WITNESS: It's describing a method, but
 3 If you look at line 22 --                                             3 not all the methods, right? Because we talked about
 4   A Yes.                                                              4 other possibilities. In this paragraph it's a
 5   Q It says:                             12:59:45                     5 method, yes.                               01:02:47
 6         "The packet encoder 52                                        6 BY MR. PAK:
 7      encapsulates packets of data with                                7 Q And then Column 6, line 15, it says:
 8      appropriate headers for transmission                             8          "Figure 5 shows the byte-wise
 9      over the data network and broadcast                              9      technique for generating a redundancy
10      network."                           12:59:57                    10      packet from multiple data packets             01:03:25
11      Do you see that?                                                11      within a redundancy group."
12   A Yes.                                                             12      Do you see that?
13   Q So this patent discloses that the                                13 A I'm sorry. I heard it, but I missed which
14 bidirectional data network 28 and the broadcast                      14 paragraph we're in.
15 network 30 both transmit data in the form of data     01:00:12       15 Q Column 6, line 15.                          01:03:37
16 packets, right?                                                      16 A Yes, I see it.
17   A I can indirectly assume that based on this                       17 Q So Column 5 again is describing a certain
18 sentence.                                                            18 technique for generating packets, right? Data
19   Q Do you see any disclosure in the '907 patent                     19 packets?
20 where data that is transmitted over the data network 01:00:33        20      MR. KAPLAN: Object to form.                    01:03:54
21 or the broadcast network is not in the form of data                  21      Do you mean Figure 5?
22 packets?                                                             22 BY MR. PAK:
23      MR. KAPLAN: If you need to review the                           23 Q Yeah, I'm sorry. Let me rephrase.
24 patent, you can.                                                     24      Figure 5 is illustrating a specific technique
25 BY MR. PAK:                                                          25 for generating data in the form of data packets,      01:04:09
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 1 right?                                                         1 possible coexistence.
 2 A In this paragraph it's talking about a                       2      So, no, I don't see any figure -- the figures
 3 specific aspect of it, aspect of the redundancy                3 are focusing on byte patterns and headers and packet
 4 formatter, I think is what they're talking about               4 related stuff. But, again, this was not my purpose
 5 here.                                  01:04:35                5 for quoting this patent.                      01:07:24
 6 Q Right. But, generally speaking, Figure 5 is                  6      MR. PAK: Okay. I want to transition away
 7 talking about data packets, correct? It's talking              7 from discussing data networks and talk about some of
 8 about data in the form of data packets.                        8 the other terms in your declaration. Do you want to
 9       MR. KAPLAN: Object to form.                              9 take another break or just power through it?
10       THE WITNESS: It is. I'm just looking a         01:04:50 10      Why don't we take a break and come back in        01:07:47
11 little further down where it says it's illustrative           11 ten minutes. Is that okay?
12 for example purposes. "Other computations may be              12      THE VIDEOGRAPHER: Does anybody need more
13 used" -- this is line 30 of the same column.                  13 time than that?
14       So there are examples that involve packets, I           14      We can go off the record. We're off the
15 agree with that. But they're also saying there are 01:05:20 15 record at 1:07 p.m.                            01:07:55
16 other ways.                                                   16      (Lunch recess.)
17 BY MR. PAK:                                                   17      THE VIDEOGRAPHER: We are on the record at
18 Q Okay. And then Column 7, second paragraph,                  18 1:43 p.m.
19 it says:                                                      19 BY MR. PAK:
20           "Figure 6 shows an exemplary data         01:05:31 20 Q So far we talked about various examples of 01:43:32
21       structure 110 for data packet formed                    21 data networks and local area networks. And I just
22       by packet encoder 52 and redundancy                     22 want to run by one more example with you to further
23       formatter 54."                                          23 understand what local area network means to a person
24       Do you see that?                                        24 of ordinary skill in the art.
25 A I see it.                              01:05:42             25      So the question here is, if -- if someone     01:43:49
                                                          Page 150                                                             Page 152

 1 Q So we have Figure 4 is also talking about                     1 used two cups on a string to communicate with
 2 data packets, right?                                            2 another person, does that amount to communicating
 3 A Figure 6, you mean?                                           3 over a local area network?
 4 Q I'm sorry. So Figure 6 is also talking about                  4 A I thought we covered this in the morning.
 5 data packets, right?                         01:06:02           5 Q Yeah, we --                                 01:44:01
 6 A Yes, it is. It's showing the structure. If                    6 A I think we talked about it --
 7 you have data packets, this is what they should look            7 Q Yeah, in the context of data network, but we
 8 like.                                                           8 haven't talked about it in the context of a local
 9 Q And the top of column 8, it says:                             9 area network.
10           "Figure 7 shows exemplary steps          01:06:12    10 A I mean, honestly, don't take it personally. 01:44:10
11       in a method for receiving data packets                   11 It's a little bit of a silly example, over a string,
12       transmitted over a unidirectional                        12 but I guess if we -- if we use the definition that a
13       network."                                                13 person would use for networks, this is taking
14       Do you see that?                                         14 acoustic data and converting it to mechanical form
15 A Yes.                                  01:06:20               15 and then -- to transmit, and then converting it back 01:44:40
16 Q So Figure 7 is talking about data packets,                   16 to acoustical at the other end. So in that sense,
17 correct?                                                       17 it is a data network.
18 A Yes.                                                         18       The criteria I use for whether it's a local
19 Q So are there any figures in the '907                         19 area network is you have to have something to
20 patent -- in the '907 patent that doesn't talk about 01:06:32 20 compare it to. So stretching the string out to a 01:45:00
21 data packets?                                                  21 much larger area would produce a wider area string
22       MR. KAPLAN: Object to form.                              22 network, and this would be a local area network. So
23       THE WITNESS: My reference to this patent was             23 I think all those definitions are consistent.
24 not to address the data packet or not issue. It was            24 Q So communicating using a string, two cups on
25 to address unidirectional and bidirectional and       01:06:55 25 a string, would amount to a local area network in 01:45:28
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 1 your opinion?                                                             1      does not resolve the debate relating
 2      MR. KAPLAN: Objection. Mischaracterizes                              2      to the use of the term 'particular.'"
 3 testimony. Asked and answered.                                            3   Q Okay. So I want to take a look at the
 4      THE WITNESS: Local -- the word "local" only                          4 prosecution history of the 615 patent. And just
 5 makes sense if there's something else to compare it        01:45:43       5 give me a minute to introduce the exhibit.         01:48:18
 6 to that is bigger or smaller.                                             6      Okay. So I've just uploaded here an exhibit
 7      And so, as I say, if there's a larger                                7 marked as Exhibit 12.
 8 distance with bigger string, that would be a wide                         8      Do you see that?
 9 area network on a string and then this would be                           9   A Yes.
10 called local if it was a smaller one. But by           01:45:58          10      (Exhibit 12 was marked for identification
11 itself, it's hard to say because you need a                              11   electronically and is attached hereto.)
12 comparison.                                                              12 BY MR. PAK:
13 BY MR. PAK:                                                              13   Q Do you recognize this document?
14   Q Right. So depending on the length of the                             14   A Yes.
15 string that connects the two cups, right, someone         01:46:08       15   Q Okay. So this is Appendix N of Dr. Schmidt's 01:48:56
16 that uses two cups on a string to communicate with                       16 declaration, right?
17 another person, that would amount to communicating                       17   A Yes.
18 over a local area network, correct?                                      18   Q You know, before we get into his response,
19      MR. KAPLAN: Same objections.                                        19 you know, just generally speaking, why do you think
20      THE WITNESS: Well, I guess same answer. It             01:46:24     20 an applicant would amend its claims during           01:49:14
21 depends. There's no -- there's no length of the                          21 prosecution?
22 string that would be -- there's no size of the -- of                     22      MR. KAPLAN: Object to form.
23 an actual LAN that we can say if you go past this,                       23      THE WITNESS: This sounds like a legal
24 you're no longer local area. It's -- as we saw,                          24 question to me.
25 LANs cover from a building to a hotel to a campus to 01:46:44   25               I don't know. Because of an error, because     01:49:40
                                                          Page 154                                                                        Page 156

 1 a wide area complex.                                                      1 of additional facts, a response to the examiner.
 2     Same for this. It's a local area network                              2 Those are some reasons I can think of.
 3 compared to something that is a longer distance, for                      3 BY MR. PAK:
 4 example, but I can't give you a number.                                   4   Q Can you think of any other reasons why an
 5 BY MR. PAK:                                01:47:03                       5 applicant would amend its claims during prosecution? 01:49:57
 6 Q Sure. But if the string is -- so you're                                 6      MR. KAPLAN: Object to form.
 7 saying that depending on the length of the string,                        7      THE WITNESS: No.
 8 communicating using two cups attached to that string                      8 BY MR. PAK:
 9 can either be a local area network or a wide area                         9   Q Well, look at this office action response.
10 network then, correct?                      01:47:18                     10      Do you think the applicant here amended its     01:50:21
11 A Yeah, sure.                                                            11 claims to overcome the cited references?
12 Q Okay. So I want to go on to talk about the                             12   A It's hard for me to speak on behalf of the
13 media particular playback system term. And if you                        13 applicant, the reasons that they had. I can only
14 take a look at paragraph 58 of your declaration. So                      14 speak as to, you know, what I see written here.
15 we're going back to Exhibit 9.                 01:47:39                  15      Is there a specific section you want me to    01:50:51
16 A Yes.                                                                   16 look at?
17 Q Would you please read paragraph 58 for the                             17   Q Yeah, so how about we take a look at the
18 record.                                                                  18 remarks on PDF page 15.
19 A Yes.                                                                   19   A Okay.
20         "I disagree with Dr. Schmidt that       01:47:51                 20   Q All right. Again, the summary of the office      01:51:10
21     a POSITA would understand the media                                  21 action, it says:
22     particular playback system of Claims                                 22         "In the non-final office action
23     3, 15 or 26 to mean media playback                                   23      mailed July 15, 2016, the examiner
24     system. I have reviewed the                                          24      rejected Claims 1, 6 through 10, 15
25     prosecution history, but find that it      01:48:04                  25      through 19, and 21 through 29 under           01:51:22
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 1      pre-AIA 35 U.S.C. Section 1038, as                       1 A I do.
 2      being allegedly unpatentable over                        2 Q Okay. And this is one of the patent
 3      DaCosta in view of Dua."                                 3 publications that was cited in the non-final office
 4      Do you see that?                                         4 action mailed July 25th, 2016. Correct?
 5 A I see it.                            01:51:39               5 A Yes.                                    01:55:06
 6 Q And there are some other, you know, 103                     6 Q Okay. And you reviewed this reference,
 7 rejections with respect to Claims 3, 12 and 20,               7 right?
 8 correct?                                                      8 A As I said, I read through it but mostly
 9 A Yes.                                                        9 looked at the comments. So I didn't review it in
10 Q Okay. And then looking at Section 3, the          01:51:46 10 the same way that I would review an actual patent in 01:55:21
11 response to the 103 rejections, the second sentence          11 this case, but I -- I'm familiar with it.
12 says:                                                        12 Q Sure, that's fair.
13          "For at least the reason that                       13      I want to take a look at paragraph 57, so on
14      cited references do not teach the                       14 PDF page 24. Would you please read the second
15      subject matter currently recited by        01:52:11     15 sentence in paragraph 57.                       01:55:47
16      applicant's claims, the pending 103                     16 A The second sentence?
17      rejections should be withdrawn."                        17 Q Yes.
18      Do you see that?                                        18 A Okay.
19 A I see it.                                                  19         "The term 'media player'
20 Q Okay. And let's take a look at Claim 1 on         01:52:21 20      generally refers to electronic devices        01:56:04
21 PDF page -- PDF page 3.                                      21      that are capable of processing media
22      Do you see that the applicant amended                   22      such as audio, video, images,
23 Claim 1, right?                                              23      presentations, animation, and internet
24 A Is this the paragraph numbered 2?                          24      content, for example, cellular phones,
25 Q I'm taking -- I'm looking at the amendments 01:52:5325             personal digital assistants (PDAs),           01:56:17
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 1 to the claims on PDF page 3.                                  1     music players, game players, video
 2 A Oh, sorry, 3.                                               2     players, cameras and the like."
 3      I see it, yes.                                           3 Q Okay. And I want to skip to paragraph 142
 4 Q Do you think the applicant here amended                     4 now. It's on PDF page 32.
 5 Claim 1 to overcome the cited references?           01:53:05 5 A Yes.                                  01:56:41
 6 A So I probably looked through the cited                      6 Q Would you please read that first sentence on
 7 references, but I don't have them at the tip of my            7 paragraph 142.
 8 tongue at the moment to be able to answer that                8 A Yes.
 9 accurately.                                                   9         "Finally, the device's media
10 Q Okay. Did you review any of the cited             01:53:26 10     processing capabilities 461 are listed      01:56:47
11 references?                                                  11     in the RFID transmission data 450.
12 A I read through them. I wouldn't say that I                 12     This is" --
13 reviewed them in the same way that I reviewed the            13 Q Actually, please keep going. Read the second
14 patents.                                                     14 sentence.
15 Q Okay. So, again, I want to -- how about I         01:53:41 15 A                                    01:56:58
16 introduce one of the cited references and discuss            16         "This information indicates the
17 that. Just give me a minute.                                 17     device's ability to process media
18      I just uploaded an exhibit and marked it as             18     assets that are in specific formats."
19 Exhibit 13.                                                  19 Q Okay. And the patent further discusses some
20      Do you see that?                      01:54:24          20 example media formats, correct?                 01:57:11
21 A Yes.                                                       21 A Correct.
22      (Exhibit 13 was marked for identification               22     MR. KAPLAN: Object to form.
23 electronically and is attached hereto.)                      23     THE WITNESS: It does.
24 BY MR. PAK:                                                  24 BY MR. PAK:
25 Q Do you recognize this document?                  01:54:35 25 Q And looking at paragraph 143, could you            01:57:18
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 1 please read the first sentence.                                             1       THE WITNESS: Well, under audio, they list
 2   A                                                                         2 specific formats for that audio, but not all
 3            "This type of information allows                                 3 possible. So I think "any" might be too broad
 4         media player 100 to only transmit                                   4 because they don't list -- it's hard to say.
 5         media assets which are supported by              01:57:28           5 BY MR. PAK:                                   02:00:11
 6         the target devices."                                                6 Q All right. But Dua discloses a media player
 7   Q Would you please read the second sentence in                            7 that can play different types of multimedia, right?
 8 full.                                                                       8 A Right, different types of audio, different
 9   A Oh, sure.                                                               9 types of video, and graphics.
10            "This information also                 01:57:38                 10 Q Okay. So now let's go back to the office            02:00:32
11         allows either or both of the target                                11 action response, Exhibit 12.
12         device and media player 100 to convert                             12       And I want to take a look at Claim 3. And
13         media assets into supported formats                                13 it's on PDF page 4.
14         before transmission to the other when                              14       Do you see that?
15         required."                            01:57:59                     15 A Yes.                                    02:00:59
16   Q Okay. So based on, you know, these -- this                             16 Q What amendments did the applicant make to
17 disclosure that we -- that I just had you read, do                         17 Claim 3?
18 you agree that Dua disclosed a media player that can                       18       MR. KAPLAN: Object to form.
19 play particular media formats?                                             19       THE WITNESS: I'm sorry, Claim 3, PDF page 4
20   A Yes.                                  01:58:20                         20 starts -- is a half paragraph. No, no, sorry.      02:01:15
21   Q Do you agree that Dua disclosed a media                                21 BY MR. PAK:
22 player that can play particular types of media?                            22 Q Yeah, so Claim 3, you know, starts from PDF
23   A They disclosed a --                                                    23 page 4 and ends at PDF page 5, right?
24         MR. KAPLAN: Object to form.                                        24 A Yes.
25         THE WITNESS: They disclosed a -- the ability 01:58:33              25 Q Okay. So what -- so looking at the                02:01:33
                                                           Page 162                                                                         Page 164

 1 to play back multiple different types of media.                             1 amendments to Claim 3, could you please walk through
 2         I think that's what you're asking, yes?                             2 all the amendments the applicant made in this office
 3 BY MR. PAK:                                                                 3 action response.
 4   Q Right. So just to clarify, so does -- do you                            4      MR. KAPLAN: Objection. The document speaks
 5 agree Dua discloses a media player that can play             01:58:48       5 for itself.                           02:01:50
 6 particular types of media?                                                  6      THE WITNESS: I assume it's the underlined
 7         MR. KAPLAN: Object to form.                                         7 words of the amendment.
 8         THE WITNESS: I guess I'm trying to                                  8 BY MR. PAK:
 9 understand how you're using the word "particular"                           9   Q Yeah. So, you know, I'm not trying to trick
10 here.                                    01:59:13                          10 you here. So the underlined -- the underlined words 02:01:59
11         It's -- they list a number of media by                             11 represent words that were added.
12 example, but it's not clear to me that they're                             12   A Okay.
13 excluding others. So I'm not sure how to answer                            13   Q And the strike -- and the strike through
14 that.                                                                      14 represents terms, phrases that were deleted.
15 BY MR. PAK:                                       01:59:27                 15      So I really just want, you know, to go over     02:02:14
16   Q Yeah, so let me reword this.                                           16 all the amendments. You know, can you walk through
17         Does Dua disclose a media player that can                          17 what amendments were made.
18 play audio?                                                                18   A Sure. So they added the word "particular" in
19   A Yes.                                                                   19 several places. "Particular playback device."
20   Q Does Dua disclose a media player that can                01:59:39      20 "Media particular playback system."                02:02:36
21 play video?                                                                21      And then "wherein the first zone includes the
22   A Yes.                                                                   22 particular playback device."
23   Q So Dua discloses a media player that can play                          23      So all the additions have to do with
24 any particular type of media, right?                                       24 "particular" except for the last one that they
25         MR. KAPLAN: Object to the form.                   01:59:55        25 added, "playing back multimedia content in             02:02:55
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 1 synchrony."                                                               1 amended "media playback system" to "media particular
 2      And then they removed "initiating playback"                          2 playback system"?
 3 in two locations.                                                         3      MR. KAPLAN: Object to form. Scope.
 4   Q Okay. So looking at the amendments to                                 4      THE WITNESS: So are you asking if I had read
 5 Claim 3, do you agree that the applicant added the         02:03:13       5 this without the word "particular" in the amendment, 02:06:05
 6 word "particular" in front of the word "playback"                         6 would I still have the same opinion? Is that --
 7 throughout Claim 3?                                                       7 BY MR. PAK:
 8   A Yes, except for one location, second to the                           8   Q Yeah. So, you know, before this claim was
 9 last line.                                                                9 amended, right, you know, it used the term "media
10      MR. KAPLAN: Object to form.                       02:03:34          10 playback system" instead of "media particular           02:06:19
11      THE WITNESS: Actually in a couple places.                           11 playback system," right?
12 It's not every "playback" that has "particular."                         12   A Right.
13 It's selective. The word "particular" was not added                      13   Q So before Claim 3 was amended to use --
14 in front of every time "playback" appears. Only                          14 amended to use "media particular playback system,"
15 some.                                   02:03:53                         15 would a person of ordinary skill in the art           02:06:35
16 BY MR. PAK:                                                              16 understand Claim 3? That's what I'm trying to ask.
17   Q Well, the word "particular" was -- all right,                        17   A Right. Probably. Although I'm kind of
18 I see.                                                                   18 reforming an opinion by just quickly reading through
19      So where it says "at least one additional                           19 this paragraph, but I'm just reading it as if the
20 playback device," you're saying it doesn't say "at        02:04:02       20 word "particular" isn't there, and it would just be    02:07:13
21 least one additional particular playback device."                        21 "media playback," right?
22 Is that right?                                                           22   Q Right. So if you substituted the "particular
23   A Oh, that wasn't the only -- the second to                            23 playback system" back to "media playback system," a
24 last line of the previous page, where it says                            24 person of ordinary skill in the art would understand
25 "control playback by the playback device," they did         02:04:22    25 Claim 3, correct?                            02:07:29
                                                                  Page 166                                                                  Page 168

 1 not add the word "particular" there.                                      1 A Well, but they didn't have "media playback
 2   Q Is "media playback system" a broader term                             2 system" in Claim 3. It's not like they substituted.
 3 than "media particular playback system"?                                  3 They just added the word "particular" in front of
 4   A That's --                                                             4 "playback," right?
 5      MR. KAPLAN: Object to form.                       02:04:41           5      Am I reading that correctly?              02:07:46
 6      THE WITNESS: That's the part that was                                6 Q Yeah. Well, it says "a media particular
 7 difficult to ascertain. So that is one way to                             7 playback system," right, currently, as amended?
 8 interpret that, that it plays back only particular                        8      Do you see that?
 9 media.                                                                    9      How about you read the first four lines of
10      The other one is that there's all kinds of       02:04:56           10 the claim before you get to the "wherein" clause.     02:08:21
11 playback systems, and I provided an example. It                          11 A Wait, I'm sorry, am I looking at the same
12 plays -- records and plays back other kind of data                       12 paragraph?
13 that is not media. And this would be particular to                       13 Q Yes, it's --
14 media.                                                                   14 A This is the bottom of page 3 in the document,
15      So it can be particular to all kinds of         02:05:08            15 that paragraph, right?                     02:08:35
16 media, particular to one media, or a typographical                       16 Q Right. So let me read -- let me read Claim 3
17 error, as was indicated by Sonos. I couldn't tell                        17 as amended.
18 which of those three -- and there may be others.                         18 A Okay.
19 And that was the reason for my opinion.                                  19 Q It says:
20 BY MR. PAK:                                    02:05:26                  20         "The method of Claim 1 wherein            02:08:40
21   Q Sure. So before Claim 3 was amended in this                          21      detecting the set of inputs to
22 office action response, do you think Claim 3 was                         22      transfer playback from the control
23 indefinite?                                                              23      device to the particular playback
24      So, you know, let me ask it this way. Do you                        24      device comprises detecting a set of
25 think Claim 3 was indefinite before the applicant         02:05:42       25      inputs to transfer playback from the        02:08:52
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 1      control device to a particular zone                               1 of media formats and different types of media?
 2      group of a media particular playback                              2      MR. KAPLAN: Objection. Asked and answered.
 3      system that includes a first zone and                             3      THE WITNESS: Yeah, I don't know the strategy
 4      a second zone."                                                   4 they had in amending the claim.
 5      Do you see that?                       02:09:01                   5 BY MR. PAK:                                    02:12:48
 6 A Yes.                                                                 6   Q But do you agree with me that amending "media
 7 Q Okay. Before that -- before that claim                               7 playback system" to "media particular playback
 8 limitation was written, right, it said "a media                        8 system" would not overcome the teachings of Dua?
 9 playback system," not "a media particular playback                     9      MR. KAPLAN: Object to form.
10 system," correct?                          02:09:18                   10      THE WITNESS: It depends how they conceive -- 02:13:07
11 A Correct.                                                            11 or perceive the word "particular". If they were
12 Q So if we changed "a media particular playback                       12 trying to make this broader than the formats that
13 system" back to "a media playback system," would a                    13 Dua was listing, then maybe that was their strategy.
14 person of ordinary skill in the art understand what                   14 So in their mind, they're trying to say it's
15 Claim 3 means?                               02:09:35                 15 broader.                                02:13:26
16 A The problem is I was assuming your question                         16      But, again, I don't -- I don't know why they
17 meant to remove all "particulars." But you're                         17 used the word "particular".
18 saying just to remove the one?                                        18 BY MR. PAK:
19      I think I can agree that "media playback" is                     19   Q What does it mean to play a particular media
20 more general than "media particular."               02:10:30          20 format?                                 02:13:43
21 Q Right. So you understand this claim -- you                          21   A To play a particular media format? It means
22 understand Claim 3 if it didn't say "media                            22 the system is instructed to start playing that
23 particular playback system" and instead it said                       23 format, that content in that format.
24 "media playback system," correct?                                     24   Q So does Dua disclose a system that's
25 A I would understand it better, yes.              02:11:01            25 instructed to start playing a particular media       02:14:17
                                                              Page 170                                                                  Page 172

 1   Q Do you think the applicant amended "media                          1 format?
 2 playback system" to "media particular playback                         2    A He does. And he lists examples of those
 3 system" to overcome the cited references?                              3 formats.
 4   A I don't know how to answer that. You'd have                        4    Q What does it mean to play a particular type
 5 to ask the applicant.                      02:11:25                    5 of media?                                 02:14:35
 6   Q Well, we talked about the Dua reference,                           6    A Isn't that the same answer -- or the same
 7 right?                                                                 7 question? I'm not sure -- as opposed to the format
 8   A Yes.                                                               8 you mean?
 9   Q And the Dua reference disclosed a media                            9    Q Yeah. So, you know, there's -- you can play
10 player that can play particular media formats,        02:11:33        10 a particular type of media format, right, and that        02:14:55
11 right?                                                                11 would be like an MP3 or 4 and the like, correct?
12   A Right.                                                            12 But you can also play a particular type of media,
13   Q And we talked --                                                  13 which could be video or audio, text and the like,
14   A But there are many ways to respond to it. So                      14 correct? Do you follow?
15 I don't know if that was the only reason, is what     02:11:51        15    A Yes.                               02:15:13
16 I'm trying to say. I can't put myself in their                        16      MR. KAPLAN: Object to form.
17 shoes.                                                                17 BY MR. PAK:
18   Q Right. But you understand that Dua discloses                      18    Q Okay. So in that context, does Dua disclose
19 a media player that can play different kinds of                       19 a system that can play a particular type of media?
20 media formats and different types of media, right?      02:12:08      20    A He discloses several types of media,            02:15:40
21   A Yes.                                                              21 pictures, images, PowerPoint presentations, audio,
22   Q So why do you think the applicant amended                         22 video. Yes.
23 "media playback system" to be a particular system --                  23    Q So when the applicant amended "media playback
24 "a media particular playback system" if Dua already                   24 system" to "media particular playback system," would
25 teaches a media player that can play different kinds 02:12:28     25 you agree with me that amending "media playback                   02:16:11
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 1 system" to "media particular playback system" would                       1   Q Right.
 2 not overcome the teachings of Dua?                                        2   A Paragraph 3?
 3      MR. KAPLAN: Objection. Asked and answered.                           3   Q Yeah. And looking at Claim 3, you're not
 4      THE WITNESS: I mean, that's a tough call.                            4 entirely sure why the applicant amended "media
 5 That's why we have examiners, right? I don't know         02:16:31        5 playback system" to "media particular playback          02:19:12
 6 if I can make that call.                                                  6 system," correct?
 7 BY MR. PAK:                                                               7   A I'm not sure, no.
 8   Q Well, are there any other reasons why the                             8   Q But you do understand that Dua discloses a
 9 applicant would amend "media playback system" to                          9 media particular playback system, correct?
10 "media particular playback system"?                  02:16:53            10   A Correct. But I guess the question is, is        02:19:29
11   A Other than trying to respond to the examiner                         11 that the only way to respond to that rejection?
12 or -- as I said, you know, that would be one reason.                     12 Without being the applicant and knowing more, I
13 Or they thought they had made an error and they're                       13 couldn't answer that.
14 trying to correct it. Those are the two main                             14      But it was a response presumably to address
15 reasons in my head.                         02:17:10                     15 the concern. That doesn't make it the correct        02:19:42
16   Q Okay. So take a look at PDF page 15 again,                           16 response. It's a response.
17 "Summary of the Office Action".                                          17   Q Right. And the only other reason why an
18   A Yes.                                                                 18 applicant would amend its claims, other than
19   Q In the "Summary of the Office Action," it                            19 responding to an examiner, would be to correct an
20 talks about 103 rejections, correct?               02:17:34              20 informality, such as a typographical error, correct? 02:19:59
21   A Yes.                                                                 21      MR. KAPLAN: Object to form.
22   Q Do you see any other rejections?                                     22 Mischaracterizes. Leading.
23   A I'm sorry, can you remind me what the 103                            23      Go ahead.
24 rejection is?                                                            24      THE WITNESS: Those are two reasons I have
25   Q Yeah. So 103 rejection is an obviousness           02:17:48       25 off the top of my head. I mean, there could be           02:20:12
                                                                Page 174                                                                   Page 176

 1 type rejection.                                                           1 other reasons that I'm not -- I don't think those
 2      There's also 102 type rejections, which could                        2 are the only two reasons to list.
 3 be anticipation -- anticipatory type rejections,                          3 BY MR. PAK:
 4 right?                                                                    4   Q Sitting here today, can you think of any
 5      And then you also have 112 rejections, which       02:18:02          5 other reasons why an applicant would amend its          02:20:24
 6 might have to do with, you know, formality of the                         6 claims other than those two reasons?
 7 claims or, you know, maybe the patent lacks written                       7   A I don't know. The marketing department
 8 description of enablement and the like. Or it might                       8 decided that it would be important to have certain
 9 be indefinite, right?                                                     9 words in the patent?
10   A Right. Okay.                           02:18:18                      10      I'm thinking -- I'm trying to think of other   02:20:41
11   Q All right. So with that understanding here,                          11 reasons. There could be a lot of other reasons. It
12 do you see in the Summary of the Office Action there                     12 depends. They become a public record, obviously, so
13 are only 103 rejections, right?                                          13 that could be another reason.
14   A Right.                                                               14   Q Why do you think the applicant would amend
15   Q And you don't see any 112 rejections,             02:18:28           15 "media playback system" to "media particular           02:20:59
16 correct?                                                                 16 playback system" if amending "media playback system"
17   A Correct.                                                             17 to "media particular playback system" would render
18   Q So the -- so the applicant here was                                  18 the claim indefinite, in your opinion?
19 responding to the examiner's 103 rejections in the                       19   A Well, I don't think they asked me my opinion,
20 non-final office action of July 25, 2016, correct?     02:18:44          20 so how would they know that this would become an          02:21:22
21      MR. KAPLAN: Object to form.                                         21 issue?
22      THE WITNESS: Yes. I presume that's what --                          22      At the time, I'm sure it made sense to them
23 the response that was written by the applicant,                          23 for some reason that we don't know, that I don't
24 right?                                                                   24 know.
25 BY MR. PAK:                                 02:18:56                     25   Q That's fair.                         02:21:31
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 1      Now, I want to go back to the '206 patent                         1 Q What are the example zones disclosed in
 2 now. It's Exhibit 10. And I want to take a look at                     2 column 8?
 3 column 8.                                                              3 A Bathroom, bedroom, den, dining room, family
 4   A Okay.                                                              4 room and foyer.
 5   Q Okay. And you don't have to read this out        02:22:11          5 Q Okay. And looking at column 8, line 29,             02:25:45
 6 loud, but could you please review lines 7                              6 could you please read that -- read the first three
 7 through 36.                                                            7 sentences.
 8   A 7 through 36?                                                      8 A Okay.
 9   Q Yeah. And then we can discuss.                                     9         "For instance, a Morning zone
10      And just let us know when you're finished.      02:22:35         10     scene/configuration command would link             02:26:09
11   A Okay.                                                             11     the bedroom, den and dining room
12   Q Okay. Does the '206 patent disclose two                           12     together in one action. Without this
13 mechanisms for grouping zone players?                                 13     single command, the user would need to
14      MR. KAPLAN: Object to the form.                                  14     manually and individually link each
15      THE WITNESS: I'm trying to see where it          02:23:34        15     zone. Figure 3A provides an                  02:26:21
16 says another mechanism. I see what it says, but it                    16     illustration of one zone scene where
17 starts -- the line starts with "One mechanism for                     17     the left column shows the starting
18 joining zone players."                                                18     zone grouping. All zones are
19 BY MR. PAK:                                                           19     separate. The column on the right
20   Q Sure. And what is that one mechanism?             02:23:46        20     shows the effects of grouping the             02:26:35
21   A It says:                                                          21     zones to make a group of three zones
22         "To link a number of zone players                             22     named after Morning."
23      together to form a group."                                       23 Q Okay. So I want to take a look at Figure 3A
24   Q And what does the '206 patent say that one                        24 now. It's on PDF page 8.
25 mechanism entails to link a number of zone players      02:24:07      25 A Yes.                                 02:27:06
                                                              Page 178                                                                    Page 180

 1 together to form a group?                                              1   Q So on the left side of the arrow, you know, I
 2 A So they -- one second.                                               2 see bathroom, bedroom, den, dining room, family room
 3          "The user may manually link each                              3 and foyer, right?
 4      zone player or room one after the                                 4   A Yes.
 5      other," sequentially presumably.          02:24:24                5   Q What do -- what does the left side of the         02:27:17
 6 Q So that's the -- that's the one mechanism                            6 arrow represent, or those rooms represent?
 7 disclosed in the '206 patent, right?                                   7   A Based on what we just read, they call them
 8 A Yeah.                                                                8 zones.
 9      MR. KAPLAN: Object to form.                                       9   Q And the right side of the arrow -- well, what
10 BY MR. PAK:                                02:24:37                   10 does -- what does the right side of the arrow          02:27:42
11 Q Is there another mechanism for linking a                            11 indicate in Figure 3A?
12 number of zone players together to form a group?                      12      MR. KAPLAN: Object to form.
13 A I guess you must be referring to line 23                            13      THE WITNESS: It's the same -- the same
14 perhaps:                                                              14 zones, but the -- but three of them have been put in
15          "According to one embodiment, a         02:24:57             15 a -- some kind of group. And that group is -- has       02:27:54
16      set of zones can be dynamically linked                           16 the bracket that indicates that it's called Zone
17      together using one command."                                     17 Configuration/Scene.
18      Is that the other mechanism that you're                          18 BY MR. PAK:
19 referring to?                                                         19   Q What are -- what are the three zones that are
20 Q Yes.                                02:25:16                        20 put into some kind of group?                       02:28:22
21 A Okay.                                                               21   A Bedroom, den and dining room.
22 Q So the '206 patent discloses example zones,                         22   Q Do you know what the name of that -- what the
23 correct?                                                              23 patent describes as -- let me start over.
24 A Right. They have a list of what they call                           24      What does the patent call this group that
25 zones and then some names, yeah.                 02:25:30             25 includes the three zones, bedroom, den and dining         02:28:49
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 1 room?                                                                        1   Q So with respect to Figure 3A, you know, the
 2   A Sorry, what was that column? Was it                                      2 group of three zones named after Morning, that's
 3 column 8?                                                                    3 referring to the Morning zone scene, correct?
 4   Q Yes, column 8.                                                           4      MR. KAPLAN: Object to form. Asked and
 5   A And it says "to make a group of three zones             02:29:03         5 answered.                                 02:31:52
 6 named after Morning." A little odd that the word                             6      THE WITNESS: Well, but it has -- in line 29
 7 "after" is there, but okay.                                                  7 it says "Morning zone scene/configuration," and then
 8   Q Yeah, go -- look at the sentence before. You                             8 in Figure 3A it says "zone configuration/scene," the
 9 know, it says:                                                               9 other way around.
10         "Figure 3A provides an                    02:29:32                  10      So I couldn't tell from this for sure without 02:32:13
11      illustration of one zone scene where                                   11 looking further if that is the definition of zone
12      the left column shows the starting                                     12 scene or not. It has additional stuff.
13      zone grouping. All zones are                                           13 BY MR. PAK:
14      separate. The column to the right                                      14   Q Right. But your understanding of a zone
15      shows the effect of grouping the zones            02:29:45             15 scene is that it's some kind of representation of a    02:32:28
16      to make a group of three zones named                                   16 grouping that has some additional attributes, right?
17      after Morning."                                                        17   A Yes, that's my best understanding. The
18      Right?                                                                 18 attributes having to do with what throughout the
19   A Right.                                                                  19 specification is called some kind of themes.
20   Q So looking at Figure 3A, the group of zones,            02:29:52        20   Q Why don't we take a look at column 10 of the          02:32:49
21 bedroom, den and dining room, that's an illustration                        21 patent.
22 of a zone scene, correct?                                                   22   A Okay.
23      MR. KAPLAN: Object to form.                                            23   Q And I want to look at line 21 here. It says:
24      THE WITNESS: So I didn't provide an opinion                            24           "Given a saved scene, a user may
25 on what a zone scene is. To define that here kind           02:30:26      25        activate the scene at any time or set          02:33:21
                                                                    Page 182                                                                     Page 184

 1 of on the fly would be a little premature, or I'd                            1       up a timer to activate the scene at
 2 have to look at it more.                                                     2       610."
 3      You know, reading through for the -- for the                            3       Do you see that?
 4 other opinions that I formed, I found that zone                              4 A I see it.
 5 scene represents some kind of grouping, but it has           02:30:43        5 Q After the user activates the scene, what does 02:33:29
 6 something additional, some kind of theme or                                  6 the '206 patent say happens next?
 7 attributes that go beyond a simple grouping.                                 7 A So they say "scene" here, which is not clear
 8      But, again, that's not a -- that's not an                               8 if they mean zone scene in their own language.
 9 official opinion yet.                                                        9 That's my first thought.
10 BY MR. PAK:                                      02:30:59                   10       But what -- you're saying what do they say 02:33:59
11   Q Okay. So, you know, looking at column 8, you                            11 in this sentence?
12 know, where we were before, and it says:                                    12 Q Yeah, so let's back up here.
13         "For instance, a Morning zone                                       13       And, you know, this is talking about with
14      scene/configuration command would link                                 14 respect to Figure 6, but at the -- you know, the
15      the bedroom, den and dining room                 02:31:14              15 first paragraph of column 10, says:               02:34:14
16      together in one action."                                               16          "The process 600 is initiated
17      Do you see that?                                                       17       only when a user decides to proceed
18   A Yes.                                                                    18       with a zone scene at 602."
19   Q And then, you know, as we discussed, it says:                           19       Do you see that?
20         "The column to the right shows               02:31:24               20 A Yes.                                   02:34:26
21      the effects of grouping the zones to                                   21 Q So when it talks about a scene at step 610,
22      make a group of three zones named                                      22 it's talking about a zone scene, correct?
23      after Morning."                                                        23       MR. KAPLAN: Object to form.
24      Do you see that?                                                       24       THE WITNESS: Probably, but why don't they
25   A I see.                               02:31:32                           25 just write it to make it clear? It's not -- most   02:34:50
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 1 likely is my answer.                                                       1 Q I think -- I think member -- so member here
 2 BY MR. PAK:                                                                2 is referring to devices or nodes on the network,
 3   Q Okay. So at 610, you know, I read this                                 3 right?
 4 before. It says:                                                           4 A Okay.
 5          "Given a saved scene, a user may           02:35:11               5 Q So you agree with me that after a user           02:37:36
 6       activate the scene at any time or set                                6 activates a zone scene, data is transported from a
 7       up a timer to activate the scene at                                  7 member, for example, a controller or a player, to
 8       610."                                                                8 other members in the zone scene, right?
 9       So what does the '206 patent say happens                             9 A Yes.
10 next?                                  02:35:25                           10 Q And what does that data that is transported 02:37:57
11   A After this action has happened?                                       11 from a member to another member pertain to?
12   Q Yes.                                                                  12 A Well, in the example they provide, it says it
13   A It's the next couple of sentences, right?                             13 pertains to a playlist and volumes. So we have to
14   Q So what does that say?                                                14 read it the way they say it, right?
15   A So line 24:                              02:35:44                     15 Q Yeah. So let's take a look at column 10,         02:38:23
16          "At 612, upon the activation of a                                16 lines 12 through 20. It starts with "In the example
17       saved scene, the process 600 checks                                 17 of Figure 1."
18       the status of the players associated                                18      Do you see that?
19       with the scene."                                                    19 A Yes.
20   Q Okay. So what does -- what does the patent           02:35:56         20 Q Could you please read the first two             02:38:35
21 say happens at step 614?                                                  21 sentences.
22   A                                                                       22 A
23          "At 614, commands are executed                                   23          "In the example of Figure 1, the
24       with the parameters, e.g., pertaining                               24      scene is saved in one of the zone
25       to a playlist and volumes."                02:36:11                 25      players and displayed on controller         02:38:43
                                                                  Page 186                                                                 Page 188

 1 Q And what is the next --                                                  1      142. In operation, a set of data
 2 A Yeah, go ahead?                                                          2      pertaining to the scene includes a
 3 Q Can you keep reading the next two sentences.                             3      plurality of parameters. In one
 4 A Yes.                                                                     4      embodiment, the parameters include,
 5           "In one embodiment, data,            02:36:23                    5      but may not be limited to,               02:38:56
 6       including the parameters, is                                         6      identifiers, e.g., IP address, of the
 7       transported from a member, e.g., a                                   7      associated players and a playlist.
 8       controller, to other members in the                                  8      The parameter may also include
 9       scene so that the players are caused                                 9      volume/tone settings for the
10       to synchronize an operation configured       02:36:34               10      associated players in the scene."          02:39:08
11       in the scene. The operation may cause                               11   Q Okay. So returning to my question, after a
12       all players to play back a song in                                  12 user activated a zone scene, there is some data that
13       identical or different volumes or to                                13 is transported from a member to another member in
14       play back a pre-stored file."                                       14 the scene, right?
15 Q So after a user activates a zone scene, data 02:36:51                   15      MR. KAPLAN: Object to form.                   02:39:27
16 is transported from a member to another member in                         16      THE WITNESS: That's what this paragraph
17 the zone scene, right?                                                    17 seems to describe, yes.
18       MR. KAPLAN: Object to form.                                         18 BY MR. PAK:
19       THE WITNESS: So what is a member here?                              19   Q Right. And that data that's transported from
20 BY MR. PAK:                                                               20 a member to another member is data pertaining to a       02:39:36
21 Q So a member here -- you know, you just read                             21 zone scene, correct?
22 it here. It says "transferred from a member, for                          22      MR. KAPLAN: Object to form.
23 example, a controller."                                                   23      THE WITNESS: Well, it's data -- it's a set
24       A member can also be a player, right?                               24 of parameters that they want to apply to that zone
25 A Okay.                                  02:37:24                         25 scene they're sending.                       02:39:58
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 1 BY MR. PAK:                                                                  1 repeat that.
 2   Q Right. So let me ask you this way.                                       2       So when you save a song on a computing
 3      So when a scene is saved in one of the zone                             3 device, you're saving a file that represents a song
 4 players and displayed on a controller, right, there                          4 in the computing device, correct?
 5 is some form of data pertaining to that zone scene        02:40:12           5    A No, I don't agree with that.                     02:43:17
 6 that gets saved in the zone player, right?                                   6       What is a song? That's an abstract -- the
 7      MR. KAPLAN: Object to form.                                             7 song is the file. So it's not a representation.
 8      THE WITNESS: This is not the data that we're                            8 It's the song. That is the file that you're saving.
 9 talking about here that's being sent to it. I'm not                          9    Q So when someone says -- so when a user
10 sure I understand.                           02:40:37                       10 decides to save a song, what happens under the hood, 02:43:40
11      There's a scene that's been created. And                               11 like, how does the computing device save a song?
12 this to me says that from -- the user can decide                            12    A The song --
13 from the controller to select that scene -- and I'm                         13       MR. KAPLAN: Object to the form.
14 paraphrasing -- and send these parameters that we                           14       THE WITNESS: Assuming the song is in digital
15 talked about to the zone players in that scene.         02:40:53            15 form, the computing device saves the song file which 02:44:02
16 BY MR. PAK:                                                                 16 contains a sequence of bits that, when played back,
17   Q Okay. So let's look -- let's relook at                                  17 are the song.
18 column 10, lines 12 to 15. It says:                                         18 BY MR. PAK:
19           "In the example of Figure 1, the                                  19    Q Yeah, so let me ask you it this way then.
20      scene is saved in one of the zone              02:41:08                20       When a user tries to save a song from a             02:44:27
21      players and displayed on controller                                    21 computer from an Ethernet interface, right, if --
22      142. In operation, a set of data                                       22 the user inputs a command to save the song, right?
23      pertaining to the scene includes a                                     23    A Yes.
24      plurality of parameters."                                              24    Q And the computing device receives that
25      Do you see that?                        02:41:18                       25 command to save a song, correct?                         02:44:57
                                                                    Page 190                                                                          Page 192

 1   A Yes.                                                                     1    A Yes.
 2   Q Now, when you save a zone scene in one of the                            2    Q How does the computing device or, you know --
 3 zone players, you're really saving data pertaining                           3 starting over here.
 4 to the zone scene in one of the zone players,                                4       What action does the computing device do to
 5 correct?                                 02:41:29                            5 actually save a song in the computing device?               02:45:14
 6      MR. KAPLAN: Object to form.                                             6       MR. KAPLAN: Object to form.
 7      THE WITNESS: I don't know. I don't know                                 7       THE WITNESS: Assuming the saving location
 8 what they're saving.                                                         8 has -- the saving location has been determined,
 9 BY MR. PAK:                                                                  9 which is the intermediate step, the computing device
10   Q Well, the zone player has to save some form           02:41:44          10 will start at the first bit and start writing it to    02:45:31
11 of data that represents the zone scene, right, if                           11 that location until it's finished. In memory or on
12 it's going to save a zone scene?                                            12 the hard drive somewhere.
13      MR. KAPLAN: Object to form.                                            13 BY MR. PAK:
14      THE WITNESS: I guess what I'm trying to                                14    Q So the computing device saves a song in the
15 figure out there is, isn't the zone scene the data     02:42:07             15 hard drive or memory, you know, in the form of a                 02:45:57
16 itself?                                                                     16 file, right?
17 BY MR. PAK:                                                                 17    A I don't know -- the song is a file. It
18   Q Well, let me ask -- let me ask you this way.                            18 sounds like you're saying the song is something else
19      When you want to save a song on your                                   19 and then it gets converted to a file, and that's
20 computer, some form of data is saved on that             02:42:27           20 just not the case.                           02:46:17
21 computer, right, that represents the song?                                  21       The song is the file. Without that, there's
22   A Well, it's the audio file that is the song.                             22 no song.
23   Q Right. So when you -- when you save a song                              23    Q Well, let me ask you this way.
24 on a computer, you're saving a -- you're saving a                           24       From a user perspective, right, a user would
25 file that represents a song and -- let me just        02:42:49              25 say that he or she plays a song, right? He or she          02:46:59
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 1 wouldn't say that he or she plays a file, right, or                           1   Q Okay. And during the break I uploaded the
 2 plays data?                                                                   2 '033 patent and marked it as Exhibit 14.
 3   A Well, that's the vernacular as opposed to the                             3      (Exhibit 14 was marked for identification
 4 actual technical. I could point you to a number of                            4   electronically and is attached hereto.)
 5 users in my department that would say they're             02:47:27            5 BY MR. PAK:                                 03:03:09
 6 playing a data file.                                                          6   Q Do you see that?
 7       So, I mean, I don't think that's -- I mean,                             7   A Just checking here.
 8 maybe a user would say that, but it doesn't make it                           8      Yes.
 9 technically correct.                                                          9   Q And you looked at the '033 patent, correct?
10   Q All right. Let's talk about this in the          02:47:49                10   A Yes, I did.                          03:03:26
11 context of Microsoft Word then.                                              11   Q I want to take a look at Claim 1 on PDF
12       When you save a Microsoft Word document,                               12 page 28.
13 right, what format does your computing device save a                         13      Could you please read the transmitting an
14 Microsoft Word document?                                                     14 instruction limitation that you mentioned in
15   A It is again a sequence of bits that -- the         02:48:13              15 paragraph 74 of your declaration.                 03:03:50
16 format is not open to us. It's a Microsoft internal                          16   A I'm still scrolling.
17 format. So I couldn't tell you what the file looks                           17   Q It's the second to the last page.
18 like. You can only reopen it by using their user                             18   A Yes. You want me to read the part that has
19 interface.                                                                   19 the transmitting the instruction?
20   Q When you save a Microsoft Word document,                 02:48:39        20   Q Yeah. How about -- how about you read the           03:04:13
21 you're saving some form of data, right?                                      21 transmitting an instruction limitation, you know,
22   A I mean, that's -- everything on your computer                            22 all the way -- all the way before the "wherein"
23 is data, so yes.                                                             23 clause.
24   Q And that data that is saved represents the                               24   A Okay. So line 53?
25 Microsoft Word document, right?                        02:49:12              25   Q Yeah, correct.
                                                                     Page 194                                                                   Page 196

 1   A I think it's the same thing. As I said                                    1 A
 2 before, it doesn't represent it, it is the Microsoft                          2         "Based on receiving the user
 3 Word document. It's not like you have another                                 3     input, transmitting an instruction for
 4 representation. It's the -- it's the only one, and                            4     at least one given playback device to
 5 it is the document.                          02:49:30                         5     take over responsibility for playback       03:04:35
 6       MR. PAK: Why don't we take a break now. I                               6     of the remote playback queue from the
 7 think we've been going on for a while. I don't have                           7     computing device."
 8 a whole lot left here. I know it's Friday. I don't                            8 Q Okay. Let's take a look at Claim 2,
 9 want to keep you here too long.                                               9 column 18. Could you please read Claim 2.
10       THE VIDEOGRAPHER: Off the record at                    02:50:06        10 A                                    03:04:47
11 2:50 p.m.                                                                    11         "The computing device of Claim 1
12       (Recess.)                                                              12     wherein the instruction comprises an
13       THE VIDEOGRAPHER: We are on record at                                  13     instruction for the cloud-based
14 3:02 p.m.                                                                    14     computing system associated with the
15 BY MR. PAK:                                    03:02:27                      15     media" --                          03:04:58
16   Q I want to take a look at paragraph 74 of your                            16           Sorry. Let me start over.
17 declaration.                                                                 17     "The computing device of Claim 1,
18   A Yes.                                                                     18     wherein the instruction comprises an
19   Q Would you please read the first sentence.                                19     instruction for the cloud-based
20   A                                    03:02:48                              20     computing system associated with the          03:05:10
21          "Claims 1 and 12 of the '033                                        21     media service to provide the data
22       patent recite transmitting an                                          22     identifying the next one or more" --
23       instruction, and Claims 2 and 3 recite                                 23     "the next one or more media items to
24       wherein the instruction comprises an                                   24     the given playback device for use in
25       instruction."                       03:02:56                           25     retrieving at least one media item         03:05:22
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 1      from the cloud-based computing system                     1      So in that sentence, you understand that
 2      associated with the cloud-based media                     2 wherein -- the term "wherein the instruction"
 3      service."                                                 3 recited in Claim 2 refers to transmitting an
 4 Q That's a pretty long claim, right?                           4 instruction term in Claim 1, right?
 5      So the instruction recited in Claim 2 is       03:05:38   5 A Yes. I agree with that.                       03:09:31
 6 referring to the instruction for at least one given            6 Q Okay. So the instruction recited in Claim 2
 7 playback device to take over responsibility for                7 is not referring to program instructions recited in
 8 playback of the remote playback queue from the                 8 Claim 1, correct?
 9 computing device recited in Claim 1, correct?                  9      MR. KAPLAN: Object to form.
10 A Yes.                                   03:06:14             10      THE WITNESS: I guess that's what I was              03:09:45
11 Q In other words, the instruction recited in                  11 trying to say before. It's referring to the -- to
12 Claim 2 is not referring to the program instructions          12 the instruction that we read in that clause of the
13 stored on the non-transitory computer readable media          13 claim. But it's still a program instruction.
14 as recited in Claim 1, correct?                               14 That's all I was trying to say.
15      MR. KAPLAN: Object to form.                     03:06:43 15      MR. PAK: Okay. I have no further questions. 03:10:02
16      THE WITNESS: I guess it's not clear what is              16 I appreciate your time, Dr. K.
17 the difference between the program instructions.              17      Thanks for your time as well, Marc.
18 Aren't they all instructions? I'm trying to                   18      MR. KAPLAN: Sure. I'm just thinking for a
19 understand the reference here.                                19 moment.
20 BY MR. PAK:                                   03:07:12        20      We'll reserve signature. And no questions         03:10:18
21 Q Does the instruction recited in Claim 2 refer               21 for me.
22 to an instruction for the at least one given                  22      THE VIDEOGRAPHER: We are off the record at
23 playback device to take responsibility for playback           23 3:10 p.m. This concludes today's testimony given by
24 on the remote playback queue from the computing               24 Dr. Chris Kyriakakis. Total media used was five and
25 device in Claim 1, or does it refer to the program 03:07:35 25 will be retained by Veritext Legal Solutions.            03:10:38
                                                           Page 198                                                             Page 200

 1 instructions recited in Claim 1?                              1
 2 A Well, that's the thing. They're all program                 2      I, CHRISTOS KYRIAKAKIS, do hereby declare
 3 instructions, right? So this instruction,                     3 under penalty of perjury that I have read the
 4 whichever -- whatever it's referring to, is a                 4 foregoing  transcript; that I have made any
                                                                 5 corrections as appear noted, in ink, initialed by
 5 program instruction, right? So I don't see the     03:07:56
                                                                 6 me, or attached hereto; that my testimony as
 6 difference necessarily.
                                                                 7 contained herein, as corrected, is true and correct.
 7 Q Well, Claim 1 recites an instruction for
                                                                 8      EXECUTED this _____ day of _______________,
 8 the at least one given playback device to take over           9 20____, at ______________________, ________________.
 9 responsibility for playback of the remote playback                            (City)           (State)
10 queue from the computing device, right?             03:08:16 10
11 A Right. But at the beginning of Claim 2 is                  11
12 program instructions, when executed by at least one          12
13 processor, cause the computing device to perform             13          ____________________________________
14 functions comprising -- and then a whole bunch of                              CHRISTOS KYRIAKAKIS
15 functions -- and then this instruction clause. So 03:08:35 14
16 it's --                                                      15
17 Q Well, let's look at paragraph 74 again in                  16
                                                                17
18 your declaration.
                                                                18
19 A Yes.
                                                                19
20 Q And you say that "Claim 1" -- I'm sorry:          03:08:49
                                                                20
21          "Claims 1 and 12 of the '033                        21
22       patent recite transmitting an                          22
23       instruction, and Claims 2 and 13                       23
24       recite wherein the instruction                         24
25       comprises an instruction."              03:09:04       25
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 1
 2
 3      I, the undersigned, a Certified Shorthand
 4 Reporter of the State of California, do hereby
 5 certify:
 6        That the foregoing proceedings were taken
 7 before me at the time and place herein set forth;
 8 that any witnesses in the foregoing proceedings,
 9 prior to testifying, were placed under oath; that a
10 record of the proceedings was made by me using
11 machine shorthand which was thereafter transcribed
12 under my direction; further, that the foregoing is
13 an accurate transcription thereof.
14        I further certify that I am neither
15 financially interested in the action nor a relative
16 or employee of any attorney of any of the parties.
17        IN WITNESS WHEREOF, I have this date
18 subscribed my name.
19
20 Dated: June 14, 2021
21
22
23                 <%5979,Signature%>
                   KATHLEEN E. BARNEY
24                 CSR No. 5698
25
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               Appendix 4
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               Appendix 5
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               UNITED STATES INTERNATIONAL TRADE COMMISSION
                               WASHINGTON, D.C.

                          Before the Honorable Charles E. Bullock
                              Chief Administrative Law Judge


 In the Matter of

 CERTAIN AUDIO PLAYERS AND
                                                      Inv. No. 337-TA-1191
 CONTROLLERS, COMPONENTS
 THEREOF, AND PRODUCTS
 CONTAINING THE SAME


             REBUTTAL DECLARATION OF MATTHEW B. SHOEMAKE, PH.D.

        I, Ma he B. Shoemake, Ph.D. hereb declare a follo      :

I.      INTRODUCTION

        1.      I ha e been re ained o e if a an e per in hi ac ion on behalf of Re ponden

Google LLC and Alphabe Inc. (collec i el , Re ponden      ).

        2.      For hi declara ion, I ha e been a ked o pro ide m anal i and e per opinion

on he in erpre a ion of he claim erm local area ne ork (or LAN for hor ) from U.S.

Pa en No . 9,195,258 ( he 258 pa en ), 10,209,953 ( he 953 pa en ), 10,439,896 ( he 896

pa en ), and 8,588,949 ( he 949 pa en ), in re pon e o he declara ion of Dr. Ke in C.

Almero h and Dr. Jon B. Wei man.

        3.      I nder and ha claim 17 of he 258 pa en , claim 7, 12, 22, and 23 of he 953

pa en , claim 1 of he 896 pa en , and claim 1 of he 949 pa en , all of hich ha e been a er ed

again Re ponden , req ire a local area ne ork, or LAN for hor . I nder and ha he

par ie di p e ho a per on of ordinar    kill in he ar reading he e pa en a he ime of he

alleged in en ion ( hich I nder and a in he 2003-2004 imeframe) o ld ha e nder ood

he erm LAN.



                                              1
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          4.       For p rpo e of hi declara ion, I ha e re ie ed Dr. Almero h and Dr.

Wei man declara ion , he 258 pa en , he 953 pa en , he 896 pa en , he 949 pa en , he

pro ec ion hi orie for he e pa en , e rin ic e idence rela ed o he e pa en , and all o her

e idence di c       ed belo in hi declara ion.

          5.       I i m    nder anding ha di co er i     ill ongoing. I re er e he righ o modif

or     pplemen m opinion , a        ell a he ba i for m opinion , in ligh of an doc men ,

e imon , or o her e idence ha ma emerge d ring he co r e of hi ma er, incl ding

depo i ion ha ha e e o be aken.

II.       QUALIFICATIONS

          6.       M q alifica ion are e for h in m J ne 1, 2020 declara ion.

III.      LEGAL STANDARDS

          7.       I e for h m   nder anding belo of ario     legal andard rela ed o claim

con r c ion, of hich I ha e been informed b co n el.

          A.       Person of Ordinary Skill in the Art

          8.       I nder and ha claim con r c ion i anal ed from he per pec i e of a per on

ha ing ordinar       kill in he ar . I nder and ha he per on of ordinar    kill in he ar i a

h po he ical per on of ordinar crea i i , no an a oma on. I nder and ha a per on of

ordinar        kill, hile no omeone ho nder ake o inno a e, i capable of dra ing inference

and aking crea i e ep ba ed pon ha kno ledge.

          9.       I nder and ha , in de ermining he le el of kill in he ar , co r con ider he

  pe of problem enco n ered in he ar , prior ar ol ion o ho e problem , rapidi            ih

  hich inno a ion are made, ophi ica ion of he echnolog , and he ed ca ional le el of ac i e

  orker in he field. I nder and ha no all of he e fac or        ill nece aril be rele an in a

gi en ca e.


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         B.      Patent Claims and Claim Construction

         10.     I nder and ha erm        ed in pa en claim are no con r ed in he ab rac , and

ha a claim recei e he meaning i        o ld ha e o per on in he field of he in en ion, hen read

and nder ood in ligh of he en ire pecifica ion and pro ec ion hi or . Fe           e I e       e   ,

L d. . Ce c Pa         e     , 778 F.3d 1320, 1322-23 (Fed. Cir. 2015). I nder and ha o gi e

meaning o a claim, one fir con ider he ord of he claim hem el e , and con ider al o he

remainder of he pecifica ion, he pro ec ion hi or , and e rin ic e idence concerning rele an

cien ific principle , he meaning of echnical erm , and he a e of he ar . P           . AWH C       .,

415 F.3d 1303, 1314 (Fed. Cir. 2005).

         11.     I nder and ha a con in a ion-in-par applica ion con ain a por ion or all of he

di clo re of an earlier applica ion and al o add ma er no pre en in ha earlier applica ion.

P     e Oa     , I c. . T-M b e USA, I c., 522 F.3d 1299, 1304 (Fed. Cir. 2008).

IV.      SUMMARY OF OPINIONS

         12.     I nder and ha Re ponden , Sono , and S aff ha e propo ed he follo ing

con r c ion for he LAN claim erm ha I a a ked o anal e:

      Respondents Proposal                Sonos Proposal                 Staff s Proposal

                                     da a ne ork ha link
    Plain and ordinar meaning;                                     Plain and ordinar meaning;
                                    de ice i hin a limi ed area,
    no con r c ion nece ar                                         no con r c ion nece ar
                                      ch a a home or office

         13.     I al o nder and ha he par ie ha e        bmi ed he e ame con r c ion for all

fo r of he pa en a i       e in hi declara ion (i.e., he 258, 953, 896, and 949 pa en ).

         14.     A e plained in more de ail belo , I agree    i h Re ponden and S aff ha LAN

ho ld be gi en i plain and ordinar meaning and ha no con r c ion i nece ar .

V.       LEVEL OF ORDINARY SKILL IN THE ART

         15.     I nder and ha Re ponden con end ha a per on of ordinar            kill in he ar in

                                                 3
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he 258, 953, 896, and 949 pa en            a he ime of he alleged in en ion          o ld ha e had he

eq i alen of a fo r- ear degree from an accredi ed in i          ion ( picall deno ed a a B.S. degree)

in comp er cience, comp er engineering, elec rical engineering, or an eq i alen hereof, and

appro ima el 4 ear of profe ional e perience in he field of ne orking and ne ork-ba ed

      em or applica ion ,      ch a con mer a dio               em , or an eq i alen le el of kill,

kno ledge, and e perience. A per on            i h ligh l le      echnical ed ca ion b     ligh l more

prac ical e perience, or more echnical ed ca ion (e.g., a Ma er degree in he ame field ) b           le

prac ical e perience (e.g., 2 ear ), co ld ha e me ha           andard.

         16.      I nder and ha Sono a er          ha a per on of ordinar      kill in he ar for p rpo e

of hi In e iga ion i a per on ha ing he eq i alen of a fo r- ear degree from an accredi ed

in i    ion ( picall deno ed a a B.S. degree) in comp er cience, comp er engineering,

elec rical engineering, or an eq i alen        hereof, and appro ima el 2-4 ear of profe ional

e perience in he field of ne orking and ne               ork-ba ed        em or applica ion ,       ch a

con mer a dio          em , or an eq i alen le el of kill, kno ledge, and e perience. See Sono

Re pon e o In erroga or No. 37.

         17.      Under ei her form la ion, m opinion e pre ed in hi declara ion appl eq all .

VI.      LOCAL AREA NETWORKS (“LANS )

         18.      A per on of ordinar    kill in he ar    o ld ha e nder ood ha he erm LAN, in

he con e       of he e pa en , ha i plain and ordinar meaning. Tha i , a ne ork ha allo               for

comm nica ion among           o or more de ice in a geographicall limi ed area (generall one

b ilding or a gro p of b ilding ). A per on of ordinar         kill in he ar   o ld no in erpre LAN o

pro ide o her limi a ion on he ne ork. For e ample, a per on of ordinar             kill in he ar    o ld

no     nder and LAN o be limi ed b        he     pe of informa ion comm nica ed on he ne ork (nor

ho     ha comm nica ion a comm nica ed) a compared i h he broader erm ne ork.


                                                    4
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         19.     Thi plain and ordinar meaning of LAN o refer o a ne ork ha i limi ed b

area (and no o her charac eri ic ) i e idenced b n mero                        echnical dic ionarie p bli hed

aro nd he ime of he alleged in en ion . For e ample, Web e                             Ne     W   d C        e

Dc       a , 10 Ed         (2003) define LAN a              [a] comp er ne ork ha             e cable or radio

 ignal o link      o or more comp er in a geographicall limi ed area (generall one b ilding or

a gro p of b ilding ). E . 1; ee a         E . 2 (Web e        Ne W         dD c      a      f Comp er Te        ,

Eg       Ed      (2000)) ( defining LAN a         [a] comp er ne ork ha ph icall link                o or more

comp er        i hin a geographicall limi ed area (generall one b ilding or a gro p of b ilding ) );

E . 3 (C        e e     e Dc       a      f E ec ca E g ee              g, Sec d Ed           (2005)) (defining

LAN a      [a] ne ork of comp er and connec ion de ice ( ch a                       i che and ro er ) ha are

loca ed on a ingle i e. The connec ion are direc cable ( ch a UTP or op ical fiber) ra her han

elecomm nica ion line . The comp er ne ork in a ni er i                      camp     i     picall a local area

ne ork. ); E . 4 (Ne              Te ec     Dc       a , N e ee           Ed        (2003)) (defining LAN a

 [a] hor di ance da a comm nica ion ne ork ( picall                       i hin a b ilding or camp )      ed o

link comp er and peripheral de ice ( ch a prin er , CD-ROM , modem ) nder ome form of

    andard con rol ); E . 5 (T e D c        a      fM         ed a, F          Ed      (2005)) (defining LAN

a     [a]n ph ical ne     ork echnolog          ha opera e a high peed o er hor di ance ,                ch a

 e eral ho and ard ); E . 6 (C                  e &I e e Dc             a ,T        d Ed      (1999)) (defining

LAN a      [a] comp er ne      ork ha pan a rela i el            mall area. Mo LAN are confined o a

 ingle b ilding or gro p of b ilding ); E . 7 (IEEE S andard for Local and Me ropoli an Area

Ne ork , S d. 802-2001 (2002)) a 1 (defining LAN a co ering a modera e- i ed geographic

area,    ch a a ingle office b ilding, a         areho e, or a camp            ); E . 8 (Uni er i    of Bri i h

Col mbia Pre en a ion i led Deplo ing he World Large Camp                            802.11b Ne ork (da ed

No ember         11,      2003;        a ailable        a        h p://         .ieee802.org/802_    orial /03-

                                                        5
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No ember/         . irele . bc.ca-IEEE-No 2003.pp ) a 4 (de cribing a LAN,               ing he 802.11b

WLAN andard, ha co er              150 b ilding . ).

        20.     Man ne ork           pe are defined ba ed on o her geographic area. For e ample, a

per on of ordinar      kill in he ar     o ld be familiar    i h he concep of PAN, LAN, MAN and

WAN, meaning per onal area ne ork, local area ne ork, me ropoli an area ne                 ork and    ide

area ne ork, re pec i el . A PAN i              picall     ie ed a ha ing a ma im m range ha i

generall aro nd a per on            bod . Thi ma al o be ho gh of a being con i en                   ih a

modera el     i ed room, office or a ehicle       cabin. A LAN ha a ma im m range ha generall

co er a por ion of a b ilding, a b ilding, m l iple b ilding or a camp . A MAN co er a ci

or a por ion of a ci . A WAN co er a large area            ch a m l iple ci ie , a a e, co n r or globe.

        21.     A a per on of ordinar          kill in he ar     o ld ha e nder ood, a LAN can be

implemen ed ia ario            echnologie . For e ample, T e D c      a    fM        ed a, F     Ed

(2005) e plain        ha     [ ]echnologie   ha pla role in a LAN incl de E herne , oken ring,

A nchrono       Tran fer Mode (ATM), Fiber Di rib ed Da a In erface (FDDI) II, 10Ba e-T, and

S   em Ne ork Archi ec re (SNA). E . 5. I f r her e plain ha [ ]he                      em of cable and

in erface con rolled b a comm nica ion pro ocol ha connec                  microcomp er for haring

re o rce and peripheral i all par of he LAN, and ha                [c]onnec ion i al o po ible    i h an

infrared or   irele        link. Id. A ano her e ample, Web e         Ne W      dC        e Dc        a ,

10 Ed         (2003) e plain :

                LAN are differen ia ed b heir archi ec re (peer- o-peer or
                clien / er er), opolog (b , hierarchical, m l ipoin , poin - o-
                poin , ring, or ar), pro ocol ( andard for ran ferring da a among
                 he linked ork a ion ), and media (for in ance, coa ial, i ed-
                pair, and fiber op ic). Peer- o-peer LAN are imple o implemen
                   ing he b il -in ne orking capabili ie of comp er r nning
                Micro of Windo or Mac OS; ch ne ork enable he linked
                comp er o hare e pen i e peripheral          ch a la er prin er ;
                clien / er er ne ork        e a LAN er er o make cen rali ed

                                                       6
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               re o rce ( ch a da aba e and applica ion ) a ailable o
                 ork a ion er . Ne ork pro ocol opera e a differing la er ; for
               e ample, E herne i a lo er-la er pro ocol ha define he ba ic
               mechani m b       hich da a en er he ne ork and ra el o i
               de ina ion; E herne can ork i h a arie of higher-le el
               pro ocol , incl ding AppleTalk, Common In erne File S em
               (CIFS), and TCP/IP.

E . 1 (empha i added). Similarl , a Web e           Ne W     dD c     a    fC        e Te   ,E g

Ed      (2000) e plain :

               Peer- o-peer LAN enable he linked comp er o hare e pen i e
               peripheral    ch a la er prin er ; clien / er er ne ork e a LAN
                er er o make re o rce ( ch a da aba e and applica ion )
               a ailable o ork a ion          er . Local area ne ork ha e a
               charac eri ic opolog ( ch a b , ring, or ar) and implemen
               one or more ne orking pro ocol ( ch a Apple Talk, E herne ,
               or TCP /IP).

E . 2 (empha i added). All of he e de crip ion are con i en           ihm       nder anding and    ih

 ha a per on of ordinar       kill in he ar     o ld ha e nder ood a he ime of he alleged

in en ion .

        22.    No e ha a per on of ordinar      kill in he ar    o ld al o ha e nder ood ha man

of he e ario       echnologie can be    ed for LAN ha e end be ond a ingle home or office.

        23.    A per on of ordinar     kill in he ar      o ld ha e al o nder ood ha a LAN i no

limi ed o connec ing comp er           and in ead ma enable comm nica ion b o her            pe of

elec ronic de ice on he ne ork. See, e.g., E . 9 (M c           f C       e Dc      a ,Ff    Ed

(2002)) (defining LAN a     [a] gro p of comp er and o her de ice di per ed o er a rela i el

limi ed area and connec ed b a comm nica ion link ha enable an de ice o in erac              i h an

o her on he ne ork ) (empha i added).

        24.    I    nder and ha Sono          doe       no di p e ha a LAN i         no limi ed o

comm nica ion be een comp er            and in ead ma enable comm nica ion be een all o her

 pe of de ice linked on he ne ork, beca e Sono               propo ed con r c ion for he erm LAN

                                                    7
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(i.e., da a ne ork ha link de ice              i hin a limi ed area,     ch a a home or office ) al o   e

he erm de ice         and no he erm comp er .

        A.      “Data Networks

        25.     Sono       propo ed con r c ion, on i face, doe no appear             b an i el differen

from he plain and ordinar meaning of he erm. Sono propo ed ha LAN mean                       da a ne ork

ha link de ice         i hin a limi ed area,     ch a a home or office. 1 Sono agree ha LAN are

limi ed o be       i hin an area.

        26.     Sono propo ed con r c ion add he erm da a in fron of ne ork. Da a ha

a    ell nder ood plain and ordinar meaning ha generall mean                   informa ion. For e ample,

he M de       Dc      a      f E ec   c , Se e       Ed        (1999) (E . 10) pro ide e eral defini ion

of da a, none of hich ma eriall limi da a in he con e                 of he fo r pa en a i    e here:

                1. A general erm ed o deno e an or all n mber , le er ,
                   mbol , or fac ha refer o or de cribe an objec , idea, condi ion,
                 i a ion, or o her fac or . I conno e ba ic elemen of informa ion
                 ha can be proce ed or prod ced b a comp er. Some ime da a i
                con idered o be e pre ible onl in n merical form, b informa ion
                i no o limi ed.
                2. A general erm for an       pe of informa ion.
                3. Inp in he form of a charac er , ring ha ma ha e ignificance
                be ond heir n merical meaning.
                4. An repre en a ion , ch a charac er or analog q an i ie , o
                  hich meaning migh be a igned.

E . 10. See a      E . 11 (McG a -H       Dc        a       f Sc e   f c a d Tec   ca Te     ,S   Ed

(2003)) (defining da a a : 1. General erm for n mber , le er ,                mbol , and analog q an i ie

ha    er e a inp          for comp er proce ing. 2. An repre en a ion of charac er or analog



1
   I do no in erpre Sono propo ed con r c ion o geographicall limi he area of a LAN o
onl a home or office beca e he con r c ion e e emplar lang age             ch a . To he e en
 ha Sono a emp o limi he area of a LAN o a ingle office or home, I di agree. LAN can
 pan b ilding , office comple e , and larger area han ha of a ingle home or office, a e plained
in hi declara ion.

                                                        8
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q an i ie       o    hich meaning, if no informa ion, ma be a igned. ); E . 4 (Ne                  Te ec

Dc        a , N e ee         Ed     (2003)) (defining da a a      [a] repre en a ion of fac , concep

or in r c ion in a formali ed manner,        i able for comm nica ion, in erpre a ion or proce ing );

E . 12 (D c           a    fC      e a d I e e Te          ,N      Ed        (2006)) (defining da a a

    informa ion ).

          27.        Therefore, a per on of ordinar       kill in he ar      o ld no      nder and da a

ne ork          o ma eriall differen from ne ork           in hi con e . Da a ne ork             are impl

ne ork ha comm nica e da a.

          B.         “Digital Data Packets

          28.        While he plain and ordinar meaning of da a ne ork            doe no render Sono

propo ed con r c ion objec ionable, Dr. Almero h and Dr. Wei man bo h appl a peciali ed

meaning o da a ne ork              ha i incorrec . Dr. Almero h opine         ha he da a ne ork i

limi ed o a ne ork ha ran fer digi al da a packe be                een de ice . Almero h Decl.         52.

Dr. Wei man opine ha he da a ne ork i limi ed o a ne ork for ran ferring digi al da a

packe be            een de ice . Wei man Decl.    40. A per on of ordinar        kill in he ar    o ld no

    nder and da a ne ork          o be o limi ed. Dr. Almero h and Dr. Wei man            con r c ion of

    da a ne ork limi        da a and LAN o digi al da a, and e en more narro l o digi al da a

packe . Thi i improper and con rar           ha a per on of ordinar       kill in he ar   o ld nder and

he e erm o mean.2




2
    I nder and ha he erm da a ne ork appear in agreed con r c ion for o her erm ,
incl ding one pla er, pla back de ice, pla er, and ne ork in erface. I nder and ha
Sono ha no a er ed ha da a ne ork ho ld be con r ed i h he peciali ed con r c ion
in rod ced b Dr . Almero h and Wei man. In an e en , for he ame rea on iden ified here, a
per on of ordinar kill in he ar o ld nder and he erm da a ne ork o ha e i plain and
ordinar meaning, and no he narro con r c ion propo ed b Dr . Almero h and Wei man.

                                                      9
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         29.      Da a can be repre en ed in bo h digi al and analog form. A f r her di c                          ed in

Sec ion VI.C, he defini ion of da a i broad and no limi ed o one pecific                         pe of da a,       ch a

da a repre en ed digi all . Indeed, a per on of ordinar                  kill   o ld cer ainl kno              ha da a

incl de bo h digi al and analog          pe of da a. No          rpri ingl , digi al da a and analog da a

are common and of en         ed erm .

         30.      Digi al da a i     [d]a a repre en ed in di cre e, di con in o                form, a con ra ed

    i h analog da a repre en ed in con in o             form. E . 10 (M de             Dc       a      f E ec          c,

Se e      Ed         (1999)); ee a       E . 11 (McG a -H               Dc      a      f Sc e       f c a d Tec        ca

Te      ,S      Ed       (2003)) (defining digi al da a a           [d]a a ha are elec romagne icall                  ored

in he form of di cre e digi         ); E . 4 (Ne          Te ec         Dc      a , N e ee            Ed         (2003))

(defining digi al ignal a : A di con in o                     ignal. One        ho e     a e con i         of di cre e

elemen , repre en ing er           pecific informa ion. When ie ed on an o cillo cope, a digi al ignal

i      q ared. Thi compare           i h an analog ignal         hich    picall look more like a ine                  a e,

i.e. c r . ).

         31.         Analog da a i     [d]a a repre en ed in a con in o         form, a con ra ed i h digi al

da a repre en ed in a di cre e (di con in o ) form. E . 10 (M de                       Dc       a       f E ec         c,

Se e      Ed         (1999)); ee a       E . 3 (C          e e      e Dc        a      f E ec ca E g ee                 g,

Sec d Ed             (2005)) (defining analog da a a             da a repre en ed in a con in o            form        ih

re pec o con in o         ime, a con ra ed i h digi al da a repre en ed in a di cre e (di con in o )

form in a eq ence of ime in an ; and defining analog ignal a                            a ignal repre en ed in a

con in o       form i h re pec o con in o           ime, a con ra ed i h digi al ignal repre en ed in a

di cre e (di con in o ) form in a eq ence of ime in an ); E . 11 (McG a -H                              Dc        a         f

Sc e     f c a d Tec       ca Te       , S         Ed         (2003)) (defining        analog da a         a      [d]a a

repre en ed in a con in o          form, a con ra ed          i h digi al da a ha ing di cre e al e ; and

                                                         10
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defining analog ignal a       [a] nominall con in o       elec rical ignal ha    arie in ampli de or

freq enc in re pon e o change in o nd, ligh , hea , po i ion, or pre            re ); E . 4 (Ne

Te ec     Dc      a , N e ee      Ed        (2003)) (defining analog ignal a         [a] ignal in he

form of con in o        a e ar ing in      ep   i h he ac al ran mi ed informa ion; a emp                 o

ran mi on e ac replica of he inp        ed ignal do n a comm nica ion channel ).

        32.      A per on of ordinar    kill in he ar    o ld no   nder and he plain and ordinar

meaning of da a ne ork in he fo r pa en a i             e here o e cl de analog da a. See, e.g., U.S.

Pa en Applica ion P blica ion No. US2003/0087636 (E . 21) a [0027] ( The embedded                    em

ma      be capable of acce ing           ario      pe     of WAN , like a connec ion                o a

digi al ne ork or analog da a ne ork. ); U.S. Pa en No. 6,829,603 (E . 22) a 7:17-23 ( S ch a

e ion i main ained b a ne ork in erface 140 connec ing o one or more of he follo ing: he

In erne 145, an in rane , a local area ne ork, a p blic er ice elephone ne ork, a                 irele

cell lar ne ork, a cable ne ork, a a elli e comm nica ion ne ork or an o her pri a e or

p blic digi al or analog da a ne ork. ).

        33.      In addi ion, he fo r pa en a i    e here deal i h a dio da a. A per on of ordinar

kill in he ar     o ld al o nder and ha a dio co ld be ei her digi al or analog da a. See, e.g.,

U.S. Pa en No. 6,879,865 (E . 14) a claim 1 ( A         em for con er ing a dio digi al da a o a dio

analog da a      ); U.S. Pa en No. 5,893,900 (E . 15) a Ab rac ( An analog a dio recording

de ice compri e a da a recei er for recei ing analog a dio da a and a pl rali of analog marker ,

an analog o p      for o p    ing he analog a dio da a      i h he pl rali   of analog marker             );

U.S. Pa en No. 8,918,546 (E . 16) a 4:30-32 ( A indica ed in FIG. 1, hi analog a dio da a ma

be pro ided a     epara e lef (L) and righ (R) analog a dio ignal . ); U.S. Pa en Applica ion

P blica ion No. 2002/0118763 (E . 17) a claim 14 (        herein he analog da a ignal compri e an

a dio ignal ).

                                                  11
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          34.       P   ing a ide he i     e of digi al er     analog, Dr. Almero h and Dr. Wei man

narro ing of he pe of da a o onl               packe    i al o improper. Packe        [i]n he generic en e,

refer[] o he manner in hich da a are organi ed in o di cre e ni for ran mi ion and                  i ching

hro gh a da a ne ork. E . 13 (Web e                    Ne W   d Te ec    Dc      a    (2008)); ee a     E .

11 (McG a -H            Dc     a      f Sc e    f c a d Tec   ca Te      ,S      Ed       (2003)) (defining

 packe a         [a] hor ec ion of da a of fi ed leng h ha i ran mi ed a a ni ); E . 1 (Web e

Ne    W        dC         e Dc        a , 10     Ed      (2003)) (defining packe [i]n ne orking a         a

 ni of da a of a fi ed i e no e ceeding he ne ork                    ma im m ran mi ion ni (MTU)

i e    ha ha been prepared for ran mi ion o er a packe -                 i ching ne     ork ). A per on of

ordinar        kill in he ar   o ld no    nder and he plain and ordinar meaning of LAN or da a

ne ork          o be limi ed o onl comm nica ing da a in packe .

          C.        Dr. Almeroth and Dr. Weissman s Misinterpretation of the Extrinsic Evidence
                    They Cite

          35.       Dr. Almero h and Dr. Wei man ci e o dic ionar defini ion in heir declara ion .

The e defini ion          ppor he plain and ordinar meaning of LAN a de cribed abo e in Sec ion

VI.A-C.

          36.       Like m elf, Dr. Almero h and Dr. Wei man ci e o he Modern Dic ionar of

Elec ronic (7 h ed. 1999),            hich define      local area ne ork a       [a] da a comm nica ion

ne ork panning a limi ed geographical area,               ch a an office, an en ire b ilding, or ind    rial

park. See Almero h Decl. 56; Wei man Decl. 42. A he defini ion plainl                      a e , a LAN i a

da a comm nica ion ne ork and he Modern Dic ionar of Elec ronic doe no f r her limi he

da a o digi al da a or digi al da a packe .

          37.       Dr. Almero h and Dr. Wei man al o ci e o The Telecomm nica ion Ill                 ra ed

(2nd ed. 2002),         hich define    local area ne ork a       [a] comp er ne ork        i hin a pecified



                                                        12
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geographical pace,         ch a a b ilding or region, or         i hin an in i   ional en i        ch a a

cla room or depar men . See Almero h Decl. 57; Wei man Decl. 42. Dr. Almero h and Dr.

Wei man al o ci e o he Google dic ionar              ha define     he erm local area ne ork a              a

comp er ne      ork ha link de ice           i hin a b ilding or gro p of adjacen b ilding . See

Almero h Decl.       60; Wei man Decl.       42. A        i h he o her dic ionar defini ion , here i no

limi a ion o digi al da a or digi al da a packe            here. Dr. Almero h and Dr. Wei man a er

ha comp er ne ork mean              da a ne ork b          a comp er ne ork i no limi ed o digi al

da a or digi al da a packe       ei her. See Almero h Decl. 57; Wei man Decl. 42. Indeed, he

M de    Dc       a     f E ec     c , Se e     Ed         (1999) define   comp er ne ork a          impl

 [ ] o or more connec ed comp er ha ha e he abili                 o e change informa ion. E . 10. The

 informa ion i no limi ed o digi al da a packe .

        38.     Nei her Dr. Almero h nor Dr. Wei man ci e an dic ionar defini ion ha incl de

he ord digi al.

        39.     Onl        o ci ed book e en men ion he         ord packe in he de crip ion of LAN.

One i   he Packe Broadband Ne ork Handbook (2004). See Almero h Decl.                    57; Wei man

Decl. 42. Beca e hi Handbook i all abo               Packe Broadband Ne ork , i i no           rpri e ha

he Handbook o ld de cribe LAN in he con e                 of packe ne ork . A per on of ordinar        kill

in he ar      o ld no ake a de crip ion of LAN from a handbook abo                packe ne ork a a

de crip ion of LAN for o her       pe of ne ork . The econd book i he Web er                  Ne    World

Telecom Dic ionar (2008) ha de cribe           local area ne ork a        a packe ne ork de igned o

in erconnec ho comp er , peripheral , orage de ice , and o her comp ing re o rce                    i hin a

local area, i.e., limi ed di ance. ). See Almero h Decl.            59; Wei man Decl.         42. In m

e perience, i i no     n      al ha ome defini ion of echnical erm ma inad er en l limi he

erm from heir plain and ordinar meaning . The fac ha here i onl one dic ionar o                     of he

                                                     13
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man o her ci ed b m elf and Sono             e per    ppor   m opinion ha ,      hile LAN can be

packe ne ork , no all LAN need o be packe ne ork .

VII.     THE PATENTS-AT-ISSUE

         40.    A I e plain in more de ail belo , none of he fo r pa en a i     e arran depar ing

from he plain and ordinar meaning of LAN, m ch le               adop ing he narro , peciali ed

con r c ion of Dr. Almero h and Dr. Wei man.

         A.     “Local Area Network (LAN) in the 258/ 953 Patents

         41.    In m opinion, nei her of he e pa en     or heir pro ec ion hi orie a cribe an

pecial meaning o he erm LAN. Nei her he erm local area ne ork nor LAN appear

an     here in he pecifica ion of he 258 and 953 pa en . The e erm appear in onl         he claim .

A per on of ordinar     kill in he ar    o ld ha e nder ood ha he erm LAN, in he con e           of

he e pa en , ha i plain and ordinar meaning o one of ordinar          kill in he ar .

         42.    For he rea on I e plain in Sec ion VI, b defining a da a ne ork a        a ne ork

ha ran fer digi al da a packe be een de ice , Sono and Dr. Almero h eek o improperl

read in a nega i e limi a ion ha         he LAN canno comm nica e analog or non-packe i ed

informa ion. A indica ed b bo h he in rin ic and e rin ic e idence, hi i no correc and i no

ho     a per on of ordinar   kill in he ar   o ld ha e nder ood he erm LAN in he con e           of

he 258 and 953 claim and pa en .

         43.    The in rin ic e idence doe no narro     or o her i e di claim he cope of LAN

o ran ferring onl     digi al da a packe be een de ice . Indeed, he claim req ire onl a local

area ne ork. The e pa en        do no reci e ha he local area ne ork          ran fer   digi al da a

packe     be een de ice , nor doe        hi pa en con ain he    ord   digi al or packe .     In m

opinion, he ab ence of he erm            digi al and packe     o re ric he ne ork in he plain

lang age of he claim i       rong e idence again reading in he req iremen ha he claimed LAN


                                                 14
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i re ric ed o ran ferring onl     digi al da a packe , a he e cl ion of o her    pe of da a     ch

a analog da a or non-packe i ed da a.

       44.      Dr. Almero h opine    ha he claim incl de o her elemen     (e.g.,   one pla er,

 ne ork in erface ) ha indica e ha he claim are limi ed o a da a ne         ork. Ho e er, a I

e plain abo e in Sec ion VI, a da a ne ork i no limi ed o a digi al da a nor doe i e cl de

analog da a. Indeed, I nder and ha          he par ie ha e agreed ha     one pla er    ho ld be

con r ed a a da a ne       ork de ice config red o proce      and o p    a dio, and ne ork

in erface     ho ld be con r ed a       a   ph ical componen of a de ice ha pro ide             an

in erconnec ion   i h a da a ne ork. Al ho gh bo h of he e agreed- pon con r c ion            e he

erm da a ne ork, nei her incl de he erm digi al ha Sono and Dr. Almero h eek o injec

in o he con r c ion of LAN.

       45.      The pecifica ion like i e doe no re ric he claimed LAN o ran ferring onl

 da a packe     and e cl ding non-packe i ed da a. Like in he claim , he erm da a packe doe

no appear in he pecifica ion, le alone he erm digi al da a packe . And he pecifica ion ne er

e cl de non-packe i ed da a from he LAN.

       46.      To he con rar ,    i h re pec o analog da a, he pecifica ion make n mero

reference o analog ignal and ne er a e ha            ch ignal /da a canno be ran mi ed ia he

LAN. For e ample, he pecifica ion e plain ha a dio informa ion o rce            16(m) ma be an

of a n mber of      pe of con en ional o rce of a dio informa ion, incl ding, for e ample,

compac di c ( CD ) pla er , AM and/or FM radio recei er , analog or digi al ape ca e e

pla er , analog record   rn able and he like ( 258 pa en a 4:51-55; 953 pa en a 4:56-60)

(empha i added), and ha each a dio informa ion o rce 16(m) ha i no direc l connec ed o

a one pla er can ran mi a dio informa ion o er he ne ork 12 o an           one pla er 11(n) for

pla back ( 258 pa en a 5:17-20; 953 pa en a 5:22-25) (empha i added). The pecifica ion

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doe no         a e ha an of he e analog ignal are req ired o be con er ed o digi al before being

ran mi ed ia he LAN m ch le               a e a prohibi ion on doing o. Sono and Dr. Almero h

con r c ion h        no onl injec an nclaimed req iremen in o he claim , b         i al o injec an

 ndi clo ed req iremen in o he claim . Thi i no ho a per on of ordinar          kill in he ar    o ld

ha e nder ood he pa en and claim (or he erm LAN in he con e            of he claim and pa en ).

         47.      In addi ion, a e plained abo e, a local area ne ork i a ne ork o er a

geographicall limi ed area, and he 258 and 953 pa en           ackno ledge ha here i no hing

inheren l digi al in he       ord ne     ork. For e ample, he pa en   di c      a p blic        i ched

elephon ne ork (PSTN).           258 pa en a 4:14-21; 953 pa en a 4:18-22. One of ordinar         kill

in 2004     o ld ha e nder ood ha he erm p blic             i ched elephon ne ork refer           oa

ne ork         here o nd    a e (i.e., a dio) are mod la ed on o elec rical circ i , making he e

ne ork f ndamen all analog. In fac , hi remain r e e en oda for a ignifican n mber of

la mile por ion of he e ne ork . None hele , he 258 and 953 pa en con ider he e analog

ne ork e ample of o her ne ork              and h      i hin he cope of he erm ne ork. The

pa en     e en di clo e ha a ne ork in erface de ice (ano her claim erm) can in erface              ih

     ch analog ne ork . Id. I i m       nder anding ha he pri a e par ie and he S aff pre io l

agreed ha a ne ork in erface i a ph ical componen of a de ice ha pro ide an

in erconnec ion i h a da a ne ork. The 258 and 953 pa en         h      e erm      ch a    ne ork

and da a ne ork         o encompa      ne ork ha ran mi da a (incl ding a dio) in analog form.

The ame i r e for local area ne ork.

         48.      Wi h re pec o non-packe i ed da a, al ho gh he pecifica ion di c     e    packe

(in connec ion i h a dio b ffer ) ha can be ran mi ed acro        he LAN, i ne er e cl de o her

non-packe i ed da a from being comm nica ed on he LAN. A a per on of ordinar               kill in he

ar     o ld ha e nder ood, a LAN can incl de bo h packe i ed and non-packe i ed da a, and he

                                                  16
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pa en do no e pre     an rea on, echnical or o her i e, for re ric ing he LAN o packe i ed

da a onl . Again, Sono and Dr. Almero h          con r c ion improperl    injec   an   nclaimed

req iremen in o he claim .

       49.    I al o no e ha con rar    o Dr. Almero h     a er ion, he pecifica ion doe no

 repea edl and niforml de cribe[] ha he comm nica ion o er he local ne ork are in he

form of digi al da a packe .   Almero h Decl. 72; ee a      d. a   73 ( Th , b repea edl and

con i en l de cribing ha       he local ne ork     ran fer digi al da a packe ,     he common

pecifica ion of he 258 and 953 pa en pro ide f r her      ppor for m opinion ha he claimed

local area ne ork i a da a ne ork. ). A I men ioned, he pecifica ion doe no once men ion

he erm da a packe ( ), m ch le       he erm digi al da a packe ( ). A I al o di c      ed abo e,

he pecifica ion ne er a e ha he di clo ed analog a dio informa ion i precl ded from being

ran mi ed on he claimed LAN, or ha non-packe i ed da a ( ch a con in o              form analog

a dio informa ion) i precl ded from being ran mi ed on he claimed LAN, and h            doe no

  niforml    or con i en l     de cribe he LAN a     ran mi ing digi al da a packe . Again,

Sono and Dr. Almero h      con r c ion improperl read in a nega i e limi a ion ha he LAN

canno comm nica e analog or non-packe i ed informa ion.

       50.    Accordingl , in m opinion, a per on of ordinar        kill in he ar      o ld ha e

 nder ood ha he erm local area ne ork in he con e           of he 258 and 953 pa en         o be

gi en i plain and ordinar meaning.

              1.     The 258 and 953 Patents Do Not Restrict LAN to “a Home or Office

       51.    To he e en ha Sono and Dr. Almero h arg e ha he 258 and 953 pa en

limi a LAN o a ingle home or office, I di agree. The in rin ic record of he e pa en confirm

ha a LAN ma incl de m l iple b ilding . For e ample, he e pa en refer o a LAN panning

an office comple ,    hich indica e more han one b ilding. For e ample:


                                              17
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              x    On he o her hand, if he one pla er 11(n) and heir a ocia ed a dio informa ion
                   o rce( ) and/or a dio reprod c ion de ice( ) are di rib ed hro gho an office
                  comple , one ma for e ample, be pro ided in each office o elec i el pro ide
                  en er ainmen o he emplo ee in he re pec i e office . 258 pa en a 4:34-40;
                   ee al o 953 a 4:39-44.

              x    The one pla er 11(n) a ocia ed i h        em 10 ma be di rib ed hro gho
                  an e abli hmen ch a a re idence, an office comple , a ho el, a conference hall,
                  an amphi hea er or a di ori m, or o her pe of e abli hmen a ill be apparen
                   o ho e killed in he ar or he like. 258 pa en a 4:22-26; 953 a 4:26-30.

        52.       The in en or h      made clear ha he cope of he co erage area ha i al o a gh

o be acce ible ia LAN can incl de office comple e . Of co r e, a comple                       i a gro p of

imilar b ilding or facili ie on he ame i e. See, e.g., E . 18 (T e O f d D c                         a       f

A e ca E g           (2005)) (defining a comple      a    a gro p or e of hing , e peciall b ilding ,

de igned for a par ic lar p rpo e: a     g -   ea a       e   c     e ); E . 19 (L      g a Dc           a

 f A e ca E g          ,T      d Ed    (2004)) (defining a comple       a     a gro p of b ilding or one

large b ilding      ed for a par ic lar p rpo e: a e                  g c       e ); E . 20 (Me          a -

Web e         C   eg a e D c     a ,Ee e       Ed        (2005)) (defining a comple         a     a b ilding

or gro p of b ilding ho ing rela ed ni <an apar men               > <a por       > ). Thi       o ld incl de

an office comple        i h m l iple b ilding . Ano her e ample i an apar men comple                     ih

m l iple b ilding . Therefore, he in rin ic record i elf make clear ha a LAN, he medi m

de cribed a being       ed b    he pa en , e end o m l iple b ilding .

        53.       Accordingl , in m opinion, a per on of ordinar              kill in he ar       o ld ha e

 nder ood ha he erm local area ne ork in he con e                  of he 258 and 953 pa en i no

limi ed o a home or office.

        B.        “Local Area Network (LAN) in the 896 Patent

        54.       In m opinion, nei her he 896 pa en nor i            pro ec ion hi or a cribe an

pecial meaning o he erm LAN. A per on of ordinar              kill in he ar    o ld ha e nder ood ha



                                                    18
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he erm LAN, in he con e         of he pa en , ha i plain and ordinar meaning o one of ordinar

kill in he ar .

        55.       For he rea on I e plain in Sec ion VI abo e, b defining a da a ne ork a         a

ne ork for ran ferring digi al da a packe be         een de ice , Sono and Dr. Wei man eek o

improperl read in a nega i e limi a ion ha he LAN canno comm nica e analog or non-

packe i ed informa ion. A indica ed b bo h he in rin ic and e rin ic e idence, hi i no correc

and i no ho       a per on of ordinar    kill in he ar   o ld ha e nder ood he erm LAN in he

con e   of he 258 and 953 claim and pa en .

        56.       The pecifica ion doe no re ric he claimed LAN o ran ferring digi al da a

packe . The 896 pa en incl de           imilar di clo re o he 258 and 953 pa en . I ha e alread

e plained ha ho e di clo re         ppor appl ing he plain and ordinar meaning of LAN, and m

e plana ion appl eq all here. For e ample, he erm da a packe                doe no appear in he

pecifica ion, le alone he erm digi al da a packe . To he con rar , he pecifica ion allo        for

embodimen         here he LAN incl de analog de ice . I incorpora e ho e ame arg men here

 here imilar lang age appear in he 896 pa en .

        57.       Addi ionall , con ider Fig re 1 of he 896 pa en , hich depic   ne ork 108 :




                                                  19
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        58.        Ne ork 108 incl de      ereo        em 112,   hich i config red o recei e an

analog o rce (e.g., from broadca ing) or re rie e a digi al o rce (e.g., from a compac di k).

896 pa en a 6:13-16. The 896 pa en goe on o e plain in he ne            en ence ha [ ]he analog

o rce can be con er ed o digi al o rce        ( d. a 6:16-17 (empha i added)), hich mean ha

he do no ha e o be con er ed o digi al o rce. The 896 pa en hen a e in he follo ing

en ence ha [i]n accordance i h he pre en in en ion, all a dio o rce , regardle         of here

he are loca ed or ho          he are recei ed, ma be hared among he de ice on he ne ork

108. Id. a 16:17-20. Dr. Wei man           narro ing of LAN o ran mi ing onl        digi al da a

packe         o ld effec i el read o   hi permi i e, broad lang age.

        59.        A I di c   ed in connec ion i h he 258 and 953 pa en , he e rin ic e idence

imilarl       ho     ha a LAN i no limi ed o ran ferring digi al da a packe      beca e da a,


                                                  20
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incl ding a dio da a, ma be repre en ed in analog a       ell a digi al form. See Sec ion VI abo e.

       60.        Accordingl , in m opinion, a per on of ordinar       kill in he ar    o ld ha e

 nder ood ha he erm local area ne ork in he con e            of he 896 pa en o be gi en i plain

and ordinar meaning.

                  1.      The 896 Patent Does Not Restrict LAN to “a Home or Office

       61.        To he e en ha Sono arg e ha he 896 pa en limi a LAN o a ingle home

or office, I di agree. Like he 258 and 953 pa en , he 896 pa en al o refer o comple e , in

hi ca e, li ing comple e :

             x     The config ra ion ma repre en , b no be limi ed o, a par of a re iden ial home,
                  a b ine b ilding or a li ing comple i h m l iple one . 896 a 5:44-46.

             x     [T]he con rolling de ice 140 or 142 i config red o manage a dio o rce and
                  o her charac eri ic of all he one pla er regardle     here he con rolling de ice
                  140 or 142 i loca ed in a ho e or a confided li ing comple . 896 a 6:28-33.

             x     The con roller 240 ma be         ed o facili a e he con rol of m l i-media
                  applica ion , a oma ion and o her in a li ing comple . 896 a 7:28-30.

       62.        The in en or h    made clear ha he cope of he co erage area ha i al o a gh

o be acce ible ia LAN can incl de li ing comple e . A I men ioned in Sec ion VII.A.1 abo e,

a comple         i a gro p of imilar b ilding or facili ie on he ame i e. Thi       o ld incl de a

li ing comple          i h m l iple b ilding or an apar men comple         i h m l iple b ilding .

Therefore, he in rin ic record i elf make clear ha a LAN, he medi m de cribed a being           ed

b   he pa en , e end o m l iple b ilding .

       63.        Accordingl , in m opinion, a per on of ordinar       kill in he ar    o ld ha e

 nder ood ha he erm local area ne ork in he con e             of he 896 pa en i no limi ed o a

home or office.

       C.         “Local Area Network (LAN) in the 949 Patent

       64.        In m opinion, nei her he 949 pa en nor i       pro ec ion hi or a cribe an


                                                 21
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pecial meaning o he erm LAN. A per on of ordinar           kill in he ar     o ld ha e nder ood ha

he erm LAN, in he con e        of he pa en , ha i plain and ordinar meaning o one of ordinar

kill in he ar .

         65.      For he rea on I e plain in Sec ion VI abo e, b defining a da a ne ork a                  a

ne ork for ran ferring digi al da a packe be         een de ice , Sono and Dr. Wei man eek o

improperl read in a nega i e limi a ion ha he LAN canno comm nica e analog or non-

packe i ed informa ion. A indica ed b bo h he in rin ic and e rin ic e idence, hi i no correc

and i no ho       a per on of ordinar    kill in he ar   o ld ha e nder ood he erm LAN in he

con e     of he 258 and 953 claim and pa en .

         66.      The in rin ic e idence doe no narro     or o her i e di claim he cope of LAN

o ran ferring onl      digi al da a packe be een de ice . Indeed, he claim req ire onl a local

area ne ork. The 949 pa en doe no reci e ha he local area ne ork ran fer                    digi al da a

packe be een de ice , nor do he e pa en             con ain he    ord      digi al or packe .    In m

opinion, he ab ence of he erm            digi al and packe       o re ric he ne ork in he plain

lang age of he claim i       rong e idence again reading in he req iremen ha he claimed LAN

i re ric ed o ran ferring onl      digi al da a packe , a he e cl ion of o her          pe of da a    ch

a analog da a or non-packe i ed da a.

         67.      The claim req ire ha       he pla back de ice are config red o pla back a

m l imedia o p        from a m l imedia o rce, b         do no reci e ha he claimed m l imedia

o rce m        be digi al.

         68.      I ha e re ie ed he re    of he claim of he 949 pa en , and none             ppor he

propo i ion ha he claimed local area ne ork ma onl be a digi al ne               ork.

         69.      The pecifica ion like i e doe no req ire ha he claimed local area ne               ork

m       be a digi al ne ork. The pecifica ion e pre l     eache ha he pla er de ice ma recei e

                                                  22
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analog da a. In a di clo ed embodimen concerning a one gro p of pla back de ice , he one

pla er 200 i ca ed o re rie e an a dio o rce from ano her one pla er or a de ice on he

ne ork.       949 pa en a 6:4-12 (empha i added). Tha de ice co ld be an analog de ice

 config red o recei e an analog a dio o rce (e.g., from broadca ing). Id. a 5:25-27. Tha

analog o rce ma be hared among he de ice on he ne ork 108,                  d. a 5:29-31, incl ding

he one pla er , hich po e an a dio proce ing circ i            ha ma incl de nece ar circ i r

o proce      analog ignal a inp     . Id. a 6:31-34; d. a 6:26-37 ( eaching ha an a dio o rce

i re rie ed ia he ne ork in erface 202 ). F r her, he pa en           S mmar Of The In en ion

 ec ion di clo e a m l i de of embodimen . One call for he pla er gro p o pla media in a

digi al forma ,     d. a 3:28-39,   hile he o her do no     pecif    he her he a dio recei ed and

pla ed b     he pla er i analog or digi al, e.g., d. a 2:28-37, 2:49-54, 2:55-64, 3:4-15, 3:16-27.

       70.        Addi ionall , con ider Fig re 1 of he 949 pa en , hich i he ame a Fig re 1 in

he 896 pa en and depic        ne ork 108 :




                                                 23
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       71.    Ne ork 108 incl de        ereo        em 112,   hich i config red o recei e an

analog o rce (e.g., from broadca ing) or re rie e a digi al o rce (e.g., from a compac di k).

949 pa en a 5:25-31. The 949 pa en goe on o e plain in he ne         en ence ha   [ ]he analog

o rce can be con er ed o digi al o rce     ( d. a 5:28-29 (empha i added)), hich mean ha

he do no ha e o be con er ed o digi al o rce. The 949 pa en hen a e in he follo ing

en ence ha [i]n accordance i h he pre en in en ion, all a dio o rce , regardle       of here

he are loca ed or ho      he are recei ed, ma be hared among he de ice on he ne ork

108. Id. a 5:29-31. Dr. Wei man narro ing of LAN o ran mi ing onl         digi al da a packe

 o ld effec i el read o   hi permi i e, broad lang age.

       72.    Dr. Wei man ci e o por ion of he pecifica ion de cribing digi al ne ork . See,

e.g., 949 pa en a 5:5-15 (reci ing 801.11       andard), 5:37-63 (reci ing TCP/IP and 802.11


                                               24
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pro ocol ); 4:65-67 (no ing ha a dio o rce are in digi al forma          nle   e plici l     a ed

o her i e ) (empha i added). Beca e he e are no he onl        eaching in he pecifica ion, and

beca e he claim lang age doe no reci e a digi al ne ork, i i m opinion ha he claim are

no limi ed o he e e ample . Thi i par ic larl        r e beca e, a I de ail in he preceding

paragraph, he pa en e plici l     ae    ha ome pla er ma ha e analog a dio o rce , and ha

he one pla er ma re rie e an a dio o rce from ano her ne ork de ice, .e., ia analog ne ork

ran mi ion.

       73.    A compari on be een he 949 pa en and a rela ed, paren applica ion f r her

demon ra e ha he 949 pa en doe no e cl de analog da a. Belo             o he lef i Fig. 3 from

U.S. Ser. No. 10/816,217 ( he 217 applica ion ),    hich i   ed a U.S. Pa . No. 8,234,395 ( he

 395 pa en ). The 949 pa en i con in a ion of a con in a ion-in-par of a con in a ion-in-par

of ha 217 applica ion, and      e a differen block diagram o depic he pla er de ice. C        ae

395 pa en a 2:66-67 ( FIG. 3 depic an f nc ional block diagram of a one pla er for         e in he

ne orked a dio      em depic ed in FIG. 1. )        949 pa en a 3:59-60 ( FIG. 2A ho           an

e emplar f nc ional block diagram of a pla er in accordance i h he pre en in en ion. ):




       74.    The ab ence of elemen like he DAC Clock and Pla back Sched ler from Fig. 2A

of he 949 pa en demon ra e ha he 949 pa en di clo e pla er ha recei e and o p analog


                                               25
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ignal . Thi i in con ra     o he pla er in Fig. 3 of he 395 pa en , hich incl de digi al o analog

con er er. Bo h of he e pla er can e i on he LAN of he 949 pa en and f r her confirm ha

he LAN        ho ld no be narro l con r ed o e cl de analog da a.

       75.      While he 949 pa en de cribe a digi al- o-a dio con er er (DAC), d. a 6:22-34,

hi i onl an embodimen and h           ho ld no be read a a req iremen in o he claim . F r her,

he paragraph al o di clo e digi al ignal proce or (DSP ), d. a 6:25-26, and DSP can be            ed

o perform f nc ion like ba e and reble adj       men     ing digi al fil er . The DAC men ioned in

he paragraph co ld be      ed af er he DSP o con er he ignal bac           a a g af er performing

proce ing      i h he DSP. So, e en in he embodimen ha ho             a DAC, here are a lea       o

rea on ha he men ion of DAC here doe no impl                ha he da a on he ne ork had o be

digi al. Addi ionall , he di clo re of he DAC doe no men ion ha he DAC ime or log i

con er ion pro iding f r her e idence ha         he 949 pa en       ho ld no be limi ed o digi al

ne ork .

       76.      I al o make li le en e o limi he 949 pa en o a digi al da a ne ork beca e

i i direc ed o a      er-in erface ol ion ha i eq all applicable o a digi al or analog a dio

ne ork. The 949 pa en i direc ed o he need for           er in erface ha ma be readil     ili ed o

gro p and con rol he a dio pla er ,      ch a o allo       er o ea il      ap be een gro ped and

indi id al config ra ion and o con rol peaker ol me. 949 pa en a 2:13-17. The pa en

de cribe     he e   er in erface a leng h, incl ding heir abili      o gro p, de-gro p, and adj

 ol me (2:21-3:29), de ign choice     ch a b     on , men i em , croll heel , and a dio con rol

(6:61-7:36), and he pecific UI flo     ha allo        er o crea e and config re gro p and heme

(8:27-10-17; 10:30-11-52). No hing in he e eaching            gge    , m ch le   req ire , ha he

claimed local area ne     ork be re ric ed o digi al da a packe .

       77.      Accordingl , in m opinion, a per on of ordinar          kill in he ar   o ld ha e

                                                 26
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 nder ood ha he erm local area ne ork in he con e               of he 949 pa en      o be gi en i

plain and ordinar meaning.

                  1.     The 949 Patent Does Not Restrict LAN to “a Home or Office

         78.      To he e en ha Sono arg e ha he 949 pa en limi a LAN o a ingle home

or office, I di agree. Like he 258, 953 pa en , and 896 pa en , he 949 pa en al o refer o

comple e ,       a ing ha he LAN ma be a par of a re iden ial home, a b ine            b ilding or a

comple         i h m l iple one .   949 pa en a 4:58-60; ee a      d. a 6:43-45. Fig. 3B ill   ra e

pla er de ice o        ide he home, incl ding he garden (o      ide he ho e) and garage (of en a

 andalone        r c re). Thi i     rong e idence again   reading he 949 pa en o e cl de an

ne ork ha e end be ond he home or office.

         79.      Moreo er, he pa en      eaching are clearl applicable in e en larger area . A

di c   ed, he claim are direc ed o a con roller fea ring a        er in erface ha can be       ed o

config re peaker capable of opera ing ei her indi id all or in a gro ped config ra ion (for

  nchrono        pla back), and o con rol he ol me of     ch pla er . 949 pa en a 3:40-45, claim

1. Ab en       ome indica ion o he con rar , he claimed local area ne       ork i    herefore mo

na rall read o incl de all LAN and no j         a ingle home or office.

         80.      Accordingl , in m opinion, a per on of ordinar       kill in he ar     o ld ha e

 nder ood ha he erm local area ne ork in he con e            of he 949 pa en i no limi ed o a

home or office.

VIII. CONCLUSION

         I, Ma he      B. Shoemake, declare nder penal    of perj r    nder he la      of he Uni ed

S a e ha he foregoing i r e and correc .




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         I, K. K          C   ,                            J   8, 2020,

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